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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, ET AL.,                   )
                                         )
              Plaintiffs,                )
                                         )       CIVIL ACTION
 vs.                                     )
                                         )       FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER,                      )
ET AL.,                                  )
                                         )
              Defendants.                )

       COALITION PLAINTIFFS’ NOTICE OF FILING EVIDENCE

                                    PART TWO

       Coalition Plaintiffs give Notice of the Filing of Evidence in support of their

Motion for Preliminary Injunction. The Coalition Plaintiffs will be filing said

Motion, with supporting Brief, Proposed Order and additional evidence, on or

before June 21, 2019. Because of e-filing size limitations, this evidence is filed

in two parts. Part One contains Pages 1 through 287 of Exhibit A, the

Consolidated Voters’ Declarations; Part Two contains pages 288 and following of

Exhibit A, and Exhibits B through I.

       Exhibit A:           Consolidated Voters’ Declarations

       Exhibit B:           Declaration of Jeanne Dufort

       Exhibit C:           Declaration of Rhonda Martin
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Exhibit D:          Supplemental Declaration of Amber McReynolds

Exhibit E:          Declaration of Candice Hoke

Exhibit F:          Declaration of Virginia Martin

Exhibit G:          Declaration of Garland Favorito

Exhibit H:          Declaration of Megan Missett

Exhibit I:          Declaration of Pride Forney


Respectfully submitted this 19th day of June, 2019.

/s/ Bruce P. Brown                        /s/ Robert A. McGuire, III
Bruce P. Brown                            Robert A. McGuire, III
Georgia Bar No. 064460                    Admitted Pro Hac Vice
BRUCE P. BROWN LAW LLC                      (ECF No. 125)
1123 Zonolite Rd. NE                      ROBERT MCGUIRE LAW FIRM
Suite 6                                   113 Cherry St. #86685
Atlanta, Georgia 30306                    Seattle, Washington 98104-2205
(404) 881-0700                            (253) 267-8530




                   Counsel for Coalition for Good Governance
/s/ Cary Ichter
Cary Ichter

Georgia Bar No. 382515
ICHTER DAVIS LLC
3340 Peachtree Road NE
Suite 1530
Atlanta, Georgia 30326
(404) 869-7600
Counsel for William Digges III,Laura Digges, Ricardo Davis and Megan Missett

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                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of

LR 5.1, using font type of Times New Roman and a point size of 14.

                                   /s/ Bruce P. Brown
                                   Bruce P. Brown




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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day caused the foregoing to be served upon

all other parties in this action by via electronic delivery using the PACER-ECF

system.

      This 19th day of June, 2019.

                                       /s/ Bruce P. Brown
                                       Bruce P. Brown




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,                )
                                      )
             Plaintiffs,              )
                                      )     CIVIL ACTION
vs.                                   )
                                      )     FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER,                   )
ET AL.,                               )
                                      )
             Defendants.              )

        INDEX TO CONSOLIDATED VOTERS’ DECLARATIONS

      Tab A (Bates No. 1)      Problems with Lt. Governor’s Race

      Tab B (Bates No. 011): Problems with candidate affiliation or district

      Tab C (Bates No. 026): “Self-casting” ballots

      Tab D (Bates No. 034): Vote Flipping

      Tab E (Bates No. 075): DRE machines crashing

      Tab F (Bates No. 079): DRE machines not operational

      Tab G (Bates No. 091): Voters not given provisional ballots

      Tab H (Bates No. 108): Epollbook Problems

      Tab I (Bates No. 324):   Long lines

      Tab J (Bates No. 388):   Absentee ballots not received or returned
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       DECLARATION UNDER PENALTY OF PERJURY
              PURSUANT TO 28 U.S.C. § 1746
                       AND/OR
  SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My name is Carolyn E. Stephens. I am over eighteen years of age and

   competent to testify to the matters contained herein.

2. I served as a Poll Watcher for the Democratic Party of Georgia on

   November 6, 2018.

3. The following are issues I observed when I was at the Cedar Shoals High

   School Polling Location:

      a. Voter One moved to Athens in 201 7. He went to the Division of

         Motor Vehicles tag office on Lexington, Road and changed his voter

         registration on around March of 2017, so he could vote in Athens. On

         November 5, 2018 the night before the general election, he checked

         the Athens-Clarke Board of Elections website. It confirmed that he

         was registered to vote at Cedar Shoals High School polling station. On

         November 6, 2018 at the polling station, he was told that he could not

         vote at Cedar Shoals. When the poll manager called the Board of

         Elections, she told him that he would have to go to Lawrenceville (a

         one-hour drive), where he used to live, in order to vote. Because he

         had been given time off from work to vote, he had to return

         immediately to work without voting. He took a registration form and


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    said he would have to come back to complete a provisional ballot. I do

    not know if he returned to vote.

 b. Voter Two registered to vote before the registration deadline and more

    than a month before Election Day. He received no notice of any

    problem with his registration. When he arrived to vote, he found that

    he was not listed on any voter rolls. He was unable to vote because the

    poll manager could not get advice from a Board of Elections person

    because no one answered her phone call. The poll manager asked

    Voter Two to return at 2:00 p.m., by which time she thought she

    would have been able to reach her supervisor who could tell her how

    to advise him. He said he would return.

 c. Voter Three mailed in her voter registration with her current and

    correct address in Athens in September of 2018. She said she mailed it

    directly from a U.S. Post Office to make sure it was correctly posted.

    She knew registration closed in October. When she was at the Cedar

    Shoals High School voting station on November 6, she was told that

    she was registered to vote only in Milledgeville (her former home two

    hours from Athens). She was not offered a provisional ballot. At first,

    she indicated that she would drive to Milledgeville, but before she

    left, she said that she was unlikely to be able to drive the 4 hours it



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    said he would have to come back to complete a provisional ballot. I do

    not know if he returned to vote.

 b. Voter Two registered to vote before the registration deadline and more

    than a month before Election Day. He received no notice of any

    problem with his registration. When he arrived to vote, he found that

    he was not listed on any voter rolls. He was unable to vote because the

    poll manager could not get advice from a Board of Elections person

    because no one answered her phone call. The poll manager asked

    Voter Two to return at 2:00 p.m., by which time she thought she

    would have been able to reach her supervisor who could tell her how

    to advise him. He said he would return.

 c. Voter Three mailed in her voter registration with her current and

    correct address in Athens in September of 2018. She said she mailed it

    directly from a U.S. Post Office to make sure it was correctly posted.

    She knew registration closed in October. When she was at the Cedar

    Shoals High School voting station on November 6, she was told that

    she was registered to vote only in Milledgeville (her former home two

    hours from Athens). She was not offered a provisional ballot. At first,

    she indicated that she would drive to Milledgeville, but before she

    left, she said that she was unlikely to be able to drive the 4 hours it



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     would require to vote. She did not vote. Her brother, who lives at her

     same address, is listed as Voter Four below. He was initially
                        ~




     prevented from voting on Election Day.

  d. Voter Four (the brother of Voter Three) had changed his voter

     registration to reflect his Athens address. When he attempted to vote

     at Cedar Shoals High School on Election Day, he was initially unable

     to do so. The poll manager called the Board of Elections who also

     talked with Voter Four. They told him that someone had entered his

     name into the system incorrectly (I think originally someone told him

     it didn't match his social security number). He was able to correct this

     mistake on the phone and he voted at Cedar Shoals after the phone

     conversation.

  e. Voter Five said she was purged from the voter roll because she missed

     at least one electoral cycle. The voter had to leave to get to a doctor's

     appointment on time. The poll manager asked her to return at 2:00

     p.m. when she could complete a provisional ballot. I do not think she

     returned.

 f. Voter Six arrived at the Cedar Shoals High School polling location at

     7:13 p.m. He told the poll manager that a person (name was stated)

     from the Board of Elections told him to get to Cedar Shoals High



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    School by 7:30 and complete a provisional ballot. When I spoke with

    him, I learned that Voter Six had registered to vote two to three days

    before the registration deadline ended. A man offered to register him

    at the Athens Neighborhood Health Center near where Voter Six

    works as a security guard. On election day, he was surprised to find

    that he was not registered. He said he was frustrated and angry and

    raised his voice when speaking with someone at the Board of

    Elections. He insisted on being allowed to vote. The person told him

    to complete a provisional ballot at Cedar Shoals High School. He said

    he called the emergency voter number, among others, in order to vote .

    He completed a provisional ballot.

 g. Voter Seven moved to Athens, GA and voted at a Clarke County

    voting station in 2016. At 6:45 p.m. she was told at the Cedar Shoals

    High School polling location that she was supposed to be in

    Crawford, Georgia to vote. She said she had not lived in Crawford for

    the past two years. The poll manager asked her to talk with someone

    from the Board of Elections. Voter Seven told the Board of elections

    representative that she had voted in Athens in 2016 and did not

    understand the reason she could not vote there on election day. The

    person acknowledged to Voter Seven that they had the record in their



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     system of her voting in Athens in 2016. They told her that when she

     went to the DMV on December 28, 2017, Oglethorpe County had

     "pulled you back in". Voter Seven told the poll workers that she had

     registered at the DMV on November 28, 2017 not December 28.

     Voter Seven told me she was concerned not only with the fact that

    they had an incorrect address in her registration but that they had the

     incorrect date on which she registered. She was not told that she could

     complete a provisional ballot. It was 6:45 and polls were closing at

     7:00. I suggested she complete a provisional ballot even if it did not

    count after someone had a chance to review her dispute about

    registration. Voter Seven completed a provisional ballot at 6:55 p.m.

    on election day.

 h. I observed multiple people leave without voting throughout the day

    because of varied problems. Six of the seven voters that thought they

    were correctly registered to vote were African-Americans. The person

    who was not African-American voted after 7:00 p.m. Most of the

    voters with issues were not offered provisional ballots. I did not

    understand why people who claimed they had correctly registered as

    citizens of Athens-Clarke County were not advised to record their




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           votes on provisional ballots in case the registration errors were later

           assessed as County rather than voter mistakes.

      1.   Voters with whom I spoke to told me that they were being directed to

           drive 30 minutes, one hour, or two hours to another county to vote. As

           far as I could determine, provisional ballots were not being offered as

           alternatives to driving long distances when they believed they had

           registered correctly to vote where they live.

      J. On the morning of the election, I reported that people were registering

           to vote when they were getting their driver's licenses from the

           Athens-Clarke County DMV. I realized during the day that they were

           describing the DMV county tag office on Lexington Road as the place

           where they registered to vote, not the driver's license office as I had

           originally reported. Multiple voters told me that their voter

           registrations were filed from the DMV office. A long-time poll

           worker told me that registering people to vote from the DMV office

           had resulted in voters with previous, rather than current addresses for

           voter registration. According to this poll-worker, this had been an on-

           going problem that they had been unable to stop.

4. I give this Declaration and/or Affidavit freely, without coercion, and without

   any expectation of compensation or other reward.



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5. I understand that in giving this Declaration and/or Affidavit, that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not , this the   __LJday of November , 2018 .




   Sworn to and subscribed before me
   This the /3tt,.._day of November , 2018.



   Notary Public


                CartaBraswell
         NotaryPublic,Stateof Georgia
                Clarke County
       My CommissionExpires 02/11/2022




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           DECLARATION UNDER PENALTY OF PERJURY
                  PURSUANT TO 28 U.S.C. § 1746
                           AND/OR
      SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

My name is Ayesha Terry. I am over eighteen years of age and competent to testify

to the matters contained herein.

   1. I am a resident of Henry County in Georgia and my residence address is

      ---                        Stockbridge Ga. _,      __

   2. I have reviewed the list below and I believe that my situation most closely

      fits into the category that I have checked:

            a. __      I requested an absentee ballot but I never received it.

            b. __      I received an absentee ballot and returned it but my ballot was

               rejected .

            c. __      I received an absentee ballot and returned it but my ballot was

               not accepted.

            d. _x_      I was not permitted to vote using a voting machine (a DRE)

              (circumstances below) and was not offered a provisional ballot even

              though I reside in the county in which the precinct was located where

              I tried to vote.

            e. __     I was not permitted to vote using a voting machine (a DRE)

              (circumstances below) because I was told I was not a resident of the




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           county in which I was attempting to vote despite the fact that I had

           changed my address in a timely manner.

      f. __       I was not permitted to vote using a voting machine (a DRE)

           (circumstances below). I asked for a provisional ballot but was told

           that it was too early in the day for provisional ballots or that there

           were not enough provisional ballots or that no provisional ballots

           remained.

      g. __       I moved counties but did not change my registration address.

           When I attempted to vote in my new county, the poll workers told me

           to return to my old county in order to vote.

      h. __       There were long lines at my polling location and I saw people

           leaving without voting .

      I.   __     There were long Jines at my polling location and I had to leave

           without being able to cast my vote.

      j. __       There were problems with the voting machines at the precinct

           at which I voted or attempted to vote.

      k. __      Other-please     explain - ____________                       _



3. My individual circumstances are the following:




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   I was unabl e to vote in the mid-term election. I attempted to vote a First

   Baptist Church in Henry County . This is where I voted for the 2016

   Presidential election. When I went to the polls on election day, I was told

   that my name was not showing up in the system and that I hadn 't voted in 8

   years. They told me that I had to re-register . They pulled up an old address

   in Macon and I did not vote during the time I lived in Macon . They did not

   offer me a provisional ballot and I was unable to vote. There was a long line

   of people who were not able to vote. I know, for a fact, that the reason I was

   given for not being able to vote was untrue.

4. I give this Declaration and/or Affidavit freely, without coercion , and without

   any expectation of compensation or other reward.

5. I understand that in giving this Declaration and/or Affidavit , that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the _   12_ day of November , 2018.




   Sworn to and subscribed before me
   This the ~y      of November , 2018.




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                                                                                    W-00276932



                        Certificate of Appointment
                              of Notary Public

Georgia, RICHMO       rnCounty

I, ELAINE C. JOHNSON , Clerk of Superior Court in and for said County hereby cer tify that




-
WAYNEFRAZIER whose address is -                                          HEPHZIBAH,GA



Age: 62   ex: M LE wa duly appointed and worn in as a Notary Public under the provision of

O.C .G.A. Title 45, Ch. 17, Art. 1 as Amended , that their tenn of office begin on the 15th day of

March, 2016 and expires on the 14th day of March, 2020.




                                                     WJTNESS my hand and seal of aid Court this
                                                     17th day of March, 2016




                                                 /            (Deputy Clerk's ignature)

                                                     Deputy Clerk of Superior urt
                                                     RJCHMOND County Georgia




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        DECLARATION UNDER PENAL TY OF PERJURY
               PURSUANT TO 28 U.S.C. § 1746
                        AND/OR
   SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LA'\V

1. My name is Diondra Thurman-Jetter . 1 am over eig hteen years of age and

   competent to testify to the matters contained herein.

2. 1 am a reside nt of Clayton County in Geor gia and my residen~~ address is

                             Riverdale , Georgia, -

3. l trav e led to my precinct , but they told me I was not regi ster ed. I had

   registered online, and the address on line mat ched my drive r's license.

4. I was told I bad to fill out a provisio nal ballot and r did.

5. I wa s not given any information or do cumen tation on how to check whether

   my provi sio nal ballot count ed in tbe current election.

6. The woman that discu ssed the provisional baJlot with me did not seem to

   und ers tand how it would work.

7. l had voted at tbe same precinct with no issues since 20 12.

8. l give this Declaration and/or Affidavit freely , without coercion, an d without

   any ex pect ation of compensation or oth er rewa rd.

9. Tund e rstand that in giv ing this Declaration and/or Affidavit, that I am not

   represe nted by a lawyer. Nor has any lawy er asked me to be their client or to

   serve in anyway as anything other than a witne ss in this litiga tion.

IO.I decla re under penal ty of perjury that the foregoing is true and corre ct.




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Further affiant sayeth not, this the ;5<iYIday of November , 2018.




Sworn to and subscribed before me
This the 15~ yo       ovember , 2018 .
            I(




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       DECLARATION UNDER PENALTY OF PERJURY
              PURSUANT TO 28 U.S.C. § 1746
                       AND/OR
  SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. M.y name is Dana Van Zajac. I am over eighteen years of age and competent

   to testify to the matters contah1ed herein.

2. I am a resident of Cherokee County in Georgia and my residence address is

                         , Woodstock , GA, -

3. I served as a poll watcher on   ovember 6, 20 18 at the polling location at

   Libe11yElementary School in Cherokee County. This was, I believe, one of

   the largest Cherokee County polling locations with in excess of 2000 voters

   casting their ballots throughout the day.

4. One of most troubling things that I observed was spouses coming to vote

   together after having changed their addresses through the Department of

   Motor Vehicles . They had changed their residence addresses and checked

   the box to update their voter registration as well. When they tried to vote, at

   least three couples learned that one spouse's address had been correctly

   updated while the other spouse's address showed as the former address in

   the registration system. All of them had d1ivers' licenses that reflected their

   new addres s.




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5. In each instance, the spouse with the unchanged address was directed to

   return to the original location to cast their ballot. I do not believe that they

   cast provisional ballots at the Libe1iy precinct.

6. There was a BOE employee (Jonathan) on site because of problems with the

   voting machines. One of the machines was taken off line because he could

   not recalibrate it. Until at least noon, almost all of the machines were

   operating on battery power because one of the machines kept "popping a

   fuse." They had to keep resetting the machine and it kept the remaining

   machines from charging.

7. I spoke to "Jonathan" about the provisional ballot issues. He told me that

   they preferred, strongly , that voters retu1n to their original voting site even

   though they were entitled to vote provisionally.

8. In fact, I observed one voter who came in requesting a provisional ballot

   because she did not have time to get to her assigned location. The poll

   workers had her get on the phone with the Board of Elections and she was

   questioned, extensively, about why and whether she could get back to the

   assigned precinct. Ultimately, after an extended period of time, she was

   given a provisional ballot and allowed to vote.

9. I did observe one woman, who came very close to the closing time, who I

   believe was properly registered in Cherokee County but not assigned to the



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           Liberty precinct. She was going to be allowed to vote a provisional ballot

           and stood in line to do so. Unfortunately, there were a number of people in

           line and, after waiting in line for at least 20 or 25 minutes , she had to leave

           without voting because she had family waiting. Her husband was able to

           vote at the Liberty location but her address had not appropriately updated.

        10.I give this Declaration and/or Affidavit freely, without coercion, and without

           any expectation of compensation or other reward.

        11.I understand that in giving this Declaration and/or Affidavit, that I am not

           represented by a lawyer. Nor has any lawyer asked me to be their client or to

           serve in anyway as anything other than a witness in this litigation.

        12.I declare under penalty of perjury that the foregoing is true and correct.

           Further affiant sayeth not, this the      I {r~day of November,   2018.




           Sworn to and subscribed before me
           This the ~   day of November , 2018.
                                        ~     -- .



         ~b~
        1l-                                 ~

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        DECLARATION U DER PE ALTY OF PERJURY
              PURSUANT TO 28 U.S.C. § 1746
                      A DIOR
   SWORN TATEME TIN ACCORDA CE WITH GEORGJA LAW

1. M name i             um e     alden. I am o er i 1 ht en ears of a e and omp tent

    tote tify t th matters contained herein .

2. I am a re idenl of Dekalb County in Georgia and my residenc                 addre      1s

                                  Lithonia GA

., . I ha       ot d at th polling location a        ·iated with m re iden       address

    Miller Oro        High      hool , for the pa t thr   y ars , after I m    d to m

    residence from Maeon, GA .

4. For the 2018 Georgia General El ction, J disallowed from votin at the

    polling pla e for m residence address             here 1 ha e been oting     f; r the     past

    three      ar .

        a. On · I ction Day         o ember 6, 2018 I showed up to            teat      i11er

            Grov IJigh chool around 4pm and omeone took my 1D and told me



        b. l     as urpri      d be ause 1 mo    d t m current addre '               ar ago

            from Macon, GA and when I m               d 1 switched m v t r r ,.i tration

            to De alb County . I aJso wit hed the registration of my daughter and

            m     on.




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       c. When I went to vote they had my family member's name on the list

          and not mine. They said I could not vote because they sent notice to

          Macon , GA to verify who I am and they never received anything back

          so they said I was not active .

      d. I asked why they sent it to Macon when I have an address in Lithonia

          and they did not answer. I then asked if I could use a provisional

          ballot and she replied that if I used a provisional ballot it would only

          be thrown out so I left without being able to vote at all.

      e. I have voted in Dekalb County since living here the past 3 years . I was

          prevented from voting this year, and they didn't even let me cast a

          provisional ballot. I am upset that I was unable to vote.

5. I give this Declaration and/or Affidavit freely , without coercion , and without

   any expectation of compensation or other reward.

6. I understand that in giving this Declaration and/or Affidavit that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   se1ve in anyway as anything other than a witness in this litigation.

7. 1 declare under penalty of perjmy that the foregoing is true and con-ect.

   Fmther affiant sayeth not, this the /5    day of November, 2018.



                                                  i~}.,JCIA..c~
                                                  Eunice Walden




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 Sworn to and subscribed before me
 Trns the _15_ day of November , 2018.




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          DECLARATION UNDER PENALTY OF PERJURY
                PURSUANT TO 28 U.S.C. § 1746

1. My name is Talisha Warren. I am over eighteen years of age and competent

   to testify to the matters contained herein .

2. I am a resident of Gwinnett County in Georgia and my residence address is

                  Snellville GA -

3. My individual circumstances are the following:

      a. In 2016 I re~is~red to vote and my polling location was "Anderson
         2 S 1 ·-,,.u
          1vurfa.
         ~-V  . ~ta                      · d a Ietter not1'fi1cat1o
                                · I receive
                        1ater pomt,                              · n that my new

         polling location was "Annistown Baptist." I then received a second

         1etter statmg                    . was sw1.tc he db ac k to ,~n~
                    . that my p~ 11· 1ocat1on                              --~
                                                                      nn ers@n           ·

         Li¥ing-:2'L1J<;   ·e,~
      b. A few days before Election Day I received a 3rd and final letter that

         my polling location would be at "Lenora Church." On Election Day in

         2016, I ended up voting at Lenora Church. Between the presidential

         and this election, I did not receive a notice that the po11inglocation

         changed.

      c. On Election Day this year, I went to "Lenora Church" and I stood in

         line for 2 hours to vote. When I got to the front the elections officiaHt2s
                                                                        ~ .{."
         scanned my ID and I was told I needed to vote at "Anderson     ~          .

         Elementary School." I explained that I voted at this location in 2016


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          and that I have a special needs daughter and I cannot go to the other

          polling location, especially not after waiting 2 hours.

      d. After requesting a provisional ballot, they allowed me to vote

         provisionally.

4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this the /   C day of Nov




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           DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746

1. My name is Carlos White. I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of Gwinnett County in Georgia and my residence address is

                            Rex , Georgia -

3. I have reviewed the list below and I believe that my situation most closely

   fits into the category that I have checked:

      a. __      I requested an absentee ballot but I never received it.

      b. __      I received an absentee ballot and returned it but my ballot was

         rejected.

      c. __      I received an absentee ballot and returned it but my ballot was

         not accepted.

      d. __      I wa not pennitted to vote using a voting machine (a DRE)

         (circumstances below) and was not offered a provisional ballot even

         though I reside in the county in which the precinct was located where

         I tried to vote.

      e. __     I was not permitted to vote using a voting machine (a DRE)

         (circumstances below) because I was told I was not a resident of the

         county in which [ was attempting to vote despite the fact that I had

         changed my address in a timely manner.


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      f. __     I was not permitted to vote using a voting machine (a DRE)

         (circumstances below). I asked for a provisional ballot but was told

         that it was too early in the day for provisional ballots or that there

         were not enough provisional ballots or that no provisional ballots

         remained.

      g. __     I moved counties but did not change my registration address.

         When I attempted to vote in my new county , the poll workers told me

         to return to my old county in order to vote.

      h. __     There were long lines at my polling location and I saw people

         leaving without voting.

      i. __     There were long lines at my polling location and I had to leave

         without being able to cast my vote.

      j. __     There were problems with the voting machines at the precinct

         at which I voted or attempted to vote.

      k. _X_      Other - See below.

4. My individual circumstances are the following: I am a resident in Clayton

   County and have resided there for the last 3 years. Even though I have been

   able to vote in Clayton County in previous elections with no trouble

   whatsoever, this year I was told there was a problem with my registration.

   When I went to the polling place on election day, my county of residence



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   had been switched somehow to my old address in Gwinnett County. The poll

   worker allowed me to vote with a provisional ballot, but as of today's date, I

   still have not been able to confirm my registration with Clayton County and

   feel that my vote was most likely not counted.

5. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

6. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

7. In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this t4e/t'   41day ofNovembe     2018.




                                                  Carlos White




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       DECLARATION U DER PENALTY OF PERJURY
              PURSUANT TO 28 U.S.C. § 1746
                       AND/OR
  SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My name is Michael White. I am ov r ighteen years of ag and competent

   to testify to th matter contained herein.

2. I am a resident of Cobb County and my address is

   Powder Springs, GA -

3. My polling location was at the George Ford Center, 4181 Atlanta St.,

   Powd r Spring , GA.

4. My individual circum tances are the following:

      a. I voted in Cobb CoW1tyin 2016. When I searched for my information

         on the ecretary of State's (SOS) My Voter Page (MVP) I could not

         find my registration in Cobb County.

      b. I called the SOS and was transferred to the Cobb Board of Elections

         and they told me I was regi tered in Fulton County. I told them I had

         never lived in Fulton County. The woman on the phone found that it

         wa a mi take on Fulton County' part because of my addre s-- it' m

         Powder Springs but the line have it pulled for Fulton County.

      c. The woman on the phone told me to vote with a provisional ballot and

         that she would have everythin g in her office so that it would not show

         that I wa   oting at two location .


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      d. I went on Tuesday to the George Ford Center and voted with a

         provisional ballot. I was told that I should call the Voter Protection

          Hotline number and the Cobb Board of Elections (BOE) to confirm

          my vote counted.

      e. Cobb BOE employees said that officials had not gotten to count the

         paper ballots on Friday and that they wouldnt be done unitl Monday. I

          asked how they would do that if Monday was a holiday and they hung

          up on me.

5. I give this Declaration and/or Affidavit freely , without coercion , and without

   any expectation of compensation or other reward.

6. I understand that in giving this Declaration and/or Affidavit , that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

7. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the   /L/dday of November , 2018.




   Sworn to and subscribed before me
   This the ~   day of Nov ember , 20




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Notary Public




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            DECLARATION UNDER PENAL TY OF PERJURY
                  PU RSUANT TO 28 U.S.C. § 1746

I. My name is Camille Christi na Wmiam s. I am over eig hteen years of age and

   compe tent to testify to the matters contai ned herein.

2. I am a resident of Cobb County in Georgia and my residence address is -

                                            ,A TLA TA,GA, _

3. I was not allowe d to cast a regu lar ballot at my registered polling p lace.

4. I am registered to vote in Georgia at my aforement ione d resi dence address.

   My poll ing place, as listed on the Geor gia Secr etary of State's "M y Vote r

   Page," is 'Preci nct VGOl VININGS LIBRARY -VGOl , 4290 PA CES

   FERRY RD, ATLANTA, GA, 30339 - 0000.'

5. I verified my polling place on the Secretary of State's "My Voter Page"

   befo re arriving at the Vining s Library on 7: 15 AM on Election Day,

   November 6, 20 18.

6. After wa iting in Jine for a total of 150 minutes, at 9:45 AM I spo ke to a polJ

   worker who told me that accor ding to their informa tion, I was not registered

   to vote at my current address, and was instead registered to vote at my

   previous address in Kennesaw, GA.

7. I was told by the poll wo rker that I would not be allowed to cast a regular

   ballot at the Vinings Library precinct, and wo uld only be allowe d to cast a

   provisional ballot un less I traveled to my previous poll ing location.


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8. I ended up casting a provisional ballot at the Vinings Library.

9. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

10.I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

11.I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the __   day of November , 2018.



                                                   \Jl)~c_~
                                                  Camille Christina Williams




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              DECLARATION UNDER PENALTY OF PERJURY
                    PURSUANT TO 28 U.S.C. § 1746

1. My name is Mariah Wolfe. 1 am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of Fulton County in Georgia and my residence address is -

                   Atlanta, GA -         I am a student at Spelman College.

3. For the 2018 Georgia General Election, l registered to vote well ahead of

   time, showed up at multiple Fulton County polling locations, and was still

   forced to cast a provisional ballot. I do not believe that my ballot was

   counted.

      a. I am a firsL-year student at Spelman College, who moved to Spelman

         from out of state to attend.

      b. Voting is very impmiant to me; I was registered to vote before

         moving to Georgia, and I wanted to make sure I was registered in

         Georgia to vote in a historic election.

     c. Dudng the first few weeks of school of the FalJ Semester, Spelman

         College held a voter registration drive for its students. During this

         drive, I registered to vote using a program called Turbo Vote.




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   d. When I registered to vote, I distinctly remember seeing a confirmation

       screen, which indicated that I submitted my registration information

       and that I was good to go.

   e. Between registering to vote and Election Day, I received general mail

       from Turbo Vote, which further made me believe that I had done what

       I had needed to register to vote as a Spelman College student and cast

       my ballot come Election Day.

   f. On Election Day, I not only had classes to attend at school, but I also

       was scheduled to work at my place of employment.

   g. Still, because voting is important to me, I carved out the time to show

       up around 4 PM to the polling place associated with students of the

       AUC Consortium, Archer Hall at Morehouse College.

   h. The situation at the polling location was chaotic. Multiple long lines

       were readily visible, with varying instructions given by poll workers

       on who should be in which line.

  1.   Eventually, I was told to look up some information on my phone

       regarding my voter registration. The information did not come up, and

       I was told that I may not be able to vote at Morehouse.

  j. I had no idea what to do at that point. Another person at the polling

       location told me to call a Voter Protection Hotline to find out what



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      was going on. I called the Hotline and the person I spoke to told me I

      needed to go to a different precinct, at Booker T. Washington High

      School, in order to vote .

   k. At this point, I was very frustrated, but still committed to vote. A

      volunteer at Morehouse was willing to drive me to Booker T.

      Washington High School, so I decided to go in order to cast my ballot.

   I. After we arrived at Booker T. Washington High School, the first thing

      I noticed was that the lines were very long. I got in line, and once I got

     to the front, the poll worker told me that I was not registered to vote

     and that I needed to cast a provisional ballot.

  m. The time at this point was a little too close to 6 PM, which was the

     time I needed to report to my workplace.

  n. I decided to stay anyway, until 6:30 PM, and cast a provisional ballot,

     despite the fact that I was already late for work and had spent multiple

     hours attempting to .vote on a busy day for me.

  o. I received an orange slip of paper after filling out my provisional

     ballot with instructions on how to follow up on the ballot. But after

     already expending so much time in the middle of a busy schedule that

     included classes and work, I did not have time to follow up on my

     provisional ballot.



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       p. I am deeply frustrated that my vote does not seem to have been

          counted for the 2018 Georgia General Election. I registered to vote, I

          spent multiple hours trying to vote, and still was not allowed to cast a

          regular ballot.

       q. Many students at my school told me that they also were not able to

          vote on Election Day. I hope someone fixes this broken system that is

          taking the right to vote away from so many people.

4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the   Jj_ day of   Ee.Ix va~         , 20 I 9.




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        DECLARATION UNDER PENALTY OF PERJURY
               PURSUANT TO 28 U.S.C. § 1746
                        AND/OR
   SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

I. My name is Devin Young. Jam ove r eighteen years of age and competent to

   testify to the matter s contained herein.

2. I am a resident of DeKalb County in Georgia and my residence addre ss is

                                  Chamblee, Geo rgia -

3. My individual circumstances are the followi ng: Prior to election day, I

   confirme d my voter reg istration stat us tw ice on the Secretary of State 's

   websi te (once myse lf and once with my girlfriend), and J also recei ved a vote r

   registrat ion card in the mail. When r arrived to my local polling place on

   election day with my vote r reg istra tion card in hand, I was told that my name

   does not appear in the voter registration computer system. I was told I could

   vote using a pro visional ballot, which 1did. However, 1 never received a piece

   of pap er explaining my rights, including how to correct a deficiency and how

   to check whethe r my ballot was counted . I did follow -up to cor rect any

   deficienc y with my registration status and am hopeful that my vote was

   cou nted.

4. J give this Declaration and/or Affidavit freely , wit hout coerc ion, and without

   any expectation of compensation or other reward.




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5. I understand that in giving this Declaration and/or Affidavit , that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the   l5   day of November , 2018.




   Sworn to and subscribed before me
   This the \   day of November , 2018.



   Notary   u   1c




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          DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746
                          AND/OR
     SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

l.     My name is Ann Brown. I am over eighteen years of age and competent

       to testify to the matters contained herein.

2.     I am a resident of Fulton County in Georgia; and my current home

                                                       Atlanta, Georgia -

3.     My voting experience was not good. On Election Day, November 6,

       2018, I went to vote at Pitman Park Recreation Center. It was not

       organized, people were complaining about how long they were spending

       in line; people were shouting; it was very confusing; and the poll workers

       were not helpful.

4.     I waited there for an hour. But my bones are bad; I can't stand long, and I

       have a pinched nerve on the left side of my neck and can't sit long either.

       Plus, it was getting dark and raining, and Pitman Park Recreation Center

       is in the Pittsburgh neighborhood of Atlanta, and that area is not good. I

       had to leave.

5.     I did the best I could, but being there was too much on me. I am very

       disappointed that I did not get to vote, but they have got to do a better

       job. They have to be more organized so people don't have to stay in line

       that long.



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6.      I give this Declaration and/or Affidavit freely, without coercion, and

        without any expectation of compensation or other reward.

7.      I understand that in giving this Declaration and/or Affidavit, that I am not

        represented by a lawyer. Nor has any lawyer asked me to be their client

        or to serve in anyway as anything other than a witness in this litigation.

8.      I declare under penalty of perjury that the foregoing is true and correct.

     Further affiant sayeth not, this the Jj_ day ofNovember, 2018.




     Sworn to and subscribed before me
     This the __!1__
                  day ofNovember, 2018.


        ~ ~-
     Notaubli


                   JUSTIN PITTS .
                 Notary Public , Georg i a
                     DeKalb County .
                 M Commission Expires
                   ~ebruerv   1 1 , 2022




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             DECLARATIO UNDER PENALTY OF PERJURY
                    PURSUANT TO 28 U.. C. 1746
                            AND/OR
     SWO      STATEME TIN ACCORDA CE WITH GEORGIA LAW

1.     y name i Arnaud Huguet. I am over eight n y ar of ag and competent

     to te tify to the matters contained h rein.

2. I am a re ident of Fulton County in Georgia and my re ideoce address is

                               , Atlanta, Georgia.

3. I hav revjewed the list below and I believ that my situation most closely

     fit into the category that I have checked:

        a. __      I requested an ab ent e ballot but n v r r cei ed it.

        b. __      I received an ab entee ballot and r turned it but my ballot was

           r jec ted.

        c. __      I received an absentee ballot and returned it but my ballot was

           not accepted.

        d. __      I was not pennitted to vote using a voting machine (a DRE)

           (circumstances below) and was not offi red a provisional ballot even

           though I reside in the county in which th pr cinct wa located where

           I tried to vote .

           __      I wa not permitted to ote u ing a     ting ma hin (a DRE)

           ( ircum tance below) becau e I wa told I wa not a re ident of the




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           county in which I was attempting to vote despite the fact that I had

           changed my address in a timely manner.

      f. __       I was not permitted to vote using a voting machine (a DRE)

           (circumstances below) . I asked for a provisional ballot but was told

           that it was too early in the day for provisional ballots or that there

           were not enough provisional ballots or that no provisional ballots

           remained.

      g. __       I moved counties but did not change my registration address.

           When I attempted to vote in my new county, the poll workers told me

           to return to my old county in order to vote.

      h.      X     There were long lines at my polling location and I saw people

           leaving without voting.

      i. _X__       There were long lines at my polling location and I had to

           leave without being able to cast my vote.

      j. _X__       There were problems with the voting machines at the precinct

           at which I voted or attempted to vote.

      k.     X     Other - See below.

4. My individual circumstances are the following: My typical polling place

   was Gideons Elementary, which was being renovated. I was directed to vote

   at Pitman Park Recreation Center, which only had three operational voting




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   machines, even though Pitman Park had been designated as the polling place

   for both Gideons (which has 1200 registered voters) and Pitman Park (which

   has 900 registered voters). I went at noon to vote and waited 30 minutes.

   Given the long lines, and given that I was told that it was going to be another

   hour, I had to leave and return to work. I returned to Pitman Park

   Recreational Center after work at 4:00 p.m. I waited 30 minutes, but was

   told the wait was going to be 2-3 hours because of the limited number of

   machines and the size of the voter turnout. I left and returned at 6:30 p .m. to

   vote. At that point, I could not even find a parking space to park my car. At

   that time, I was told it was a 3-4 hour waiting period. Given the limited

   number of machines, the long wait times and the inability to find parking, I

   was not able to vote.

5. I give this Declaration and/or Affidavit freely, without coercion, and without

   any expectation of compensation or other reward.

6. I understand that in giving this Declaration and/or Affidavit, that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or

   to serve in anyway as anything other than a witness in this litigation.

7. I declare under penalty of perjury that the foregoing is true and con-ect.

   Further affiant sayeth not, this the 1P 11day of November, 2018.




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Sworn to and subscribed before me                       ,,,,..,,,,,,
This the 11th day of November, 2018.        ,,,'~ti-SHEP'Al-9.
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                                                 ARNAUD D. HUGUET
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                                                 FULTON COUNTY SURVEYOR
                                                 FULTON COUNTY


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            DECLARATION UNDER PENALTY OF PERJURY
                  PURSUANT TO 28 U.S.C. § 1746

1. My name i Pamela Terekhova. I am over eighteen years of age and

   competent to testify to the matters contained herein.

2. I am a resid nt of Chatham County in Georgia and my residence address is

                         ,Pooler   GA -

3. My polling location is the Rockwell Methodist Church.

4. For the 20 l 8 Georgia General Election, I went to the polls three times, stood

   in long lines twice and still was not able to cast my ballot and exercise my

   right to vote.

      a. I have lived in Pooler for ten years . The R ckwell Methodist Church

          has always been my voting place. During the 2016, Presidential

          Election there was a two-hour wait. There is always a line but this

         year it was unbelievable.

      b. I dropped my son off at school and arrived at the Church 7am. The

         street was extremely dark and dangerous at that hour. I drov past a

          long line of people waiting in the str et to find a place to park. Most

         of the parking Jot and th field were being used for the line.

      c. After I parked, I joined the line in the street. There was no sidewalk-

         we were standing in the gutter. There was only enough room for one

         car to go by at a time; the other car would have to wait while


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      oncoming traffic passed. There were cars trying to get by us and I

     thought I was going to get hit. I waited in line for about thirty minutes

     and the line wasn't moving at all. So I left.

  d. I came back at about 1:30pm and this time I found a place to park on

     the field. It was hot. The line wrapped around inside of the parking lot

     and the field; it did not spill out onto the street. When I got there, I

     saw my neighbor was there with two small children about halfway to

     the church, and she said that she had been in line for two hours. I

     thought, "Oh my god, you have a baby! This is ridiculous." There

     were old people there, people with babies, people sitting down on the

     pavement. It was hot.

  e. The Chatham County Sheriff was there, so I asked him what he could

     do to help. I told him it the situation was ridiculous and asked whether

     the old people and babies go inside. The Sheriff said, ''this is my first

     time working at the elections; I don't know." I was appalled. He is the

     Sheriff of Chatham County! Finally, the elderly couple in front of

     me-he    was 76 and his ankles were swelling-were       allowed to cut

     the line and go inside. I counted 200 people in line at this time.

  f. I waited for two hours in the parking lot and only moved half the

     distance I needed to. I saw some people coming out who said they had               t


                                                                           ~\'1 332
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     been there since l 0:30am and it was now 2 :30 in the afternoon. After

     hearing this, I gave up hope.

  g. The word was that they only had 7 or 8 polling machines and because

     we had so many questions on the ballot, and it took l 0 minutes/person

     to vote. My son was coming home from school, so I had to leave.

  h. Around 6:30pm, my son and I went back. I drove for the third time to

     the Church and again saw people in the street and wrapped around the

     parking lot.

  i. I couldn't find a parking spot and it was getting dark. It was

     dangerous for my son and I to stand in line on the street in the dark

     while cars go by. So we kept driving.

  j. I went to the polls three times and stood in line twice, and was not

     able to vote.

  k. I was glad that we didn't wait because, the next day, a woman at my

     church told me she was there from 6:30pm - 11:00pm. She had stood

     in line earlier in the day while she waited to vote and then her husband

     got off work and she waited with him. She estimated that there were

     300-400 people in line that night.

 I. There is another polling place on my block but it's in Savannah rather

     than Pooler. I saw people parking all over the place there, too. There



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          were 50-60 cars in the street and 10o+ cars in the parking lot. This

          Church let everyone in and let people sit in the pews of the church

          instead of making them stand in the street.

       m. I talked to a volunteer poll worker and she told me that the precinct of

          Pooler has grown-it's   almost doubled in the last five years or so--

          but the number of machines hasn't increased. There was plenty of

          room in the church.

      n. They easily could have added another eight machines or so, or found

          another polling location entirely. They knew that they would have an

          issue because there were extraordinary lines in 2016; it should not

         have been a big surprise.

      o. I've voted for forty years in seven other states. Longest I had to wait

         was one hour. Only in Georgia are people expected to stand vote to

         five hours outdoors.

      p. What's going on? It was totally against my rights that I could not vote

         when I tried three times to do so.

5. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.




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6. I understand that in giving this Declaration, that I am not r presented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything oth r than a witness in this litigation.

7. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the /   7f(;;_y
                                                 of January   2019.




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           DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746

1. My name is Erika Underwood-Jackson. I am over eighteen years of age and

   competent to testify to the matters contained herein.

2. I am a resident of Fulton County in Georgia and my residence address is .

                      Atlanta, GA, -

3. For the 2018 Georgia General Election, I was very disturbed by what      r
   experienced and observed at my polling location, Pittman Park.

      a. l arrived at my polling location at Pitman Park a little bit before 8

         AM. When I arrived my polling place was in disarray. A line has

         spiraled on the way to three voting machines.

      b. Most of the people I spoke to who were in line had been there since

         the polling place opened at 7 AM.

      c. The line moved very slowly. There was no seating for the elderly and

         disabled so they had to stand which caused most of them to go home.

     d. I observed around 25 elderly and disabled voters leave the line. The

         fact that these voters were not given any other way to vote is a

        travesty.

     e. The line moved so slowly it felt as if there were technical issues with

        all of the voting machines and none of them were in operation.




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   f. Other voters and I asked to speak to a manager several times but a

      manager never came over to address us. One the poll workers told us

      that they should ' ve had eight machines and that they had been calling

      since before they opened up to get those other machines.

   g. While waiting in line, I called Secretary of State 's office at least 12

      times . Each time J was hung up on or placed on hold for an excessive

      amount of time.

   h. Finally, I got on the phone with someone who told me nothing could

      be done and that more machines would not be coming. I also called

      Fulton County Board of Elections office and was hung up on several

      times .

   i. In the end, I stood in line for five hours to vote.

  j. I have never experienced such disorganization implemented to deprive

      people of their legal right to vote ever in my life, until that day.

  k. Pitman Park is not my usual voting location. I typically vote at Gideon

      but it was closed this election cycle.

  I. However , I found out from speaking to other voters that at least two

      polling locations were closed and these voters were condensed into

      the Pittman Park polling location , perhaps tripling the number of

      registered voters for this polling location.



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       m. At my previous voting location, the longest I have ever waited to vote

          was 45 minutes.

       n. I even have video that was shot showing how disorganized it was at

          the polling location.

       o. I am shocked at what I observed this election cycle. I have never seen

          the referee also playing in the game .

       p. I don ' t understand how a person running for an office is not made to

          step down from overseeing the election.

4. I give this Declaration freely, without coercion , and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration , that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Funher affiant sayeth not, this the ~     day o ; Jan uary , 20 19.




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        DECLARATION UNDER PENALTY OF PERJURY
               PURSUANT TO 28 U.S.C. § 1746
                        AND/OR
   SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My name is Shanna Antoine. I am over eighteen years of age and competent

   to testify to the matters contained here in.

2. I am a resident of Gwinnett County in Georgia and my residence address is

                         Duluth,GA -

3. My polling location is PLEASANT HILL PRESBYTERIAN, 3700

   PLEASANT HILL RD , DULUTH, GA 30096.

4. For the 2018 Georgia General Election , I and my fellow Georgia voters at

   my pol1ing location were subjected to an abnormally lon g wait before

   voting.

      a. On Election Day, November 6, 2018 , I showed up to vote at Plea sant

         Hill Presbyterian.

      b. l waited there for 2 hours. Once it was time for me to go vote, they

         said we had to wait 15-20 minutes because there was something

         wrong with the system. There were only 8 machines there. Everyone

         was very upset to wait. We had to just stand there and wa it.

      c. They did not offer a chance to vote by paper. They then let us vote

         regularly. They looked to see if 1 was registered. They then gave me a

         yellow card to use in the machine to vote.

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5. I give this Declaration and/or Affidavit freely, without coercion , and without

   any expectation of compensation or other reward.

6. I understand that in giving this Declaration and/or Affidavit , that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

7. I declare under penalty of perjmy that the foregoing s true an c rrect.
                                          :th f.,u...
                                         f
   Further affiant sayeth not, this the \ day o N v




   Sworn to and subscribed before me
   This the __ day of November , 2018.




  Notary Public




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                DECLARATION UNDER PENALTY OF PERJURY
                     , PURSUANT TO 28 U.S.C. § 1746

     1. My name is April Baier. I am over eighteen years of age and competent to

        testify to the matters contained herein .

     2. I am a resident ofFuJton County in Georgia and my residence address is

                               Fairburn GA -

     3. For the 2018 Georgia General Election, I experienced and observed various

        issues voting including very long lines.

           a. My polling location has changed every year.

           b. This year it was at the Fairburn Baptist Church. I got to on Election

              Day around 5/6pm because I thought the lines would be shorter. I had

              to wait twenty or thirty minutes just to find a parking space. I kept

              driving around and around and finally someone left. There was

              nobody helping with parking .

           c. There were only l O voting booths for a few hundred people in line.

              The line was moving very slowly and sometimes not at all. One

              woman saw my kids getting irritated and antsy and she offered to let

              me cut, and then another woman ahead of her let me cut again.

          d. My children are two years old and eleven years old, and my son has

              special needs.




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            e. By the time I left, it was very dark. I had been waiting in line for at

               least an hour or so. If I hadn't been able to cut the line, I would have

               been in line for more than two hours.

            f. People are senior citizens, people have health problems, people have

               neurological problems -       they can't stand in line for hours. My sister

               wasn't even able to vote because she is pregnant and the line in her

               location was even longer. She couldn't stand in line for that long.

            g. I don't know why this system is so messed up in Georgia. I'm

               originally from Oregon. My family said that they have never waited in

               line. They get their ballot a few weeks before the Election, everything

               is printed and easy to use.

           h. Why can't our system be just be like others states, like Oregon? Other

               states don 't ,have to wait in long lines.

           i. The way Georgia runs election is deeply disturbing. You don't know

               what they're doing behind the scenes.

     4. I give this Declaration freely, without coercion, and without any expectation

        of compensation or other reward.

     5. I understand that in giving this Declaration, that I am not represented by a

        lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

        as anything other than a witness in this litigation.




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6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the __   day of December, 2018.




                                                 ~~ ,IL)
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           DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746

1. My name is Chad Carter. I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of Fulton County and my address is


   -    Atlanta, GA,
                       -
3. My individual circumstances are the following:

      a. I have been voting at the same polling location since I was 18. I am

         now 34. At the polling location the line was out the door similar to an

         amusement park. There were approximately 40 people outside and

         more inside. I waited for an hour and a half. There were two machines

         available for voter verification and four voting machines open in total.

      b. Most of the individuals in line were students, and they didn’t know

         what was going on. I have never waited this long to vote in line. In the

         past I have been in line for 8 minutes max.

4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.




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6. In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this the 11/19/18
                                        ____ day of November, 2018.



                                               ______________________
                                               Chad Carter




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              DECLARATION UNDER PENALTY OF PERJURY
                     PURSUANT TO 28 U.S.C. § 1746

1. My name is Patricia Davis. I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of Fulton County in Georgia and my residence address is -

                            Atlanta GA.

3. I have reviewed the list below and I believe that my situation most cJosely

   fits into the category that I have checked:

      a. __      I requested an absentee ballot but I never received it.

      b. __      I received an absentee ballot and returned it but my ballot was

         rejected.

      c. __     I received an absentee ballot and returned it but my ballot was

         not accepted.

      d. __     I was not permitted to vote using a voting machine (a DRE)

         (circumstances be]ow) and was not offered a provisional ballot even

         though I reside in the county in which the precinct was located where

         I tried to vote.

      e. __     I was not permitted to vote using a voting machine (a DRE)

         (circumstance below) because I was told I was not a resident of the

         county in which I was attempting to vote despite the fact that 1 had

         changed my address in a time]y manner.


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      f. __     I was not permitted to vote using a voting machine (a DRE)

          (circumstances below). I asked for a provisional ballot but was told

         that it was too early in the day for provisional ballots or that there

         were not enough provisional ballots or that no provisional ballots

         remained.

      g. __     I moved counties but did not change my registration address.

         When I attempted to vote in my new county , the poll workers told me

         to return to my old county in order to vote.

      h. __     There were long lines at my polling location and I saw people

         leaving without voting.

      i. __     There were long lines at my polling location and I had to leave

         without being able to cast my vote.

      j. _x_     There were problems with the voting machines at the precinct

         at which I voted or attempted to vote.

      k. __     Other - plea se explain - ____       __    ____        __    _



4. My individual circumstances are the following: I got in line at 8:30 and

   left at noon. My regular polling place was closed due to renovations. We

   only had 3 voting machines and were told by election worker there were

   only 39 cards. By 11 :30, 5 more Voting machines were brought in by



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   Jesse Jackson. What normally took me 10 minutes took 3.5 hours. I saw

   my neighbor and others leave who didn't want to wait in line.

5. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

6. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

7. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the l'~ ~             mber, 2018.




                                                   Signature




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             DECLARATION UNDER PENALTY OF PERJURY
                    PURSUANT TO 28 U.S.C. § 1746
                             AND/OR
     SWO      STATEMENT IN ACCORDANCE WITH GEORGIA LAW

I. My nam i Tunnizia Gilliam I am o er eight            n year   f age and competent

     to L tify to the matters contained herein.

2. I am a re ident of Cobb County in Georgia and my re idence address is -

                        Austell, GA

3.   r have reviewed    the list below and l believe that my situation most closely

     fits jnto the category that I have checked:

        a. __      I requested an absentee bal1ot but J n   er rec i edit.

        b. __      1 recei ed an ab ent    ballot and r tum d it but m ballot was

           reJ cted .

        c. __      I r ceived an absentee ballot and returned it but my ballot was

           not accepted.

        d. __      I was not perm itted to vote using a voting machine (a DRE)

           (circumstances below) and was not offer d a provisional ballot even

           though I reside in the county in     hich the precinct was locat d where

           I tried to ote.

        e. __     I     as not permitted to ote u ing a oting machine a DRE)

             ir umstances below) because I wa told J wa not a resident of the




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          county in which I was attempting to vote despite the fact that I had

          changed my address in a timely manner.

      f. __      I was not permitted to vote using a voting machine (a DRE)

          (circumstances below). I asked for a provisional ballot but was told

          that it was too early in the day for provisional ballots or that there

          were not enough provisional ballots or that no provisional ballots

          remained.

      g. __      I moved counties but did not change my registration address.

          When I attempted to vote in my new county, the poll workers told me

          to return to my old county in order to vote.

      h. _x_      There were long lines at my polling location and I saw people

          leaving without voting.

      i. __      There were long lines at my polling location and I had to leave

          without being able to cast my vote.
      .
      J· __      There were problems with the voting machines at the precinct

          at which I voted or attempted to vote.

      k. __      Other - please explain - _____________                            _



4. My individual circumstances are the following: I left home at 6:30 AM and

   went to my polling location and waited for one hour, and then I had to




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   leave because of work. I returned at my lunch break at 2:20 PM and

   remained in line before voting until 5:30. I was allotted only one hour

   for lunch. As a result, I lost two hours of pay. At the polling place there

   were one handicap and six regular voting machines. I recall clearly that

   during the 2016 election there appeared to be twice as many machines.

5. I give this Declaration and/or Affidavit freely, without coercion , and without

   any expectation of compensation or other reward.

6. I understand that in giving this Declaration and/or Affidavit , that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

7. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the &_       day ofNovember, 2018.




                                                     t, ~~
                                                    Cfig
                                                      nate:Tu 'ziaGiHiam
   Sworn to and subscribed before me
   This the j£_ day of November, 2018.


         Q-o-2-
   Notary Public

                       JUSTIN      PITTS
                    Notary Publ i c , Georg ia
                        DeKalb County
                    My Com min ion Exp i res
                      February 11. 2022




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       DECLARATION UNDER PENALTY OF PERJURY
              PURSUANT TO 28 U.S.C. § 1746
                       AND/OR
  SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My name is Velma Lambert. I am over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am a resident of Gwinnett County, Georgia.

3. I voted at Evangel Community Church in Snellville, Georgia. There were

   three voting machines in use and four voting machines that were not

   working and turned off. I waited in line for 2 hours 45 minutes with a boot

   on my foot because of a broken toe. When I left, the line was longer than

   when I arrived. There was no place for elderly people to sit while waiting.

   I observed approximately 50 people leave without voting because the line

   was too long.

4. The machine I used to vote was glitchy and had problems going back. The

   poll worker stated she could not assist because she was not allowed to look

   at the machine while I was voting.

5. After I voted, I passed an extremely long line at Annistown Elementary

   School in Snellville, Georgia. I stopped to see what was going on because I

   thought they might be giving something away. I spoke with someone on line

   who said she had been waiting on line for hours to vote. While I was there, a

  poll worker came out and said none of the machines were working. She



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   apologized and said they were trying to figure out what to do. I observed a

   lot of people leave without voting.

6. I give this Declaration and/or Affidavit freely, without coercion, and without

   any expectation of compensation or other reward.

7. I understand that in giving this Declaration and/or Affidavit, that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or

   to serve in anyway as anything other than a witness in this litigation.

8. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the                l 5 +h               day ofNovember, 2018.



                                                                          &;ti
                                                                          Velma Lambert


   Sworn to and subscribed before me
   This the    1_3-\---n day ofNovember, 2018.
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                 DECLARATION UNDER PENALTY OF PERJURY
                        PURSUANT TO 28 U.S.C. § 1746

1. My name is Jeffrey Marion.

2. I am over eighteen years of age and competent to testify to the matters contained

   herein.

3. I reside a                             , Snellville, GA -   and I vote in Gwinnett

   County.

4. l voted on election day. I arrived at 6:30 am at the Annistown Elementary School.

   The polling place was supposed to open at 7 am, but the machines were down until

   about 1 1am. So no votes were cast before 11am.

5. At first we were told that the license verifcation machine was broken. We waited

   about an hour and half. Then someone brought new power cords for lhe machine ,

   but it still would not work.

6. The next thing we knew , at about 10:45 or 10:50, they brought new voting cards to

   put in the voting machines. Voting began shortly after that.

7. The line to vote was wrapped around the school by the time I got to vote.

8. I did not vote until about 11:15 am.

9. I give this Declaration freely, without coercion , and without any expectation of

   compensation or other reward.

1O.Iunderstand that in giving this Declaration , that I am not represented by a lawyer.

   Nor has any lawyer asked me to be their client or to serve in anyway as anything

   other than a witne ss in this litigation.


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11.In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

   foregoing is true and correct.

   Further affiant sayeth not, this the   k   day of December, 2018.




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              DECLARATION UNDER PENALTY OF PERJURY
                    PURSUANT TO 28 U.S.C. § 1746

1. My name is Denick Oatis. I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of Gwinnett County in Georgia and my residence address is

                       , Suwanee, GA ~                     .

3. I have reviewed the list below and I believe that my situation most closely

   fits into the category that I have checked:

      a. __      I requested an absentee ballot but I never received it.

      b. __      I received an absentee ballot and returned it but my ballot was

         rejected.

      c. __      I received an absentee ballot and returned it but my ballot was

         not accepted.

      d. __      I was not pennitted to vote using a voting machine (a DRE)

         (circumstances below) and was not offered a provisional ballot even

         though I reside in the county in which the precinct was located where

         I tried to vote .

     e. __       I was not permitted to vote using a voting machine (a DRE)

         (circumstances below) because I was told I was not a resident of the

         county in which [ was attempting to vote despite the fact that I had

         changed my address in a timely manner.


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      f. __       I was not permitted to vote using a voting machine (a DRE)

           (circumstances below). I asked for a provisional ballot but was told

           that it was too early in the day for provisional ballots or that there

           were not enough provisional ballots or that no provisional ballots

           remained.

      g. __       I moved counties but did not change my registration address.

           When I attempted to vote in my new county, the poll workers told me

           to return to my old county in order to vote.

      h. _x_       There were long lines at my polling location and I saw people

           leaving without voting.

      I.   __     There were long lines at my polling location and I had to leave

           without being able to cast my vote.

      J· _x_       There were problems with the voting machines at the precinct

           at which I voted or attempted to vote.

      k. __       Other - please explain - __     ____       __    ____       _ _



4. My individual circumstances are the following:

   In 2016, I voted at Shadowbrook Church . I went online and discovered that

my polling place had changed. I do not recall receiving any notice that my

polling place had changed. I got to my polling place at 361 Main Street



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(Suwanee Public Library). I got there at 5 minutes to 7am. There were maybe

30-50 people already in line. About 10 minutes later, one of the poll workers

came out and apologized for the delay but said that there was an issue that they

were trying to correct relative to the machines. She gave no further information

but that she would let us know when we could vote.

   Thirty minutes later (about 7:45am) she came out and apologized and stated

that none of the machines were working. The line had grown . She offered the

choice of provisional ballots or for people to stay in line until the issue was

resolved . She told some of the people that their provisional ballots would not be

counted until the following Tuesday, not all of the people who took provisional

ballots heard this announcement. I did not witness anyone who got a provisional

ballot being given any type of receipt and I was not previously aware that one

was required. I witnessed less than five people who accepted one.

   The poll worker offered to create a list for those who decided to stay. She

said that none of the machines were reading the voter cards. They sent another

poll worker to Lawrenceville to get new cards in hopes that it would rectify the

situation. A few people asked how long it would take. She didn't know but

guessed 1.5-2.0 hours depending upon traffic . Within a matter of five minutes ,

of the 70+ people who were in line, about 90% of the people just left. This was

so disheartening to me because I knew that many of them would not come back .



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Fortunately, I had the flexibility to remain until I could cast my vote on a

machine.

           I also witnessed a few people who came to this polling place after

being sent from another polling place where they were told that they were at the

wrong place. I believe they were offered provisional ballots but I'm not certain

if they took them. Both were African-American. The male was adamant that he

was at the correct polling place. I'm not sure what happened for him .

Eventually, I asked if there was protocol for testing the machines. The poll

workers said that they test the machines but don't test the cards that go into the

machines . What sense does that make? The gentleman who went to get the

cards came back at 9:40am. They DID test those cards and they worked fine. I

was able to vote and be in and out in less than ten minutes . The delay of 2.5

hours left several people without the chance to vote - how many, I don't know.

Voting should not be this difficult under any circumstances. Eligible voters

should be able to vote under the simplest terms possible.

5. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

6. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation .



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7. In accordance with 28 U.S.C. § 1746, 1 declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this the _20 _ day of December, 2018.



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                                               Signature




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            D " LARATION          NDER PE A TY OPP              R,JURY
                       PUR UAN       TO 28      ...    § 1746


1. M n m i Ke in           Mall y. I am      r ight en year     ag and compet nt



2. I an1 a r ident f hatham        unty in      rgia and my residence address is

   ■-     ·-           avannah Geor ia -          -
3. My indi idual ir umstances ar the following:

      a. On I ti n day I went to vot at 9:00 am at my polling location, the



         working, but ther was still a pr tty realJy long line. I had the day off

          o I told my wife to stay and vote. It t     k my wife an hour and 15

        minutes to vote.

     b. I went back to the same polling location at 1:00 pm and 1 noticed that

        five of the seven machines were down so only two machlnes were

        working. I saw an estimated 20 people leaving in front of me. I also

        counted about 128 people in front of me. l left.the line because after

        doing the math, I realized I could not wait ov r 8 hours to vote.

     c. After I left I called the voter protection hotline and spoke to a

        repre entive who said she was going to call Chatham county and try to

        get more machines at the location.



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       d. At 4:30 pm I went back to the same polling location. They now had

          four machines working. I voted a regular ballot and it took me about

          an hour and half to vote.

4. I give this Declaration freely without coercion, and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. In accordance with 28 U.S.C.       1746 I declare under penalty of perjury that

  the foregoing is true and correct.

  Further affiant sayeth not, this the   _!k__
                                             day of November,    2018.




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             DECLARATION NDER PENALTY O.F PERJURY
                   PURSUANT TO 28 U.S.C . § 1746



1. My name     is Sherri Ozcomert . I am over eighteen years of age and competent
   to testify to the matters contained herein .
2. lam     a resident of Dekalb County in Georgia and my residential address is
                           ; Atlanta, Georgia -
3. I have  reviewed the list below and I believe that my s ituation most closely
   fits into the category that l have checked:
      a.           1 requested an absentee ballot but   T never   received it.
      b.           r received   an absentee ballot and returned it but my ba llot was
            rejected.
      C. __        !received an absentee ballot and returned it but my ballot was
            not accepted .
      d. _ __        I was not permitted to vote using a voting machine (a DR E)
            (circumstances below) and ·was not offered a provisional ballot even
            though I reside in the county in which the precinct was located where
            l tried to vote.
      e. _ __     I was not permitted to vote using a voting mach ine (a DRE)
            (circumstances below) because I was to ld I was not a resident of the
            county in which 1 was attempting to vote despite the fact that l had
              OT changed my address.
      f. __         J was not permitted to vote using a voting machine (a DRE)
            (circumstances below) . I asked for a provisional ballot but was told
            that it was too early in the day for provisional ba llots or that there
            were not enough provisional ballot s or that no provisional ballot s
            remained.
      g. __         r moved countie s but did not change my registration addres s.
            When I attempted to vote in my new county , the poll workers told me
            to return to my old county in order to vote .
      h.       X    There were long lines at my polling location and I saw people
            leaving without voting .
      i. __       There were long lines at my polling location and I had to leave
            without being able to cast my vote .
     j. __       T here were problems with the voting machines at the precinct at
            which I voted or attempted to vote .
      k.       X    Othe r - please explain - PLEAS E SEE SECTION 4 BELOW .
4. My individual   circumstances are the following:
  On Tuesday, ovem ber 6, 2018 J voted in the 2018 General Elect ions for the
  State of Georgia at my assigned precinct, Mary Lin Elementary School ,
  where I observed several differences from my previous experiences voting at
  the same precinct , differences which caused substantial voter confu ion,
  voter frustration and led to voters leaving without casting a ballot.
  On e difference I observed was the fact that there were fewer machines and-
  fewer workers at my prec inct on election day, but there were many more
  voters
                                                                                        363
  Second, voters from another precinct were directed to vote at my precinct.
  However , voters were till required to line up in one of two lines to vote .
     EachCaseline 1:17-cv-02989-AT
                  was correlated with oneDocument
                                            precinct. No413    Filed 06/19/19
                                                          poll workers             Page 85 of 311
                                                                       were actively
     directing voters as to which line was the correct line for the voter to line up
     in, according to their precinct.
     Therefore , many voters waited in line to vote, only to discover upon
     reaching the poll worker station that the voter had lined up in the incorrect
     line, based on the voter 's precinct , and had to line up in the back of the other
     line.
     I observed many voters ' frustration , and observed voters leaving without
     casting a ballot. This situation troub led me , because I worried that many
     c itizens, through no fau lt of their own , had been denied their right to vote .
5. r give  this Declaration freely , without coercion, and without any expectation
     of compensation or other reward .
6. I understand that in giving this Declaration , that I am not represented by a
     lawyer . Nor has any lawyer asked me to be their client or to serve in anywa y
     as anything other than a witness in this litigation.
7.   I declare under penalty of perjury ~~~!_the foregoing is true and_co_rr_e
                                                                             _ct_. _ _
     Further affiant sayeth not , this the    day of November , 2018.




                                                     Signature




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           DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746


1. My name is Mary Price. I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of DeKalb County in Georgia and my residence address is

                    , Decatur, Georgia -

3. My individual circumstances are the following:

   I voted early on the second day of early voting. I had voted at the same

   location for the primary and there was no wait. During early voting for the

   general election, there were only four voting booths. When l voted early for

   the primary, there were around eight working voting booths , so I was

   surprised to find only the four voting booths for early voting on this election.

   I heard a poll worker say that more voting booths were going to be added. It

   took me an hour and a half to vote.

4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.




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6. In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this th~    day of November, 2018.




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           DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746

1. My name is Vasile Stanescu. I am over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am registered to vote at                     , Warner Robins, GA -

3. My individual circumstances are the following:

      a. I voted early in person at the Houston Health Pavilion Conference
          Center in Warner Robin s on Friday , November 2, 20 18. I waited in
          line for nearly two hours in order to cast my baUot. While I waited in
         line, the poll workers made announcements to people in line saying
         that voters would have an opportunity to cast their ballot, but they just
         had to wait and it would be a long wait.
      b. In 2016, I voted early in person at this location , and it took me 10
         minutes from start to finish.
      c. I observe d people waiting in line behind me who left the line because
         the wait was so long.
      d. Additionally , I observed people who arrived later to the early voting
         location, asked voters in line how long we had been waiting, and left
         the early voting location when they learned of the wait time.
      e. I waited precisely an hour and 48 minutes. I did cast an early vote .



4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.




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5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this the_&.   day of November, 2018 .




                                                  Signature




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              DECLARATION UNDER PENALTY OF PERJURY
                        PURSUANT TO 28 U.S.C. § 1746
                                    AND/OR
                                     LAW
              IN ACCORDANCEWITHGEORGIA
 SWORNSTATEMENT

1.     y name is arrie Vanzant . I am over eighteen years of age and competent
     to testify to the matters contained herein.
2. I am a r     sident of DeKalb County in Georgia and my residence address i
                                    , Decatur, Georgia -
3.   I have reviewed the list below and I believe that my situation most closely
     fits into the category that I have checked:
        a. __      I requested an absentee ballot but I never received it.
        b. __      I received an absentee ballot and returned it but my ballot was
           rejected.
        C. __      I received an absentee ballot and returned it but my ballot was
           not accepted.
        d. __ I was not pe1mitted to vote using a voting machine (a DRE)
           (circumstances below) and was not offered a provisional ballot even
           though I reside in the county in which the precinct was located where
             tried to vote.
        e. __ I was not permitted to vote using a oting machine a DRE)
           (circumstances below) because I was told I was not a resident of the
            aunty in which I was attempting to vote despite the fact that I had
           changed my address in a timely manner.
        f. __ I was not permitted to vote using a voting machine (a DR )
           ( ircumstances below). I asked for a provisional ballot but was told
           that it was too early in the day for provisional ballots or that there
           were not enough -provisional ballots or that no provisional ballots
           remained.
        g. __ I moved counties but did not change my registration address.
           When I attempted to vote in my new county, the poll workers told me
           to return to my old county in order to vote.
        h.        X here were long lines at my po11ing location and 1 saw people
              leaving without voting.
        i.   __ There were long Linesat my polling location and l had to leav
              without being able to cast my vote.
       j . __   There were problems with the voting machines at the precinct at
           which I voted or attempted to ote.
        k. _ _ Other - please explain - __ _ _ __ _____                 _


4. My     individual ircumstances are the following:
     I arri ed at m polling place PeachcrestElementary at approximately 8: 15
     am . After about an hour of waiting in line I was near the table where you
     check in to get your oting card and noticed that some of the oting
     machines were not b ing used. After that, I noticed that ther were no voters
     at any of the voting machines. I asked a poJl worker about it and she said
     that the line wa moving and to be patient. She said there were only two
     machine to get voting cards. I noticed that they were having troubl with
     the machines. One of the poll workers unplugged one of the ch ck-in
                                                                                     369
     machines . hen poll workers unplugged both check-in machines. A poll
     worker said that both machines needed to be in sync for the count and that
   they Case
        were trying to get the machinesDocument
               1:17-cv-02989-AT          in sync. It took
                                                      41320-25  minutes
                                                            Filed       to get the
                                                                  06/19/19      Page 91 of 311
   machines in sync and then they started checking people in again. I noticed
   people leaving when the machines were down. I saw several people ask
   whether they could take their registration form that they had already filled
   out with them and return later. The poll worker told them that they could not
   take the form with them. I voted and left the polling place at around 9:50
   am. There were very long lines wrapping around a couple of hallways in the
   school when I left.
5. I give this Declaration
                         and/or Affidavit freely, without coercion, and without
   any expectation of compensation or other reward.
6. I understand that in giving this Declaration and/or Affidavit, that I am not
   represented by a lawyer. Nor has any lawyer asked me to be their client or to
   serve in anyway as anything other than a witness in this litigation.
7. I declare under penalty of perjury that_Jfe foregoing is true and correct.
   Further affiant sayeth not, this the   14   \lay of November, 2018.




   Sworn to an~ ubscribed before me
                                                   t ,!~  ,.-•• p..M 8 ,,,,
                                                         - ~\.••••••••.clh'.:AI♦
                                                        •t-••           ••~r. ♦
   This the d_ day of November , 2018.             l1    11. ··01AA··· ..:,;,.•t
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                     DECLARATIO lJNDERPE ALTYOF PERJURY
),
                           PURSUANT TO 28 U.S.C. § 1746


       1. My name is Glenn Wooten II. I am over eigh.te n years of age and

          competent to teSt ify to the matters containedherein.

       2 • 1 am a resident of ulton County in Georgia, and my residence address is

                                                 Atlanta, GA -

       3. I am a regi tered         oted in Georgia.

       4. I tri d to vot on Octob r 31 2018 at th Adams Park Library location but,

          wh n I arri ed other voter and I were tw·ned away. We were told that there

          wa a wat r main break in the library and the location was            sed until

          El tion Day. W were gi f.ll information ab ut other locati ns wh re early

           oting w     takin        plac . f th ught th   tory wa   trange b cause there    ere

          no truck     r   \!   ork rs n ar the library· n indj ation fa wat r main break or

          repair   going on that I         uld

       5. On Friday         ov mber 2, 2018 I voted at the Pryer      treet location. I waited

          in line for more than thr e hour . During that time T aw at least t n people

          leav the line because th y could not wait any longer.
                                                               ·  and without any expectation
       6. I give this Declaration freely         without coercion

          of omp n ation or other reward.




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 7. I understand that in giving this Declaration, that I am not represented by a

    lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

    as anything other than a witness in thi litigation.

 8. In accordance with 28 U.S. C. § 1746, I declar e under penalty of perjury that

     the foregoing is true and corr ct.

     Further affiant ayeth not , th.i the   ?/7   day of   ovember 2018.




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       DECLARATION UNDER PENALTY OF PERJURY
              PURSUANT TO 28 U.S.C. § 1746
                       AND/OR
  SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My n me is Jeffery Young. I am over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am a r sident of Gwinnett County in Georgia and my residence address is

                                 Snell vii le, Georgia, -

3. My individual circumstances are the following:

      a. On election day my polling plac , Anni town lementary, had
          ix voting machines. I arrived at 8:45 am to vote and there were
         about 125 people or more in line.

      b. While in line I heard that the machines wer down and that no
          n had voted yet. At that time , th y were bringing in two mor
         machine but those ended up not working ith r.


      c. Later we were told that the issue wasn t with th machines, but
         was instead with the cards. A representat1v from the board of
         elections was there and said they sent som one to get new
         cards.


      d.    he representative at the polling Jocation made an
           announcement that people could fill out provisional paper
           ballots. About 60 people chose to fill out provi ional ballots.


            wa able to vote at 12:49 pm.


4. I giv thi D     laration and/or Affidavit freely without c er ion and without

  any xp ctation of compensation or other reward.




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5. I understand that in giving this Declaration and/or Affidavit , that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.
                                          Jtt
   Further affiant sayeth not, this the l3_:_
                                            day ofNovember , 2018.




   Sworn to and subscribed before me
   This the __ day ofNovember , 2018.




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          DECLARATION UNDER PENAL TY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746
                          AND/OR
     SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

L      My name is Suzanne Urquhart ~I am over eighteen years of age and

       competent to testify to the matters contained herein.

2.     I am a resident of DeKalb County in Georgia, and my residence address

       1S                              Atlanta, Georgi ~

3.     The matters described herein are based on my first-hand, personal

       knowledge.

4.     On Election Day, November 6, 2018, I served as a Poll Watcher at Mary

       Lin Elementary School ("Mary Lin") in DeKalb County. I arrived at

       Mary Lin when the polls opened at 7:00 a.m., and I left between 1 :30

       p.m. and 2:00 p.m.

5.     Throughout the day, the poll workers were working hard and trying their

       best, but Mary Lin experienced a number of issues with voters.

6.     Starting at the time the polls opened, there were issues with voters not

       being in the system. When a voter would sign in, the Mary Lin Poll

       Manager would call someone, and whomever the Poll Manager called

       would say whether or not a person could vote. In the first couple of

       hours , there were at least fifteen people who were not in the system ~they




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        were allowed to cast provisional ballots, however , after the Poll Manager

        made the phone call.

7.      Another significant issue at Mary Lin was that it was the voting location

        for two precincts- both Mary Lin and Epworth Church ("Epworth"}-

        because Epworth Church was under construction. Mary Lin was upstairs

        in the theater, and Epworth was downstairs in the cafeteria.

8.      There were two different entrances for Mary Lin and Epworth ; there were

        handwritten signs with arrows identifying the two different precincts. The

        problem, however, is that voters didn't know if they were Mary Lin or

        Epworth because their voter registration cards and the My Voter Page

        would both indicate Mary Lin for both precincts, with the only

        differentiating factor being that Mary Lin would indicate "Mary Lin LE"

        and Epworth would indicate "Mary Lin EE." None of the voters,

        however, knew what "LE" or "EE" meant.

9_      As_aresult,.andstarting   at 7:00 am ~,.voters_would waitfor an hour and.a

        half in the Mary Lin line only to get to the front of the line and be told

        that they had to go downstairs to Epworth-where      they had to wait in

        line again.

10.     I asked one woman how long she had been waiting in line, and she said,

        laughing ,."This line?" Another woman , h.owever,.was_notinsuchgood




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        spirits, and she was ready to cry when she was told she had to go

        downstairs to vote after she had waited in the long Mary Lin line. I went

       downstairs with her and asked the Epworth poll workers if she could cut

        in line, and she was able to do so, but she was very upset.

11.    The poll workers started to tell people that if they normally vote at

       Epworth then they needed to go downstairs. But there were a lot of new

       voters, and they didn't know where they normally voted. In addition,

       many people were adamant that they should be in the Mary Lin line

       because their registration cards said "Mary Lin"-because       again, people

       did not know what the "LE" and "EE" initials meant.

12.    I also witnessed people being sent back and forth between the two lines

       multiple times-they    would wait downstairs at Epworth, then be sent

       upstairs to Mary Lin, wait in line at Mary Lin, and then be told they

       needed to go back downstairs to Epworth.

13.    I know at least two people left after they waited in the wrong line. One

       gentleman had waited an hour and a half in the Mary Lin line and was

       then told he was not in the system. He said his My Voter Page showed he

       was active and that his precinct was Mary Lin. He became very upset,

       indicating that the situation was ridiculous; that he had to get to work and

       that was why he had come early; and that he was not willing to stand in_,a




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        whole other line and find out he was not in their system either. He said if

        someone would tell him where to vote, he might try. But he ultimately

        left Mary Lin without voting, and I don't know ifhe tried to vote again.

14.    In addition to people not being in the system and voters being sent back

       and forth between the Mary Lin and Epworth lines, I also witnessed other

       voter issues at Mary Lin.

15.    One woman was told she needed two forms of identification to vote,

       without explanation. This same issue had happened at the primary

       election; she was permitted to cast a provisional vote then. The only

       reason she was allowed to vote at Mary Lin on Election Day is because

       the Mary Lin Assistant Poll Manager recognized the woman from the

       primary election, and he stated that he would act as her second form of

       identification. She was very angry, however, questioning why she was

       the only one who needed two forms of identification and explaining that

       both her mother and either her grandmother or her aunt (I'm not sure

       which one) couldn't speak English and to imagine what they would have

       done if this identification problem had happened to them.

16.    Another woman who was registered to vote came in to Mary Lin but was

       told she had to cast a provisional ballot. I stayed in contact with her via

       text me_ss.ag.eafter she left Mary Lin ~She called the voter protection line.




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        and was told she had to go to the DeKalb County elections office with

        her identification and proof of residency. When she went to the office on

        Friday (November 11, 2018), she was told that the voter hotline had

        given her the wrong information; that she did not have to come back; and

        that there was nothing further she could do. She told me that other people

        in line at the elections office were told the same thing. She wasn't sure if

        her provisional ballot was counted.

17.     Another gentleman had to cast a provisional ballot even though he and

        his family received voter cards that reflected Mary Lin as their precinct._

        He and his family had lived in DeKalb County since 1993, and nobody

        else in his family had to cast a provisional ballot. After waiting in line at

        Mary Lin, however, the gentleman was told he was not in the system, and

        he had to vote provisionally. I'm not sure his vote was counted, however,

        because he was told his precinct was in Morningside, which I believe is

        Fulton County.

18.     Another gentleman had voted at Mary Lin for years. His residence is in

        DeKalb County, but the address on his license said Tift County. After he

        waited in line, he was turned away and told he had to go vote in Tift

        County. He left to drive to Tift County, which was almost four hours

        away _ I don't know whether he was .able to vote~




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19.      I give this Declaration and/or Affidavit freely, without coercion, and

         without any expectation of compensation or other reward.

20.      I understand that in giving this Declaration and/or Affidavit, that I am not

         represented by a lawyer. Nor has any lawyer asked me to be their client

         or to serve in anyway as anything other than a witness in this litigation.

21.      I declare under penalty of perjury that the foregoing is true and correct.



      Further affiant sayeth not, this the _j_J__
                                               day of November, 2018.




      Sworn to and subscribed before me
      This the -13._ day of November, 2018.




                     JUSTIN PITTS .
                   Notary Public, Georgie
                       DeKalb County
                   My commission Expires
                     Februarv 11, 2022




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          DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746
                          AND/OR
     SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1.   My name is Ami Rodrigues. I am over eighteen years of age and competent to

     testify to the matters contained herein.

2.   I reside at                          Atlanta, Georgia -       and I currently work

     as an attorney in Atlanta.

3.   The matters described herein are based on my first -hand, personal knowledge.

4.   On Election Day, November 6, 2018, I served as a Poll Watcher at First Baptist

     Church on Gresham Road in DeKalb County. I arrived at First Baptist at about

     8:30 a.m. and did not leave until about 1:00 p.m.

5.   During my time at First Baptist, I tried to talk to people who had cast provisional

     ballots. There was only one station at First Baptist where voters could cast

     provisional ballots. The Assistant Poll Manager was in charge of the provisional

     ballot station.

6.   If anyone was having an issue with provisional ballots, the wait time for those

     people casting provisional ballots increased significantly. Likewise, if anyone

     else voting required the attention of the Assistant Po11Manager, then those

     people waiting to vote provisionally experienced longer wait times .

7.   One specific incident I witnessed involved an elderly blind woman who wanted

     to cancel her absentee ballot. Her issue required the assistance of both the Poll

     Manager and the Assistant Poll Manager, and they were unavailable for other

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         voters for at least an hour while they were assisting her . Nobody was able to cast

         a provisional ballot during that entire hour. As a result of the increased wait time,

         I witnessed two other elderly individuals waiting to cast provisional ballots

         leave. One woman could not wait any longer because she had to pick up her

         grandchildren. The other was an elderly gentleman who had already been at First

         Baptist earlier in the day waiting to cast a provisional vote, and he had come

         back to try again. He left again during the hour that the poll managers were

         assisting the elderly blind woman. I'm not sure if he came back.

8.       I give this Declaration and/or Affidavit freely, without coercion, and without any

         expectation of compensation or other reward.

9.       I understand that in giving this Declaration and/or Affidavit, that I am not

         represented by a lawyer. Nor has any lawyer asked me to be their client or to

         serve in anyway as anything other than a witness in this litigation.

10.      I declare under penalty of perjury that the foregoing is true and correct.



      Further affiant sayeth not, this the ___l.2__¾ay
                                                  of November, 2018.

                                                                ~




                                                      ~g~
                                                    sigrurture
     Sworn tolan~bscribed   before me
     This the L   day of November, 2018.




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             DECLARATION UNDER PE ALTY OF PERJURY
                   PURSUANT TO 28 U.S.C. § 1746
                                   AND/OR
  SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My name is Kri ti Feenie . I am over ighteen years of age and competent to

   testify to th matters contained herein.

2. I am a resident of ulton County in Georgia and my residen e address is -

                            Atlanta, GA-

3. My individual circumstances are the following:

      a. I   ent tom    oting location       hi hi s parkside elementary and I

         waited in line for somewh re b tween an hour and a hal and two

         hours. While waiting I witnessed many people complaining to

         them    lve and each other that they wouldn't be able to vote because

         they needed to get back to work or take their kids to daycare, or had

         other obligations. I saw many of tho e people lea e the ]ine. I a1so

         saw many people entered the facility, saw the line, and then turned

         around and Ieft.

      b. I had no is ue preventing m fr m oting. I did bear the poll workers

         say they had issues, that some of the voter cards were not working

         with the machines. They said for ome of the machines "the card was

         just popping out." So they said they had to ask those voters to file




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         provisional ballots. I didn't see any of those cards not working with

         the machines.

      c. I returned about 5:30 that evening, because I'd heard they were still

         having issues. I brought bottled water to those in line, in case that

         might be the determining factor to ensure they could vote. I have

         voted at this location I think three times before, including presidential

         elections, and I've never seen lines like this.

4. I give this Declaration and/or Affidavit freely, without coercion, and without

   any expectation of compensation or other reward.

5. I understand that in giving this Declaration and/or Affidavit, that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the \5tt-,day ofNovember, 2018.




                                                  Signature

   Sworn to and subscribed before me
   This the 'L£_day of ovember, 2018.




                                  DoneyaPeoples
                                    NotaryPublic
                                FultonCounty,Georgia
                              Myoamm  , ~~i,1re@
                                               02/20/2022                         384
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        DECLARATION UNDER PENALTY OF PERJURY
               PURSUANT TO 28 U.S.C. § 1746
                        AND/OR
   SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My name is Sharman R. Southall. I am over eighteen years of age and

   competent to testify to the matters contained herein.

2. I am a resident of Cobb County in Georgia and my residence address is -

   -                     oswell,GA -

3. On November 6, 2018, I was a poll watcher at Argyle Elementary School,

   whi h was built in 1970 near the new Braves Stadium . Anoth r polling

   place is located directly across Spring Road at the fire station. When 1

   aiTived at Argyle Elementary      chool 6:20am, a handful of voters were

   already in line to cast their ballots.

4. The voting area was located in the med ia center this year, though it seems to

   have been located in the cafeteria in past years. The cafeteria is a more open

   and accessible location than the media cen er. The media center was

   somewhat crowded with the students' computer terminals and book shelves.

5. Sho11lyafter the polls opened, heavy rain and wind moved into the area.

   Voters were brought into the interior of the school and access to the building

   for voting was changed to a door located clo er to the main entrance of the

   school. The signage was not immediately moved, however, which lead to

   som confusion.



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6. The waiting time throughout the day ranged from about 1.5 hours to 2.5

   hours due to high voter tum-out, few voting machines, and the long ballot

   and amendments. The long line was consistent throughout the day. Many

   seniors in line knew they could come to the front of the line but some did

   not. No handicap accessible machines were provided, but the poll workers

   provided chairs to those who needed one while they voted.

7. I noticed several voters who got very close to the front of the line but had to

   abandon the line to pick up their children from daycare or return to work -

   they had run out of time to wait any longer and left without voting. In all, I

   observed about 20-25 voters who abandon the line. Most said they would

   return later but I only recognized two such voters who returned later. Other

   voters may have left the line without voting but I could not see them from

   where I stood at the front of the line.

8. The parking was not plentiful at this location. I went outside several times

   during the day and saw that parking was always at capacity and cars had

   parked on the grassy areas and on the sidewalks. I always observed cars

   leaving the lot but do not know if they parked elsewhere or abandoned

   voting.

9. Our last voter in line when the polls closed completed his voting at 9:40 pm.

10. I give tHis Declaration and/or Affidavit freely, without coercion, and without

   any expectation of compensation or other reward.


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11. I understand that in giving this Declaration and/or Affidavit, that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

12. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the   JJ 1~ay   ofNovember, 2018.




   Sworn to and subscribed before me
   This the /31;-,.,
                day of November, 2018.




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                                                                    A
                                                                    B

                                                                    J
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                 DECLARATION UNDER PENALTY OF PERJURY
                        PURSUANT TO 28 U.S.C. § 1746
                                 AND/OR
            SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My name is Caroline Allen Bailey . I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of Dekalb County in Georgia and my residence address is -

   -        Decatur, G~        . The address on my voter registration is

   Decatur, GA -

3. My individual circumstances are the following:

       a. I am registered to vote at                          Decatur, GA-          in DeKalb

             County.

       b. I currently attend Washington and Lee University in Lexington, Virginia

       c.    I applied for an absentee ballot on October 22, 2018 by emailing my absentee

             ballot application to the Dekalb County Voter Registration and Elections Office. I

             had not received my absentee ballot by November 1, 2018, so I called the Voter

             Protection Hotline regarding my application. The Voter Protection Hotline

             recommended that I resend my absentee ballot application via an email that

             included the documentation of the first email I sent with the attached application.

             I sent the second email to the Dekalb County Voter Registration and Elections

             Office on November 1, 2018 .

       d. On November 2, 2018, I received an email from Dekalb County Voter

             Registration and Elections Office stating that my new absentee ballot application

             had been printed off, delivered to the absentee department for processing, and




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           would be mailed out that day. The email also stated that Administrative Assistant

           did not see another request for an absentee ballot from me in the system.

       e. I did not receive the absentee ballot until Election Day, November 6, 2018 , and

           when I called the Dekalb County Board of elections I was told that my absentee

           ballot must arrive by 7:00PM on Election Day.

       f. I did not mail in my absentee ballot.

4. I give this Declaration and/or Affidavit freely, without coercion , and without any

   expectation of compensation or other reward.

5. I understand that in giving this Declaration and/or Affidavit, that I am not represented by

   a lawyer. Nor has any lawyer asked me to be their client or to serve in anyway as

   anything other than a witness in this litigation .

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the ~ day of November 2018.




   Sworn to and subscribed before me
   This the 15--fh
                day of November 2018.




           BRIANNE   MARIE   KLEINERT
                NOTARY PUBLIC
             REGISTRATION# 7742803
           COMMONWEALTH OF Vl·RGINIA
            MY COMM ISSION EXPIRES
               JANUARY 31, 2021




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           DECLARATIONUNDER PENALTYOF PERJURY
                      PURSUANT TO 28 U.S.C. § 1746

1. My name is Nonnan Broderick. I am over eighteen years of age and

   competent to testify to the matters contained herein.

2. I am a resident of Cobb County in Georgia and my residence address is -

   ~            owder Springs, G~

3. I am retired military. I was in the military for 24 years and I have voted

   absentee before, while being stationed overseas.

4. For the 2018 Georgia General Election, I could not exercise my right to vote

   due to unacceptable errors from elections officials.

5. I tried to vote absentee. I filled out all of my fonns correctly, and I sent them

   in on time. But my ballot arrived at the wrong address, and elections

   officials would not resolve the situation.

       a. I work at the Shaw Air Force Base in Sumter, SC, so I knew I needed

          to vote absentee this election cycle. I submitted an application for an

          absentee ballot well in advance of the election.

       b. I went to the Cobb County Elections website. I designated my

          residential address as one in Georgia and my mailing address as one in

          South Carolina to ensure that the baUot was sent to me.

       c. I typed the form myself to ensure there were no mistakes. I emailed it

          in per the website instructions.



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  d. Later, my wife checked the mail at our home in Georgia and infonned

     me that my ballot had arrived at my address in Georgia, instead of my

     address in South Carolina .

  e. I clearly indicated that the ballot needed to be sent to South Carolina.

  f. At that point, I knew that I did not have time to return to Georgia to

     vote before Election Day, and I hoped to find a resolution for the issue

     with the Cobb County Board of Elections.

  g. I emailed the Cobb County officials to let them know I was

     disappointed with the process and that I wanted to file a grievance. I

     then visited the Cobb County Board of Elections website to file a

     grievance detailing my issue.

  h. On the Saturday after the election, November 10, I received a call

     back.

  i. An elections official informed me that they indeed made a mistake

     with my ballot and that, unfortunately, I would not be able to vote this

     cycle.

  j. She acknowledged that the elections officials had failed on their end.

     They committed an error by mailing my ballot to the incorrect

      location.




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     k. She stated that after they receive the absentee ballot application, the

         ballot issuance process involves three separate people who verify that

         the information is correct.

      I. Through three stages of the process, all three people, tasked with

         verifying the correct infonnation, failed to ensure that my absentee

         ballot would be sent to the proper address.

      m. The elections official informed me that a resolution would not be

         possible and that my ballot would not be counted.

      n. I have copies of my application to vote absentee and the chain of

         email correspondence with the Cobb County Board of Elections.

      o. As someone who served for decades in our military, the fact that my

         absentee ballot was mishandled by elections officials is unacceptable.

      p. I did everything I needed to do to vote on my end, only to watch as

         my right to vote was taken away from me this election cycle.

6. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

7. l understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

8. I declare under penalty of perjury that the foregoing is true and correct.




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Furtheraffiant sayeth not, this the 6 day of December,2018.




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        DECLARATION UNDER PENALTY OF PERJURY
               PURSUANT TO 28 U.S.C. § 1746
                        AND/OR
   SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

I. My name is Dinesh Chandra. I am over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am a resident of Gwinnett County in Georgia and my residence address is

                         , Lawrenceville. GA -

3. I am 72 years old and voted by absentee ballot so that I would not have to

   stand on a long line to vote. l returned my absentee ballot on November 5,

   2018 in person to the Gwinnett County Board of Registration and Elections

   office located at 455 Grayson Highway, Lawrenceville, Georgia. After

   arriving at the Board of Elections office, J handed my ballot to the person at

   the desk. The person at the desk asked me to sign a sticker they put on the

   envelope and I did so. The person then took my ballot to another room to

   compare my signature with the signature they have on file for me. After

   approximately five minutes, the employee returned and told me that the

   signatures matched. The employee told me that there was nothing else 1

   needed to do to make my ballot count. No other instructions were given to

   me. On November 8. 2018. I learned that my absentee ballot was rejected

   because it was missing the year of my b irth. On the same day. I went to the

   same Board of Elections office and explained that my ballot was not counted




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   because it was missing the year of my birth. I was told that nothing could be

   done to correct the error and my ballot would not be counted.     I believe that

   since my signature matched and the rest of my information was on the

   ballot, my ballot should be counted.

4. I give this Declaration and/or Affidavit freely, without coercion, and without

   any expectation of compensation or other reward.

5. I understand that in giving this Declaration and/or Affidavit, that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or

   to serve in anyway as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the ~ day of November, 2018.




                                                  Signature

    worn to and subscribed before me
   This the ~   'day of November, 2018.




   Noo/Y Public




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            DECLARATION UNDER PENALTY OF PERJURY
                   PURSUANT TO 28 U.S.C. § 1746

1. My name 1s Maya Cross. I am over eighteen years of age and compete nt to

   testify to the matter s conta ined herein.

2. I am regi stered to vote in DeKalb County in Georgia and my registered

   address is                          , Avondale Estates, GA -

3. For the 2013 Georgi a General Election, I attem pted to vote absentee;, but I

   was subjected to a very frustrating and flawed process. Despite doing

   everything I could to cast my ballot , I was deprived of my right to vote.

      a. I am an absentee voter because I am a temporary overseas resident. I

         am in my third year as a vo lunteer with the United States Peace Corps

          in Colombia.

      b. Attempting to vote absentee in the 2018 General Election was a very

         difficult proc ess for me .

      c. To begin, I mailed my absentee ballot request on October 2nd from

         Colombia to Georgia through the U.S. emba ssy. The mail arrives to

         Wa sh ington D.C. through the diplomatic pouch and is then transferred

         to USPS for delivery to Georgia.

      d. In my absentee ballot reques t I asked that my absentee ballot be

         emailed to me. I waited a coup le of weeks and did not recei ve any




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       email from DeKalb County. On October 23rd, I took it upon myself to

       call DeKalb County internationally through Skype.

    e. DeKalb County officials told me that they didn't know anything about

       my request, but nonetheless decided to email me my absentee ballot

       the same day.

    f. The possibility exists that my absentee ballot request got lost in the

       mail, but I doubt it. If I had not been willing to expend my time and

       resources to call DeKalb County, after weeks of not receiving my

       ballot, I would have not even had the chance to vote.

    g. I filled out my absentee ballot and mailed it from Colombia through

       the Embassy on November 1. My ballot followed the same process as

       my ballot request, first going to Washington through the diplomatic

      pouch and then to Georgia through USPS.

   h. On November 10, I started email correspondence with DeKalb County

      as the Secretary of State's My Voter Page did not indicate that my

      ballot had been received. On November 15, I was told by Dekalb

      County that from the Colombian embassy an absentee ballot should

      only take a week to arrive.

   i. On December 4, I again checked the My Voter Page and my ballot

      was listed as rejected. The page seems to claim that my ballot was




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          received on November 19, and since that was after the deadline, my

          vote was never counted.

      j. Having to deal with this process internationally has been very

          stressful. I am lucky that as a Peace Corps Volunteer, I have a

          schedule flexible enough to allow me to spend hours investigating and

          calling to make sure that my voice is heard.

      k. What about those who have a less flexible work schedule? What about

          those who have children and don't have hours to spend online trying to

          figure if their voice was actually heard? What if I hadn't had the time

          or the energy to call DeKalb County internationally after I didn't

          receive the absentee ballot?

      I. I am deeply angry that my vote was not counted. I did everything I

          could on my end to exercise my right to vote, and I believe my right to

         vote was taken away from me.

      m. The difficulty I had voting absentee as an eligible Georgia voter, and

         the fact that my vote was not counted, is completely unacceptable.

4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.




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5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the   ZSday of December, 2018.




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         DE LARATIO UNDER PE ALTY OF PERJ RY
                PURSUANT TO 28 U.S.C. § 1746
                         AND/OR
   SW ORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

l. My name is Lamana George . I am ov r ighteen years of ag and competent

   to testify to the matters contained h r in.

2. I am a resident of Fulton County in           rgia and my r sidenc

                                 At1anta Georgia -
                                                                            address   i-
3. I have reviewed the list below and I b li ve that my ituation mo t closely

   fits into th   ategory that I have ch k d:

      a. __       Ir quested an absent        ball t but I never received it.

      b. _ _      Ir   eived an absentee ballot and returned it but my ballot was

           reject d.

      c.     ✓i re       ived an abs nt e ballot, returned it rec iv d a

           confirmation of r ceipt yet my vot was not counted.

      d.          I was not permitted to vot u ing a voting machine (a DRE)
           --
           (circum tanc       below) and wa     11   t offered a provisional ball ot ven

           though Ir    ide in the count   in        hich the precinct   a I ated where

           I tried to vot .

      e. __       I wa not perm itted to vot using a voting machin            (a DRE)

           (circum stances below) becau e [ wa told I wa not a r siden t of th




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           county in which I was attempting to vote despite the fact that I had

           changed my address in a timely manner.

      f. __       I was not permitted to vote using a voting machine (a DRE)

           (circumstances below). I asked for a provisional ballot but was told

           that it was too early in the day for provisional ballots or that there

           were not enough provisional ballots or that no provisional ballots

           remained.

      g. __       I moved counties but did not change my registration address.

           When I attempted to vote in my new county, the poll workers told me

           to return to my old county in order to vote.

      h. ___      There were long lines at my polling location and I saw people

           leaving without voting.
      .
      I.   __     There were long lines at my polling location and I had to leave

           without being able to cast my vote.
      .
      J· __       There were problems with the voting machines at the precinct

           at which I voted or attempted to vote.

      k. __       Other - please explain - _ _____           __    _____            _



4. My individual circumstances are the following:         My son, Julien

   Christopher George, is currently living and attending Marist College in




                                                                                        401
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    Florence, Italy. Julien requested and received an absentee ballot via e-

    mail. He also received an electronic ballot via

    e-mail. Julien cast his ballot for November 6th, 2018, election , and

    received a confirmation from Ralph Jones at Fulton County stating that

    his vote had been received and counted on October 31, 2018. Having

   checked the MVP website on line for confirmation of his vote, the

   website states that Julien, in fact, had not returned his ballot. This is

   not true. Attached is a copy of the e-mail he received confirming receipt

   of his vote.

S. I give this Declaration and/or Affidavit freely, without coercion , and without

   any expectation of compensation or other reward.

6. I understand that in giving this Declaration and/or Affidavit , that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

7. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the /,Z.i4Jay ofNove




   Sworn to and subscribed before me
   This the .12._day of November 2018 .

                                                                                      GlenPaulFreedman
                                                                                        NOTARY   PUBLIC
   --+-JL-U.Jb-<-=il-l.''-"--"- .:::....::..._
                                         ---+1--->Ll=+< :....e......!.
                                                                :.=..t.....,_ __     FultonCounty,GEORGIA
                                                                                   MyComm  issionExpires11/5/19



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From: Lamarra George
Sent: Monda y, November 26, 2018 10:55 AM
To: Elizabeth Conrad
Subject: Fw d: Ballot Request Received

Ms. Conr ad, please see the emai l confi rm recei pt of Julien's ballot . Please let me know if the re is anyth ing else
yo u need.

Thank you.


        Lamarra     Geo rge , CCR -2582.



        (Julien George 's mother)


        ----- Forwarded Messa e - ---
        From: Julien George
        To: Lamarra George
        Sent: Friday, Novem er ,       ,              ST
        Subject : Fwd: Ballot Request Received

        ---------- Forwarded message ----- ---
        From: <electronicballot noreply@sos.ga.gov>
        Date: Wed, Oct 31, 2018 at 3:55 PM
        Sub~
        To:----



        Dear JULIEN CHRI STOPHER GEORGE ,

        We have success fully receive d your ballot for one or more upcoming elections via facsimile.

        To find info1mation regarding election dates and other general updates, please visit the Georgia Secreta1y of
        State's website for militaiy and overseas voters at:
        http ://sos .ga.gov/index .php/elections/militaiy and overseas voting2 .

        If you need any additi onal info1mation or assistance, please contact your county elections office at:

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RALPH JONES
UOCAVA CONTACT, FULTON COUNTY
130 PEACHTREE STREET 2186
SW
ATLANTA, GA 30303 - 3460
4046127060 (phone)
4046123697 (fax)
ELECTIONS.ABSENTEE@FULTONCOUNTYGA.GOV

Thank you for being a Georgia voter.

This e-mail is an automated notification and is unable to receive replies. Please communicate directly with
your county election office. They will be happy to assist you with any question or concern you may have.




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           DECLARATION UNDER PENALTY OF PERJURY
                  PURSUANT TO 28 U.S.C. § 1746

1. My name is Emily Johnson. I am over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am a resident of Chatham County in Georgia and my residence address is

                                                   Cambridge , MA -

3. For the 2018 Georgia General Election, I sent my absentee ballot request in

   well ahead of time, but I did not receive my ballot in time to send it in. I did

   what I needed to do to vote in this election, and yet my vote was taken away

   from me.

      a. I am a student at Harvard University. I am a senior studying the

         history of science.

      b. I mailed in the request for my absentee ballot on October 22nd from

         Cambridge , MA. I waited awhile and my ballot didn't come. I kept

         checking my mail and it sti11hadn't come .

      c. I thought I had done something wrong like misspelled my name or put

         in the wrong address. I had heard about problems with voting and had

         been as meticulous as possible to avoid them while filling out my

         ballot. But, I didn't think there it was possible that, something other

         than my own mistakes, could have gone wrong.




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   d. By Monday, November 5th, I still didn't have my ballot. On Election

      Day and in the days following, I saw voting issues intensifying in the

      news . I saw my friend Peggy Xu post on social media and speak on

      the record in the Washington Post about issues with her absentee

      ballot.

   e. Peggy ' s story inspired me to investigate my ballot and I checked the

      Secretary of State ' s website. On the Secretary of State's My Voter

      Page , I saw that Chatham County had received my ballot request form

      on October 25th and mailed my ballot that same day to my address in

      Cambridge. And yet I never received it.

   f. I checked my mail frequently after Election Day-o ut of morbid

      curiosity , I suppose -   and finally received my absentee ballot the

      week of Thanksgiving. The packet containing my ballot had a sticker

      on the front, near the addresses, that said, "Received after election

      day."

   g. Inside was a blank ballot for the General Election with Stacey Abrams

      and Brian Kemp on the ballot. This was incredibly confusing; the

      Secretary of State's website said my request had been received before

      Election Day . It felt like they were rubbing salt in my wounds by




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          sending me a ballot I couldn't use. I was angry and threw it out. It felt

          like a farce.

       h. My father is Bob Johnson. He ran for Congress in District l in 2014

          as a Tea Party Candidate. The first time I voted was in my father's

          election.

       i. The second time I tried to vote, in 2016, I had a concussion was not

          able to vote. Despite all my best efforts, I was not able to vote again

          this year.

      j. Voting is very important to me. When I went to vote for my father in

          2014, the campaign manager for Buddy Carter's campaign was

          driving around the precinct in his truck. I remember my father saying

          that this was illegal voter suppression . Now, I feel like things have

          come full circle, at a different level. It's so upsetting.

4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward .

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.




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6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the£_   day of January, 2019.




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           DECLARATION UNDER PE AL TY OF PERJURY
                 PURSUA 1 T TO 28 . .C. § 1746

1. M nam i Roderick Jolivette. I am o        r i ht n       ar of age and

    ompet nt to testify to the matters contain d h r in.

2. I am a r sident of Muscogee County in        orgia and my re idence address is

                          Mjd.Jand, GA,_

3. My individual circumstances are the following:

      a. My dad died in March and my mom is now living with me. I live in

         Mu c gee County and my mom pr          iousl Ii din AJban

          Dougherty County). My mom is stiU regi ter d t         ot in Dougherty

          oun .

      b. l was going to take her to Albany to       t on   1 ction Day but a few

         day b fore Election Day sh was sch dul d to have surg ry on her

         foot and have her toe removed. In the week b fore Election Day, I

         went o Muscogee County Elections Office to request an absentee

         ballot. Aft r some confusion I was in tructed to reach out to

          ougherty     ounty Elections Offic . It    a a it unclear what th

        pro    s    as to r qu st an ab ntee ballot in her circumstance between

         ounti s.

     c. On Friday      ovember 2nd before the deadlin       I ubmitted the

        application for the absentee ballot with Dougherty County Elections


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        Office. That same day the Dougherty County Elections office faxed in

       the application and told me they would send out the ballot that same

       day. I was told the ballot would arrive to my home in the next 1-2

       days, either Saturday or Monday, and that it should not be a problem.

  d. After not receiving the ballot over the weekend , I called the

       Dougherty Elections Office to check on the status on Monday and

       Tuesday. I was going to let my mom fill it out and I was going to

       drive it to Albany on Monday or Tuesday before the polls close. As

       long as we received the ballot an hour or so before polls closed, we

       would have been able to tum it in before the deadline.

  e. The ballot arrived on Wednesday, November 7th. My mother was

       upset, she really wanted to vote. My mom is 71 years old. She has

       been voting all her life. I remember the court made a ruling on the

       absentee ballots, so I thought there might be a chance I could still

       receive it and have it counted, especially considering the

       circumstances.

  f.   I continued to reach out to the Secretary of State's Office and the

       Dougherty County Elections Office, however, they told me it was too

       late for her vote to be counted. A woman I spoke with told me I

       should have been provided a pre-paid overnight mailing envelope for



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          the ballot, but I was repeatedly reassured that the absentee ballot

          would arrive in time for me to drop it off in Albany. It was all very

          frustrating and in the end my mother was not able to vote.

4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the~     day of December, 2018.




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      DECLARATION UNDER PENALTY OF PERJURY
             P RS ANT TO 28 U.S.C. § 1746
                     AND/OR
  SWORN STATEMENTIN ACCORDANCEWITH GEORGIALAW

1. My name is __         Jack AlbertLansk:y _    . [ am over eighteen years of ag

   and competent to testify to the matters contained herein.

2. I am a resident of       Fult on__     County in Georgia and my residence

   address is --                        Atlanta GA --            ·

3. I have reviewed the list below and I believe that my situation most Josely

   fits into the category that I have che ked:

      a. __        I requested an absentee ballot but I never received it.

      b. __        I received an absentee balJot and returned it but my balJot   as

         reje cted.

      c. __        I received an absentee ballot and returned it but my ballot was

         not accepted .

     d. __         I was not permitted to vote using a voting machine ( a DRE)

         (circumstances belo       and was not offered a provisional hallo even

         though I re ide in the county in which th precinct was located where

         I tried to vote.

     e. __         I was not permitted to vote using a voting machine ( a DRE)

        (circmnstancesbelow)becauseI was told I was not a residentof the



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              county in which I was attempting to vote despite the fact that I had

              changed my address in a timely manner.

          f. __      I was not permitted to vote using a voting machine (a DRE)

              (circumstances below). I ask d for a provisional ballot but was told

              that it was too early in the day for provisional ballots or that there

              were not enough provisional ballots or that no provisional ballots

              remained.

          g. __      I moved counties but did not change my registration address.

              When I attempted to vote in my new county, the pol1 workers told me

              to return to my old county in order to vote.

          h. __      There were long lines at my polling location and I saw people

              leaving without voting.

          i. __      There were long lines at my polling location and I had to leave

              without being able to cast my vote.

          J· __      There were problems with the voting machines at the precinct

              at which I voted or attempted to vote.

   _X_       Other - please explain - I am a Fulton County resident that was traveling

abroad in Europe until Nov 7th, after election day. I filled out and emailed an absentee

ballot application on time, but I didn't check the box for overseas resident. I didn't know

exactly how I should fillthe form out, and when I tried calling their office during normal




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operating hours (multiple times) , no one ever picked up. Eventuall y I emailed the form

filled out as best I could, clearly describing my situation and hoping for clarification on

correcting the form if necessary before it was too late. They never responded to my

emails or phone calls , and there was no way to leave a message . The phone just rings

and rings and eventually cuts off. Finally on election day when I still hadn't received any

email , I tried calling a different department and they gave me a different phone number

for a Shamira Marshall. She told me to emai l her the form again, which I did. Finally I

was told that they mailed me a paper absentee ballot because I had filled the form out

incorrectly , but that form had to be turned in by the end of the day . I explained to her

that I was still abroad , had tried many times to call and email before it was too late, as I

didn't know how exactly how to fill out the form based on my situation and didn't want to

commit perjury . I immediately emailed the form back corrected , and also reached out

directly to Shamira's supervisor , Ralph Jones , via email and phone , and even left him a

direct voicemail. His number was also not available publicly and I had to get it from the

North Annex . As usual , I never got a response and was never followed up with. I am

upset for two reasons : 1. Most importantly , none of this would have happened if they

had just done their jobs and been available to answer my questions , pick up the phone ,

reply to my emails , etc , and if the form was clearer. 2. I sent them back the corrected

form with the proper check boxes before the deadline for electronic transmission (Friday

Nov 9th) and they still never sent me the ballot, followed up with me, etc . I would also

like to note that even on the original form I put my email address and checked the box

requesting electronic transmission AND explained my situation clearly in the email that




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the form was attached to . I feel my vote was suppressed , whether intentionally or not,

due to employee incompetence at the Fulton Absentee Office.


          k.




   4. My individual circumstances are the following:

   5. I give this Declaration and/or Affidavit freely, without coercion, and without

       any expectation of compensation or other reward.

   6. I understand that in giving this Declaration and/or Affidavit, that I am not

       represented by a lawyer. Nor has any lawyer asked me to be their client or to

       serve in anyway as anything other than a witness in this litigation.

   7. I declare under penalty of perjury that the foregoing is tru and correct.

       Further affiant sayeth not, this the __    day of    ovember 2018.



                                                                                 ;
       Sworn to and subscribed before me
       This the o2otti day ofNovember 2018.


       MOJW~W
       Notary Public




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           DECLARATION UNDER PENALTY OF PERJURY
                  PURSUANT TO 28 U.S.C. § 1746

1. My name is Sarah Laurand . I am over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am a resident of DeKalb County in Georgia and my residence address is

                            , Stone Mountain , GA, -

3. For the 2018 Georgia General Election , I attempted to vote absentee but my

   ballot was mishandled. I was disenfranchised from my right to vote for state

   and local offices.

      a. I am an experienced voter who has exercised my right to vote

         absentee by mail many times before.

      b. For the 2018 Georgia General Election , I requested an absentee ballot

         but I elected to receive my absentee ballot electronically , for the first

         time. Previously I have received my absentee ballot by post.

      c. I emailed the DeKalb County to make sure that my absentee

         application had been accepted. DeKalb County told me that the

         signature had not come through so they asked me to sign and re-

         submit the application.

      d. I re-submitted and signed the application. DeKalb County said they

         would issue a link with an electronic ballot.




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   e. By October 10, since it had been a while since my previous

      correspondence, I was concerned because I had not received my

      ballot.

   f. I emailed the county again and they said they would reissue the ballot.

      When I received the ballot, I saw that my ballot had only federal races

      on it -- no statewide or local offices.

   g. I have always been able to vote for local offices, statewide offices,

      and statewide amendments on my ballot. I spoke with my mom

      because I thought this was strange.

   h. My mother said she had other issues on her ballot herself, so that

      prompted me to follow up. I surmised that my ballot was delivered

      with important parts missing due to its electronic delivery.

   i. I emailed the county on October 22 and two different officials

      confirmed that I had received the correct ballot.

   j. As far as I am aware of, I filled out the application in the same way as

      I had in previous years, and I have always received the full ballot.

   k. After the election, I reviewed my application and confirmed that I had

      checked the box for “temporary overseas resident,” which means I

      should have gotten the full ballot with statewide and local candidates.




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            l. I was not able to vote for statewide or local offices this year, because

               DeKalb County refused to deliver me a full ballot.

           m. I was deprived of my right to vote for statewide and local offices this

,,             election cycle.

     4. I give this Declaration freely, without coercion, and without any expectation

        of compensation or other reward.

     5. I understand that in giving this Declaration, that I am not represented by a

        lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

        as anything other than a witness in this litigation.

     6. I declare under penalty of perjury that the foregoing is true and correct.

        Further affiant sayeth not, this the   2Y day of December, 2018.



                                                        ~
                                                       Signature




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            DECLARATION UNDER PE AL TY OF PERJURY
                           PURSUA T TO 28 U.S.C. § 1746

l. My name is Isaac Mirza. I am over eighteen years of age and competent to

   testify to the matter     ontained herein.

2. I am a resident of D Kalb County in Georgia and my r sidenc address is

                                          Atlanta GA, -           . I currently live

   abroad in India as a Fulbright     cholar.

3. For the 2018 Georgia General       I ctio~ I had to jump o er num rous hurdJ s

   and spend a considerable amount of time and resources to vote absentee.

      a. Though   r am t    mporari I Ii ing o erseas I kn        J needed to vote in

         such an important election so I prepared to vote absentee for the

         el ction cycl .

     b. Initially, I went to the Secretary of tate's web page, downloaded the

         ab entee ballot request form and thoroughly read the instructions for

        bow send my form in and request my absentee ballot.

     c. I Ji ked on th link that       as suppo    d to telJ me    here I    ould need

        to s nd my absentee ballot request, but no specific name was listed: it

        just said Coun       Registrar s office.

     d. I don t remember an email being as ociated with the County Registrar

        in DeKalb County at that time. I Googled the county registrar and got




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        the name "Maxine Daniels." I emailed the application to Maxine

        Daniels on October 10 (1ST) at mwdaniels@dekalbcountyga.gov.

   e. Within a minute, I got an auto-response from this email that said she

        would be retiring September 27, 2017. The email said to contract

        Mary Frances Weeks at mfweeks@dekalbcountyga.gov or Ericka

        Hamilton at ehamilton@dekalbcounty.gov or 404-298-4020.

   f. I sent my application in again to those email addresses about six hours

        later on October 10th. But I never heard back from Mary Frances or

        Ericka. A week later, on October 22, I began to wonder about the

        status of my absentee ballot request.

   g. I Googled again and this time found a fourth email address,

        voterreg@dekalbcountyga.gov. I sent my application to that email

        address and they responded within five hours . Mary Frances Weeks

        responded and said she could not open my attachment.

   h. I sent a new copy of the application back to her. Four hours later, she

        told me that my request had been printed and delivered for processing.

        I heard nothing between October 22 and October 29.

   1.   On October 29, I called the Democratic Party's Voter Protection

        hotline and they could not find any record of my application online.

        They called the County Registrar and we did a three-way phone call.




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    J· After half an hour on the phone, the woman from the County said that

       she emailed me the application confirmation. I received an email from

       electronicballot _ noreply@sos.ga.gov that said that my application had

       been approved and I would be receiving a ballot sometime soon.

    k. Ten hours later, I got another email that said my ballot was ready on

       the Secretary of State's My Voter Page.

   I. On October 30, I printed out the ballot and read the instructions many

      times. I have ADHD and know that's easy for me to overlook small

      details, so I read the instructions over, and over, and over again.

   m. Before I put any documents in any envelope , I checked five or six

      times to make sure I did it correctly . I packed my ballot, included my

      affidavit, and went through all of the steps I was supposed to take.

   n. Because it had taken so long for my ballot to be ready for me, I went

      to a DHL express and spent $50 to have my ballot sent in time to be

      counted.

   o. I stayed in the DHL office and watched the man put the label on my

      envelope to make sure he didn 't cover the portion that said "Official

     Absentee Ballot. "

  p. They gave me a tracking number and told me that my ballot would

     arrive by Monday , November 5th. On Monday , November 5th, I




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      checked both the DHL page and the SOS My Voter Page to see if my

      ballot had made it to DeKalb County.

   q. On the DHL website , I saw that a T. Martinez had signed for the

      delivery on November 2, 2018 at 5:05pm. I took a screenshot.

   r. On the My Voter Page, I saw that my request had been received on

      October 29 and my ballot was issued on October 29. The ballot return

      date and ballot status were both blank.

   s. At that point, I assumed that they would update the status after they

      counted the votes. I was not concerned.

   t. On the morning of November 7 (India Standard Time, which was the

      night of November 6), my wife told me that people had problems with

      their absentee ballots and in person voting. I checked again on the My

      Voter page and discovered that my vote had not been counted. I took a

      screen shot.

   u. I called the Voter Protection Hotline again and they thought maybe

      DeKalb County had not had a chance to count everything yet and

      update the system. They said to wait two days. I waited two days, and

      on November 9, I posted on FaceBook that I had just spent 20 minutes

     on the phone with DeKalb County.

  v. They said that the woman who signed for my ballot "works on the

     opposite side of the building and they needed to track her down to



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       find out what happened to your package ." It sounds like someone

       signed for my package , put it down somewhere, and then went home

      for the weekend. The ineptitude was infuriating.

   w. After that woman hung up, two hours later, she called later and said

      that she had tracked down my ballot. I went online to the My Voter

      Page and saw that my vote had been counted . She had backdated my

      ballot so that it said it had been received on the day of the election .

   x. I'm sure that the only reason my vote counted was because,

      throughout the whole process, I referenced that I am a Fulbright

      Scholar. I used this title and position to credential why I was voting

      absentee and demand attention ; given the stories I have heard and

     read , I don 't believe I would have been heard without it.

  y. This shouldn 't be happening to anyone and despite the fact that things

     eventuall y worked out for me and my ballot was counted , I can't sit

     back and say everything turned out okay-it's      not okay. Even given

     my relative privilege , it took three days of me hounding people to

     track down my ballot application and , before that , get my application

     submitted. It was nonsense. This was an important election to make

     change in Georgia . I wanted to vote to help people who do not have

     the privileges I have.




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4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the   ZD day of       t£~ \cJ,o,ry   , 2019.



                                                    I~/~ ~
                                                  Signature




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           DECLARATION UNDER PENALTY OF PERJURY
                  PURSUANT TO 28 U.S.C. § 1746

1. My name is Betty Morris. I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of Dekalb County in Georgia and my residence address is

                            ecatur,GA -

3. For the 2018 Georgia General Election, I helped my sister submit an

   absentee ballot to the Dekalb County Board of Elections, which she never

   received. Sadly, my sister was unable to vote.

      a. We received the absentee application request for my sister in the mail.

         In mid-October, well before Election Day or the deadline for

         submitting absentee ballots, I submitted the request for an absentee

         ballot on behalf of my sister, Jossiephine McClain , who has a

         disability.

      b. We never received the absentee ballot, which meant my sister was not

         able to vote.

      c. My sister voted in 2016; she stood in line but the lines were so long

         and with her disability, it made absentee voting the right thing to do.

      d. Unfortunately , my sister was deprived of her right to vote after never

         receiving her absentee ballot.




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4. I give this Declaration freely , without coercion , and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the £1_ day of November, 2018.




                                             ~Jtt:;_,~
                                                  Betty Morris\




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               DECLARATION UNDER PENAL TY OF PERJURY
                     PURSUANT TO 28 U.S.C. § 1746


   1. My name i      ailah Ogle. I am over eighteen years of age and competent to

      testify to the matters contained herein.

  2. I am a r sident of DeKalb in Georgia and my residence address is -

                      Stone Mountain, Georgia -

  3. My individual circumstances are the following:

     I attend law school at Georgetown University. I requested an absentee ballot

     the first week of October 2017. Approximately two weeks later, my mother

     told me that she called the DeKalb Board of Electors to inquire about my

     ballot and was told that it had been sent to the wrong address. I followed up

    with th DeKalb Board of Electors and the status I was given was pending.

    No one fo1lowed up with me. I did not get to vote.

 4. I give this Declaration freely, without coercion, and without any expectation

    of compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer.    or has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. In accordance with 28 U.S.C. § 1746, I declare und r penalty of perjury that

   the foregoing is true and correct.



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Further affiant sayeth not, this the   r;j_day of November, 2018.

                                                Signature




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                                                                             428
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           DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C . § 1746

J. rvfyname is Robyn Roberts. I arn over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am a resident of DeKalb County in Georgia and my residence address is

                      , Decatur, GA -

3. For the 2018 Georgia General Election, my daughter experienced an

   imperfect absentee ballot process that caused anxiety, an.dfor the fo1,owing

   runoff election, the absentee ballot process seems to have failed my daughter

   completely.

      a. My daughter, Alexandra (Alex) Grejner, and I Jive in DeKalb County

         and are registered to vote there. Alex attends Wellesley College in

         Massachusetts.

      b. For the General Election, Alex requested her absentee ballot around

         the middle of October and received it around 10 days later. She

         mailed the absentee ballot before the end of October.

      c. Alex periodically checked the Secretary of State's My Voter Page

         (MVP) to see if her ballot had been received. She checked on F.lection

         Day, November 6, 2018, and the absentee ba11otsection of her MVP

         page did not show that her ballot was received.




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   d. A lex and l were both very concerned because voting in this election

      was very important to her. So Alex checked MVP again on the

      Thursday after the Election and her absentee ballot status said that it

      was recdved on 11/05/2018 and that it was accepted.

   e. To see that her ballot counted was a reHefbut also caused us anxiety

      because the status of her ballot did not show up until after the election.

      We thought the ballot may not have arrived on time .

  f. Alex came home for Thanksgiving. She wanted to vote in the Run-off

      Election but was leaving right before Early Voting would start. In

      order to get an Absentee Ballot mailed to her at Wellesley as quickly

      as possible and to make sure the ballot request form arrived, we

      decided that I would deliver the form in person.

  g. She filled out the Absentee Ballot Request fonn and I went in person

      to deliver it to the DeKalb Board of Elections office on Memorial

      Drive on November 26.

  h. When Tarrived, I handed Alex's Absentee Ballot Request form to the

      woman working at the Elections office. She took the form, stamped

      the ballot request fonn using a type of stamping machine, and said it

      should be sent out that day.




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       1.   To this day, December 9, 2018, Alex has not received her absentee

            ballot at Wellesley College. Her MVP says it was issued 11/27/18 but

            she never received it and did not have time to request another one.

      J. For the general election, my daughter Alex was left wondering

            whether her absentee ballot had actually counted until two days after

            the e.lection. Then, Alex requested her ballot well-ahead of time    in

            order to vote in the Run-off election, but never received her ballot

      k. The absentee ballot process was imperfect at best for the General

            Election. For the runoff election, the absentee ballot process seems lo

            have prevented Aiex from exercising her right to vote altogether.

4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration, that 1 am not represented by      ~


   fa'wyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation .

6. .I declare under penalty of perjury that the foregoing is true and correct.
                                             f""

   Further affiant sayeth not, this the   J.j__day of December,   2018.




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           DECLARATIONUNDER PENALTYOF PERJURY
                      ·ptJRSUANT TO 28. US.C. § 1746

1. My name is Mary Alexandra Romero. I am over eighteen years of age and

   competentto testify to the uiatters contained herein.

2. I am a resident of Fulton County and my address is

   College Park, GA -

3. My individual circumstancesare the following:

      a. I voted with an Absentee Ballot because l'ni curtently working in

         New York. 1 requested an absentee.ballot Labor Day weekend, About

         mid- October,. I realized that friends of mine who were also voting;

         .absentee had received their ballots but I still hadn't received mine

         which left me confused. A friend of mine posted a number for a voter

         protectit>n.hotlinethat I called.sometime mid-October.

      b . .From my copversationwith thehotline,I found out th~t my absentee

         requesthad been rejected because I signed the ballot with aPDF e""

          signature instead of printing. it out and.manually. signing it I was
                                                                  ~




         never notified that my ballot was rejeoted.I only learned itw~s

          rejected after I called the Voter Protection.Hotline;

      c. It wasearly enough before    Election Day that I was able to request

          another ballot. After doing so, I received another Absent~e Ballot.

          When I received my.second absentee ballot- I looked over everything


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          and realized that it did not explicitly statethat an e-signaturewas not

         permissible. I was able to send in my second absentee ballot about a

         week and ahalfbefore Election Day.

      d. After the Election,   a friend ofmine posted that everyone ,should check

         thestatus oftheirvote. I proceeded to do soand online my status was

         listed as rejected. Again, I called the Voter Protection Hotline who

         connected me with the Board of Elections in Fulton County who

         relayed to me over the phone that my vote was counted in the system.

         I'm still unsure about whether my vote counted.

4. I give this Declaration freely, without coercion, and without any expectation

   ofcompensation or other reward.

5. I understand that in giving this Declaration , that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client orto serve in anyway

   as anything other than a witness irfthis litigation.

6. In accordance with 28 U,S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this the   ++
                                          I C.f½"1v ·
                                               day of November, 2018.




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             DECLARATIONUNDER PENALTY OF PERJURY
                           PURSUANT TO 28 U.S.C. § 1746
                                   AND/OR
  SWORNSTATEME TIN ACCORDA CE WITH GEORGIALAW

1. My name is Elizabeth Tallmadge. I      am over eighteen years of age and

   competent to testify to the matters contained herein.

2. I am a resident of Fulton County in Georgia and my residence address is

                           Atlanta GA

3. I have reviewed the list below and I believe that my situation most closely

   fits into the category that I have checked:

      a. __        I requested an absentee ballot but I never received it.

      b. __        I received an absentee ballot and r turned it but my ballot was

           rejected.

      c. __        I received an absentee balJot and returned it but my ballot was

           not accepted.

      d. __        I was not permitted to vote using a voting machine (a DRE)

           (circumstances below) and was not offered a provisional ballot even

           though I reside in the county in which the precinct was located where

           I tried to vote.

      e.   __      I was not permitted to vote using a voting machine (a DRE)

           (circumstances below) because I wa told I was not a resident of the




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              county in which I was attempting to vote despite the fact that I had

              changed my address in a timely manner.

         f. __       I was not permitted to vote using a voting machine (a DRE)

              (circumstances below). I asked for a provis ional ballot but was told

              that it was too early in the day for provisional ballots or that there

              were not enough provisional ballots or that no provisional ballots

              remained.

         g. __       I moved counties but did not change my regi tration address.

              When I attempted to vote in my new county, the poll workers told me

              to return to my old county in order to vote .

         h. __       There were long lines at my polling location and I saw people

              leaving without voting.
         .
         I.   __     There were long lines at my polling location and I had to leave

              without being able to cast my vote.

         j. __      There were problems with the voting machines at the precinct

              at which I voted or attempted to vote.

         k. _x _      Other - please explain - I applied for an absentee ballot and it

              was denied.

   4. My individual circumstances are the following:

My husband (Allin Tallmadge DOB                  and I applied for our absentee
ballot at end of August and never received them. We called the Voter Protection




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Hotline and discovered that the ballot request was denied because of a signature
issue. We were never notified and were unable to obtain new ballot because we
were out of country for an extended period of time. Ultimately, we were unable to
vote


   5. I give this Declaration and/or Affidavit freely, without coercion, and without

      any expectation of compensation or other reward.

   6. I understand that in giving this Declaration and/or Affidavit, that I am not

      represented by a lawyer. Nor has any lawyer asked me to be their client or to

      serve in anyway as anything other than a witness in this litigation.

   7. I declare under penalty of perjury that the foregoing is true and correct.

      Further affiant sayeth not, this the 1£clay   ofNovember, 2018.




                                                     ~~nP'-~
                                                     Signature                             ,.,JY'

      Sworn to and subscribed before me
      This the __ day of November, 2018.



      Notary Public




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                DECLARATIONU DER PE ALTY OF PERJURY
                      PURSUANT TO 28 U.S.C. § 1746

1. My name is Marjori Thuon. I am ov r eight · n year of ag and c mpet nl

     to te tif to th matter contained h r in.

2. l am a residenl         f Fayette County in Georgia and my re idcnce addr           s 1s

                            , Peachtree City, GA -

3.    or th 2018 G orgia General Eiecti n I received an incomplete ab entee

     ballot     hich di llowcd m from voling thi cycle.

        a. I attend ' Chool in Ma        achu elt    and th refore needed to vol

              ab ente this cycle. In fact, a October        et in , my moth r s nt me

              r gular r mind r to r quest my ab ent e ball t and make my voice

              h ard.

        b. J vi ited the Se r tary f Sta te' web it , printed out a form labeled

              'Application for Officja] Absentee Ballot/ fill d in th requir d

              boxes, and sent the ba11ot requ       t to the email addres Ii ted for

               ay tt Count        Electi n Offi

        c. Within a few h urs, I received           onfirmation that my applicati n had

              bee n received for proce sing and thought that was that.

        d. Then I wruted       f, r my ballot to arrive. When my abs nt e ballot did


              m        by mail, due to   aderni      bligation   in Iuding m.idtem1exam




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           lab work, and research papers, I had to wait until one week before

           Election Day to sit down with the ballot.

      e. When I opened the neatly sealed white envelope, instead of a long

           strip of folder paper, dotted with names of state and county

           candidates, I found only a single question , marked for my hometown

           of Peachtree City, regarding the Sunday ban on the sale of alcohol.

      f. I rechecked the envelope for the missing pages . Finding nothing, I

           compared my emailed application to my college-aged brother ' s, and

           they were exactly the same. Troubled , but not suspicious, I decided

           that the ballot must have been split into two parts.

      g. I mailed what I thought was the 'first' ballot on November 4, and

           waited patiently for a ' second ' ballot. A second ballot did not arrive.

      h. I try to vote in every election-to    not be a part of one so critical felt

           almost shameful.

      1.   l did what I needed to do, as a Georgia citizen, requesting an absentee

           ballot well-ahead of time.

      J• I received nothing close to a complete ballot. My right to vote was

           taken away from me.

4. I give this Declaration freely, without coercion , and without any expectation

   of compensation or other reward.




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5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the   K   day of November, 2018.




                                                  Marjorie Thuon




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           DECLARATJON UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746

I. My name is Yujue Wang. I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am registered to vote in Fulton County in Georgia and my registered

   address is                            , Johns Creek, GA -

3. For the 20 l 8 Georgia General Election, my absentee ballot was addressed

   incorrectly, whjch disallowed me from voting this cycle.

      a. I moved to the Bay Area from Georgia near the end of September ,

         unsure whether J wou]d stay in the Bay Area permanently , so I

         maintained my Georgia voter registration.

      b. I requested my absentee ballot on October 9, 2018 to ensure that I

         would be able to vote in the 2018 Georgia General Election .
                     .
      c. I requested my absentee ballot by mail and via email. In the past I

         have requested an absentee ballot and had issues receiving one so I

         wanted to make sure l also had an emailed copy for documentation

         purposes.

      d. Attached is a copy of my application to vote by mail that I submitted

         through email.

     e. I specified on my ballot that I needed to have the ba11otaddressed a

         specific way in order to reach me at my office at We Work. I included



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          the address and all the instructions , including that it needed to be

          addressed to the company with "C /O Rachel Wang " below .

       f. The absentee ballot was addressed incorrectly and simply used my

          legal name. When the ballot arrived, it was immediately returned to

          sender.

       g. When I called the Fulton County Elections Office no one picked up

          and I did not have time to continue to follow up.

       h. I wanted to vote. 1 did what I needed to do in order to vote, requesting

          my absentee ballot a month before Election Day. But Fulton County

          mismanaged my absentee bal1ot application, which kept me from

          voting.

4. 1 give this Declaration freely, without coercion, and without any expectation

   of compensation   ?r other reward.
5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not , this the 20   day of December , 2018.




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           DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746

1. My name is Stephanie Washington. I am over eighteen years of age and

   competent to testify to the matters contained herein.

2. I am a resident of Gwinnett County in Georgia and my residence address is

                      Snellville , GA -

3. For the 2018 Georgia Genera] Election, my son Ja]e'n had great difficultie s

   voting absentee.

      a. My son Jale'n Hodges is a student who is living out of the state. He

         sent in his absentee ballot request in September. He came home on

         Fall Break the second weekend in October and he filled out his ballot.

      b. J was very careful and checked to make sure he filled it out correctly,

         and then we mailed it off. On October 20th, we received a letter that

         said his ballot had been rejected due to issues with the oath.

      c. I called Gwinnett County the following Monday , 10/22, and the

         person told me that I could request a new ballot on bis behalf online.

         However , I was concerned that they would not send the ballot to

         Jale'n directly on campus so I called back.

      d. The second person told me that I could sign my name on the

         application but check the box that said I was requesting on behalf of




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        someone out of the state and fax it in. I not only faxed the application

        but also mailed it because I wanted to have a paper trail of the request.

   e. I checked in with my son frequently to make sure that he received the

        ballot.

   f. I called Gwinnett County at least five times between October 22nd

        and October 30th to make sure that they were giving me the correct

        information and that they would mail the ballot.

   g. I checked his address twice and checked on the status of the ballot

        twice.

   h. The County repeatedly told me my son's ballot would be mailed "in

        the next day or two" , but it was not mailed until I 0/30 -- a week after

        they received the application.

   i.   r called Gwinnett   County on Friday, 11/2, because my son had not

        received his ballot and was told that , as long as the ballot was

        postmarked by 11/6, it would be counted. The officials did not know

        why it took so long for his ballot to be mailed .

   j. Jale'n finally received his ballot on Monday , 11/5, the day before the

        election . I called Gwinnett County that day and, this time, I was told

        that the ballot must be received in the office by 7pm on Election Day

        to be certified.




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       k. I told the woman what another official had told me on Friday , that the

          ballot just needed to be postmarked by 11/6, and the woman said ,

          "I'm sorry m ' am you were given incorrect information ".

       I. This is not helpful when you are trying to do the right thing. I talked

          with Jale'n as he filled out the ballot again and mailed it back the

          same day .

       m. I was perturbed. This has happened before. Jale ' n was not able to vote

          in the 2016 Presidential Election. His absentee ballot was rejected

          twice because his signature did not match .

      n. I believe they target kids who are out of state because they are not

          here and cannot vote in person.

      o. Next year, my son will physically come home to Georgia to vote in

          person. What really bothers me the most is that , after they rejected

          Jale'n the first time, I wanted to speak with the head of Gwinnett

          Voter Registration about this and have never heard back.

      p. It should not be this hard to vote. My son was disenfranchised.

4. I give this Declaration freely , without coercion , and without any expectation

   of compensation or other reward.




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5. I understand that in giving this Declaration , that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the   il   day of December , 2018.




                                                ~y~




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           DECLARATION UNDER PENALTY OF PERJURY
                  PURSUANT TO 28 U.S.C. § 1746

1. My name i Rachel Shauna Chri tine EdJ r. I am over eighteen year          f age

   and competent to testify to the matt rs contained h rein.

2. I am a resident of eKalb ounty and my addr          1s

   Stone Mountain GA -

3. My individual circum tance are the fo11owing:

      a. I live in Washington D. . while I attend Howard ni er ity. My dad

         r que ted an ab entee ballot [i r me and   nt it to me with po tage. I

         r ceived the ballot in early October around the 5th. 1 ent jt in a few

         week later, probably around the 15th. I i ned the ballot   e   ery plac

         there was an "X".

      b. 1 wanted to ee if my ballot was recei ed so I looked on the ecretary

         of Stat   MVP (My Voter Page) web ite. I h eked there v ry day.

         My ballot wa rejected for ' In ufficient Oath [nformatjon.      don t

         even know what that mean .

     c. When I saw that it had been rejected I did not know     hat to do and

         after reaching out to people I wa sent the number for a hotlin to call

         if ther ar proble1ns with your ballot. he hotline gave me th

         number for the Board of Election . I called the Board of El ction

        early la t week Monday or Tue day, 11/5 or 11/6) and they a ked for


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          my name and number and said they would call me back. They did not

          call me back.

       d. I called again on the 12th or so and the Board of Elections said they

          could not make a decision until the judge rules on what she wants to

          do with absentee ballots. I asked the woman I spoke with to give me

          an estimated time of when she would call me back but she could not.

      e. They have not called me back. I have called many times and they

          transfer me but when the call is transferred it drops. I worked in

          customer service and know that you need to wait for the other person

          to pick up before the call is transferred, or else it drops. The Board of

          Elections takes my information down and does not do any follow-up

          with my case.

4. I give this Declaration , without coercion, and without any expectation of

   compensation or other reward.

5. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this the~\    day of November, 2018.




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                                          Rachel Shauna Christine Edler




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           DECLARATION UNDER PENALTY OF PERJURY
                 PURSUANT TO 28 U.S.C. § 1746

1. My name is Tammy Fortune-Co les. I am over eighteen years of age and

   competent to testify to the matter s contained herein .

2. I am a resident of Rockdale County in Georgia and my residence address is

                                 Conyers, GA -

3. For the 2018 Georgia General Election, J felt very anxious because the

   Secretary of State 's website took a very long time to reflect the fact that my

   absentee ballot reque st had been received.

      a. I requ ested an absentee ballot very early on in the proces s, and I sent

         it in at the end of September.

      b. After I sent my ballot it, I checked the Secretary of State' s My Voter

         Page repeated ly for updates on my bal lot status .

      c. Weeks went by, I still did not see an update.

      d. Only on October 26 did the Secretary of State 's .My Voter page

         display that my ballot was rece ived on October 5.

      e. I cannot believe that it took three entire weeks for my absent ee ballot

         stat us to display as having been recei ved.

      f. The severe delay in my absentee ballot status caused me anxiety, and I

         cannot think of any good excuse for it.




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4. I give this Declaration freely, without coercion , and without any expectation

   of compensation or other reward.

5. I understand that in giving this Declaration , that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the3j st day of December , 2018.




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                DECLARATION UNDER PENALTY OF PERJURY
                      PURSUANT TO 28 U.S.C. § 1746

    1. My name is ANNISHA JE'NAE FRIALL. I am over eighteen years of age

       and competent to testify to the matters contained herein.

   2. I am a resident of DEKALB County in Georgia and my residence address is

                                     STONE MOUNTAIN, G~

   3. I received an absentee ballot and returned it but my ballot was rejected .

   4. My individual circumstance is the following:

      I recejved my absentee ballot in late September and mailed it in on November
 l , 2018. When I found out about the MVP website from my friend, I checked it to
see if my ballot was accepted and it was not due to " insufficient oath information" .
I called the numbers I was able to find online. I called the Stone Mountain office
and they forwarded me to someone that handles the absentee ballots. I was told by
this person that "Once it's in , it's in. There is nothing you can do about it." I found
this out on Thursday after the election. I never received a call or email advising me
that the ballot was rejected. By then, it was too late to go to the polling place and
vote.

   5. I give this Declaration freely, without coercion, and without any expectation

      of c01npensation or other rewar d.

   6. I understand that in giving this Declaration, that I am not represented by a

      lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

      as anything other than a witness in this litigation.

   7. [ declare under pena lty of perjury that the foregoing is true and correct.




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 Further affiant sayeth not, this the ,2b   day ofNov: mbnl




                                                              J




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      DECLARATIONUNDERPENALTYOF PERJURY
            PURSUANTTO28U.S.C. § 1746
                    AND/OR
  SWORNSTATEMENTIN ACCORDANCEWITH GEORGIALAW

1. My name is Ora L. Gadson. I am over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am a resident of Dougherty County in Georgia and my residence address is

                        , Albany, GA-

3. 1 am90 years old and have been sick since January. I tried to vote by

    absentee ballot because I did not feel well enough to vote in person.

 4. I requested an absentee ballot on September 12, 2018. I did not receive my

    ballot until approximately one month later. I completed it and mailed it in.

 5. I understand that my absentee ballot was received October 29, 2018 and was

     rejected because of"insufficient oath information." I do not recall being

     made aware that it :Vasrejected and would not count.

  6. I give this Declaration and/or Affidavit freely, without coercion, and without

      any expectation of compensation or other reward.

   7. I understand that in giving this Declaration and/or Affidavit, that I am not

      represented by a lawyer.Nor has any lawyer asked me to be their client or to

      serve in anyway as anythingother than a witness in this litigation.

   8. I declare under penalty of perjury that the foregoing is true and correct.




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Further affiant sayeth not, this the   a   day of November, 2018.



                                                tl-./2,,/k   ~ ff~
                                               Signature

Sworn to anJj subscribed before me
This the~     day ofNovember, 2018.




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         DECLARAT[ON UNDER PENALTY OF PER.TORY
                PURSUANT TO 28 U.S.C. § 1746
                        AND/OR
    \VORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. tv[y n   1    i Olivia Haa . I am over i0 hteen years of ge and competent to

   testify to the matters contained herein.

2. I am a r id nt of DeKalb County in G org ia and my r sid nc addr s is

                                   Atlan ta,   A-       . 1 am temporarily living in

   Brooklyn,        w York .

. I hav r viewed the list below and I believe that my ituation mo t closely

   fit into th ca t 0 ory that I hav ch eked:

      a. __         I reque ted an ab entee ballot but I never r ceived it.

      b. _x __       I rec ived an absent       ballot and r tum d it but my ballot was

            rejected .

      c. __         Ir c iv d an abs nt        ball t and r turn d it but my ballot wa

            not accepted.

      d. __         I was not p rmitted to vot using a voting machin (a DRE)

            (circumstance below) and wa not offered a provi ional ballot even

            though Ir    ide in the county in which the pr cinct was located wh r

            I tried to vote.

      e. __        I wa not p rmitted to vot using a voting machin (a DRE)

            (circumstance      be low) becau e I wa told I wa not a re ident of the


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            county in which I was attempting to vote despite the fact that I had

            changed my addres in a timely manner.

       f.   __     r wa   not permitted to vote using a voting machine (a DR )

            (circum ·tances below).   r asked for a provisional   ballot but was told

            that it was too early in the day for provisional ballots or that there

            were not enoug h provisional ballots or that no provisional ballots

            remained.

      o. __        I moved counties but did not change my registration address.

            When I attempted to vote in my new county, the poll workers told me

            to return to my old county in order to vote.

      h. __        There w re long lines at my polling location and I saw people

            leaving without voting.

      i. __        There were long lines at my polling location and I had to leave

            without being able to cast my vote.

      J· __        There were problet s with the voting machines at the precinct

            at which I voted or attempted to vote.

      k. __        Other - please explain - _________                  ____       _



4. My individual circumstances are the following:




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       I recently graduated from Converse College with a degree in Politics

and Spanish. Voting is very important to me, and I believe in the

importance of voting in local elections and making my voice heard. I have

voted twice in the past via absentee ballot, and I have never had any problem

with doing so, at least to my knowledge. For the 20 l 8 election, however, [

had seve ral problems, and my ballot ending up being rejected.

       I first requested an absentee ballot on September 26, 2018, but I never

received it. J called to follow up on that request towards the middle to end

of October. The records reflect that I requested the second ballot on October

18, 20 18. I did receive that ballot, and r returned it. Records show that the

ballot was received on November 3, 2018. [ never received any other

documentation or co1Tespondence about my ballot.

      The day after the election, November 7, 2018, [ dec ide to check on the

status of my vote. That is when I learned for the first time that my ballot had

been rejected. I called the DeKalb County Chief Registrar' s Office to find

out why my vote had been rejected, and they told me that there was some

sort of issue with my oath. They told me that they would submit a service

request to the absentee ballot office, who would then called me. They did

not provide me with a tracki.ng number for my complaint, and they were




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   unable to provide any sort of estimate on when [ would hear back about my

   ballot.

             On November 8, 2018, I filed a complaint with th    ecretary of

   State' office via a form online. I have not heard anything in response to

   this complaint eith r.

~- [ give this Declaration and/or    ffidavit freely, without coercion, and without

   any expectation of compensation or other reward.

6. I under tand that in giving this Declaration and/or Affidavit, that I am not

   repre ented by a lawyer. Nor ha any lawyer a ked me to be their client or to

   s rve in anyway as anything oth r than a witness in thi litigation.

7. l declare under penalty of pe1jury that the foregoing is true and correct.

   Futiher affiant sayeth not, this the 13th day of November, 2018.




   Sworn to and subscribed before me
   Thi the 13th day of November, 2018 .



                                      .' r '




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        DECLARATION UNDER PENALTY OF PERJ URY
               PURSUANT TO 28 U.S.C. § 1746
                        AND/OR
   SWORN STATEMENT IN ACCORDANCE WTTH GEORGIA LAW

1. My name is Jord an L. Hargrave . I am over eight een yea rs of age and

   competen t lo testify to the matters containe d herein.

2. J am a res ident of Gw innett Coun ty in Geo rgia an d my residence addr ess is

                        Li lbum, GA -

3. I am c urrcncly out -ot:.state and reques ted an absen tee ball ot to vote in the

   November 6, 2018 e lection. I requested an absentee ballot at the end of

   Octobe r and received it on Nove mb er 2, 2018. On November 3, 2018 my

   dad visited me and too k my comp leted abse ntee ba llot, which he ma iled

   from Lilburn, Georg ia on Nove mb er 4, 2018 via Un ited Sta tes Po stal

     ervice to Law renceville , Geor gia. On Nove mbe r 9, 20 18, I learned that my

   ballot was rejec ted beca use it was miss ing my date of birth . I believed that

   my ballot was comp lete and my vote should count.

4. I give this Declaration and/ or Affi dav it freely , without coercion , and without

   any expectation of compensat ion or other reward.

5. I understand that in giving thi s Declaration and/or Affidav it. that I am not

   represented by a lawyer. Nor has any lawy er asked me to be their client or

   to serve in anyway as anything other than a witne ss in this litigation .

6. l declar e under penalty of peijury that th e foregoing is true and cor rect.




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  Further affiant sayeth not , this the   JL   day of November , 2018.




  Sworn to and subscribed before me
  This the~    day ofNovember 2018.




  Notary Publi.E




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 State of Ge orgia           ,
 County of ~ tL,)1    ~'V-       -t   +
                       '
Signed or attested before m:e on               f I-      I 2. ~ 2   J   ('((

                                               (Date)
by        ~~~u.11'--                  H.c>J-'_5-tt::ov-R., • who proved to me on the
  (Print~d Name[s] of Individual[s] Signing:Document)
basis of satisfactory evidence to be the person( s) who appeared before me .

__ Personally Known ·or
..z:S...,_ProducedIdentification ·                                             \
Type ofID      <s =i Q l't v ..J-,/ <:      l- t <...,Jl...v{~

                                                      (Signature of Notary)
                                            (Name _ofNotaryTyped, Stamped or Pri~ted)
                                                      Notary Public, State of Georgia
                                             My commission expires : ~-2. - { 2 •'J-~")..1

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            DECLARATI ON UNDER PENALTY OF PERJURY
                  PURSUANT TO 28 U.S.C. § 1746


1. My name is Sharonda Longino. I am over eighteen years of age and

   competent to testify to the matters contained herein.

2. l am a resident of Fulton County in Georgia, but am currently living in

   California to work. My California address is

   -     Valencia , CA 91381.

3. My individual circum stances are the following:

       a. I'm a traveling nurse who is currently working in California, but l 'm
          registered to vote in Georgia . I requested an absentee ba] lot
          using vole.o rg on 10/27/18.
       b. I received by absentee ballo~ on Nov 2 . I already knew the candidates
          I was voting for so I immediately fi1led it out and went to USPS to
          send the absentee by Priority Mail. When I went to USPS, I received a
          confirmation that my enve lope would arrive on Nov 5th and a
          tracking number. I purposely chose to have the envelope arrive early
          to ensure it would be received by closing on Nov 6.
       c. On Nov 5, I checked my tracking number and the status stated that my
          ballot envelope had been received and signed for, but I did not see this
          status reflected in My Voter Page on the Secretary of State's Website.
       d. I called Fulton County Board of Elections and a representative cou ld
          not confirm whether or not my ballot had been received. The
          representative told me that the Board of Elections was working on
          processing ballots from Friday, Nov 2nd. and that the remaining after
          Nov 2nd would be processed on Tuesday by 5 pm.
       e. On Election Day , I called back again but I could not reach the Board
          of Elections office to find out the status of my ballot. I also tried
          checking the status of my ballot online , but the status was still not
          updated which concerned me since it was already Election Day and I
          wanted to make sure that my vote counted. I wasn't able to reach the
          office on election day and even checked My Voter page a few days
          after and the status was not updated so I was still unsure of my vote.


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       f. The status as of today, 11/17/ 18, is "Accepted" and it says Received
          on 11/6/18 even though my tracking number says it was received and
          signed for on 11/5/18.
4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

S. I understand that in giving this Declaration, that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that

   the foregoing is true and correct.

   Further affiant sayeth not, this the J.1 day of January, 2019.




                                                    Signature

                                            sh,rondalongino @gmail.com

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      DECLARATIONUNDER PENALTYOF PERJURY
             PURSUANT TO 28 U.S.C. § 1746
                     AND/OR
  SWORN STATEMENTIN ACCORDANCEWITH GEORGIALAW

1. My name is Isaac Mason . I am over eighteen years of age and competent to

   testify to the matters contained herein.

2. I am a resident of DeKalb County in Georgia and my residence address is

                     Stone Mountain.

3. I voted by absentee ballot in the last two presidential elections and I am

   therefore familiar with how the process works. I was anxious to be able to

   vote in the midterm election but I am currently working out of town in

   Texas. I therefore requested an absentee ballot in ample time.

4. I received and executed my absentee ballot and returned it to DeKalb

   County, believing that I had done everything required in order to have my

   vote count.

5. On November 5, 2018 -the day before the election and while I was out of

   town in Texas - I received a communication from DeKalb County saying

   my ballot had been rejected because the oath of the elector was incomplete. I

   immediately sent a fax to the Manager of Absentee Ballots in DeKalb

   requesting a copy of the oath and an explanation of what was wrong with my

   submission. I could not get any information on how to cure the deficiency.




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6. I am seriously frustrated at the apparent fact that my ballot has not been

   counted. As I said above, I have previously voted by absentee ballot without

   any problem . I have a college education and fully understand the

   requirements and instructions for completing an absentee ballot. If I made a

   mistake, I accept the consequences but, based on my prior experience, I

   seriously doubt that I am at fault.

7. I give this Declaration and/or Affidavit freely, without coercion, and without

   any expectation of compensation or other reward.

8. I understand that in giving this Declaration and/or Affidavit, that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

9. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the 13+1-day ofNovember,    2018.




                                                 ~~
                                                  Isaac Mason

   Sworn to and subscribed before me
   This the 1..1_day ofNovember , 2018.




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                                                                   ---              BOARD fEl\mERs
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                                                                                            BAOIC\' N. VU




-- -1.
IssacMason


-
Ennis,TX-




  X      The Oathof Electorwas incom lete.

         The signature on the back does not a   car to be valid_

         Therewas no markof Electoralthou         ersonassistingsi ed theballot.

         Your ballot must be in this office b   7 m Election Da    to be counted.

YOU CAN REQUEST      ANOTHER
                           BALLOT,EARLYVOTEORCHOSETOVOTEATYOUR
PRECINCTON
         ~!r:ri                     !?   Co     pt f'i.£~
Thank you for your cooperation_       -----

Sincerely,
ABSENTEE DEPARTMENT




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            DECLARATION UNDER PENALTY OF PERJURY
                   PURSUANT TO 28 U.S.C. § 1746


1. My name is Tracy Matthews. I am over eighteen years of age and competent

   to testify to the matters contained herein.

2. I am a resident of DeKalb County in Georgia and my residence address is

                      Stone Mountain, Georgia -

3. My individual circumstances are the following:

I voted by absentee ballot in the election. I completed my ballot and signed the

outside enve lope with my name, Tracy Matthews. After the election, I saw a

post on Face book that included a number to call to see if your absentee ballot

was rejected. I called and learned that my ballot had been rejected. l went to the

DeKalb County voter registration office to straighten it out. The woman 1 spoke

with said that my ba.llot had been rejected for insufficient oath. She had my

abse ntee ballot and envelope in her hand. She said that once a ballot hits the

registration office there is nothing that can be done to fix it. I then called the

voter protection hotlin e. The man I spoke with told me to go back to the voter

registration office. I called the voter registration office and was told the same

thing again: that my ballot was rejected for insufficient oath and that once a

ballot hits the registration office nothing can be changed. T did not get to vote.




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4. I give this Declaration freely, without coercion, and without any expectation

   of compensation or other reward.

5. I under stand that in giving this Declaration , that 1 am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

   as anything other than a witness in this litigation.

6. In accordance with 28 U.S.C. § 1746, I declare under penalty of pe1jury that

   the foregoing is true and correct.

   Fu1ther affiant sayeth not, this the   t9.Jday ofNovember,    2018.




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       DECLARATION UNDER PENALTY OF PERJURY
              PURSUANT TO 28 U.S.C. § 1746
                       AND/OR
  SWORN STATEMENT IN ACCORDANCE WITH GEORGIA LAW

1. My name is Bulinda Moore. I am over eigh teen ye ars of age and com peten t

   to testify lo the matte rs contained herein.

2. I am a resident of Dougherty County in Georgia and my residenc e address is

                                AJbany, Georgi ~

3. My individual circumstances are the follow ing: I reque sted, received , and

   returned an absentee ballot to Doughert y County . When I ca lled to determine

   whether my ballo t had been received an d counted, I was told that it was

   received on November 2, 2018 but not counted hecause l did not s ign the oath

   on the back of lhe ballot. No one al Dougherty County contacted me to advise

   of the cla imed deficiency, even though my ma iling address, te lephone

   number , and electron ic mail address were all indicated on the absentee ballot.

   I bad several conversations with the Dougherty County Pollin g Office, in an

   effort to cure the claimed deficiency with my ballot but was told repeatedly

   that the de ficie nc y cou ld not be cured. I know Treviewed my ballot thoroughl y

   before returning it; I work as a proofreader.   I am saddened by this proce ss, as

   I am 62 ye ars of age and have voted since 1 was 18 years of age. 1 would like

  my ballot to be counted.




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4. I give this Declaration and/or Affidavit freely , without coercion, and without

   any expectation of compensation or other reward.

5. I understand that in giving this Declaration and/or Affidavit , that I am not

   represented by a lawyer. Nor has any lawyer asked me to be their client or to

   serve in anyway as anything other than a witness in this litigation.

6. I declare under penalty of perjury that the foregoing is true and correct.

   Further affiant sayeth not, this the __   day of November , 2018.



                                                   i3i,i ///Ca,e__.
                                                      .7
                                                  Bulmda Moore

   Sworn to and subscribed before me
   This the -12_day of November, 2018.



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            DECLARATION UNDER PENALTY OF PERJURY
                  PURSUANT TO 28 U.S.C. § 1746


1. My name is Sallie M. Warren. I am over eighteen years of age and

   competent to testify to the matters contained herein.

2. I am a resident of Fulton County in Georgia, and my residence address is

                                             Atlanta, GA 30331.

3. I am a registered voter in Georgia.

4. I am 91 years old. On or about October 21, 2018 , I requested an absentee

   ballot to vote in the November 6, 2018 election.

5. I received the absentee ballot on or about October 24, 2018, completed the

   ballot and mailed it back on Friday, October 26, 2018.

6. On November 8, 2018, I received a form letter in the mail informing me that

   I did not sign the oath on the back of the absentee ballot envelope and ,

   therefore, my vote was not counted. I mailed my ballot in two weeks before

   the election but, two days after the election , there was nothing I could do to

   correct this error.

7. When I checked the Secretary of State's "My Voter Page" website, no date

   was entered telling me when my ballot had been received and processed for

   1ne to know how much time the elections office had had to process the error

   and send me this notice. In fact, as of November 21, 20 I 8, the website still




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   shows my absentee ballot has having not been received, gives no status, and

   no reason for it being rejected.

8. Strangely, the My Voter Page also shows that, on October 21, 201 8, I

   requested an absentee ballot for the December 4, 2018 election. I did not

   request a ballot on October 21, 2018 for the then-unknown run-off election

   on December 4, 2018.

9. My Voter Page also shows that I requested an absentee ballot on October 21,

   2018 , for a federal run-off election on January 8, 2019. On October 21,

   2018 , I did not request an absentee ballot for this election either.

10. I do not understand how the Secretary of State can predict that I will want

   an absentee ballot for two future elections but not count the ballot I actually

   requested, completed, and submitted for the November 6, 2018 election.

11. My Voter Page should be corrected to accurately reflect my requests and the

   status of my absentee ballot for the November 6, 2018 election . I may

   request absentee ballots for the other elections, but have not done so yet.

12. I give this Declaration freely, without coercion , and without any expectation

   of compensation or other reward.

13.I understand that in giving this Declaration , that I am not represented by a

   lawyer. Nor has any lawyer asked me to be their client or to serve in any

   way as anything other than a witness in this litigation .




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    14.In accordance with 28 U.S.C . § 1746, I declare under penalty of perjury that

       the foregoing is true and correct.

      Further affiant sayeth not, this the # tZt/.
                                               day of November 2018 .



                                                     J~~
                                                    Signature


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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                              )
 DONNA CURLING, et al.                        )
                                              )
 Plaintiff,                                   )
                                              )   CIVIL ACTION FILE NO.: 1:17-cv-
 vs.                                          )   2989-AT
                                              )
 BRIAN P. KEMP, et al.                        )
                                              )
 Defendant.                                   )
                                              )
__ _ ____ _ _____                      __     )

                  DECLARATION OF JEANNE DUFORT

         JEANNE DUFORT hereby declares under penalty of perjury,

pursuant to 28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration, and if

   called to testify, I could and would testify competently thereto.

2. I am a registered voter in Morgan County and voted on a DRE machine

   in the special SPLOST election on March 19, 2019 and in the November

   8, 2016 election.

3. I try to vote by mail ballots when I can because of the untrustworthy

   nature of the DRE machines. However, there are times that I need to vote

   in person, which means voting on a DRE.

4. I recently learned that the secrecy of the DRE electronic ballots is

   violated, according to documents filed by the Secretary of State in this

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   case, as he stated that Morgan County should not disclose individual

   ballot records because it would "destroy the secrecy of the ballot." [Doc.

   369 p. 23].

5. Upon learning of this disturbing statement by the Secretary of State from

   Coaliton for Good Governance, of which I am a member, I decided to

   explore this further in my home county, Morgan County.

6. On May 9, 2019, I emailed a public records request with the Morgan

   County Elections Office seeking copies of the ballot image record (also

   called "cast vote record") of my votes in the 2019 SPLOST election and

   the November 2016 election. For reference to what a ballot image record

   is, I have attached as Exhibit A copies of example of ballot image records

   obtained from Fulton County.

7. On May 13, 2019, I received a letter from Christian G. Henry, an

   attorney representing Morgan County, a true and correct copy of which is

   attached hereto as Exhibit B. In the letter, Mr. Henry states that the

   records sought are not in existence and, even if they were, "those

   documents would be exempt from disclosure pursuant to Ga. Const. Art.

   II, Sec. I, Par. I, which provides that all elections 'shall be by secret

   ballot."'




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8. I believe that at least the March 2019 SPLOST ballot image record exists

   because state law requires that election officials retain a the record of

   each ballot cast for a minimum of 24 months. (O.C.G.A. § 21-2-73) In

   addition, my understanding is that the ballot image records are

   automatically generated and stored on the County's GEMS server, the

   internal memory of the machines, and on the DRE memory cards.

9. If these ballot image records cannot be disclosed because they "would be

   exempt from disclosure pursuant to Ga. Const. Art. II, Sec.I, Par. I, which

   provides that all elections 'shall be by secret ballot,"' as Mr. Henry states

   in his email letter, it appears that Morgan County maintains that the DRE

   electronic ballots are not anonymous and can be traced back to the voter.

   If the ballot image records reflect anonymous ballots, they could be

   disclosed to anyone without concern of secret ballot or privacy

   violations.

10. I was concerned about the Secretary's and Morgan County attorney's

   assertions related to ballot secrecy, so I attended the Morgan County

   Board of Elections and Registration on May 30, 2019 to try to learn

   more. During the last portion of the meeting, the issue of Morgan

   County's response to the subpoena was discussed.




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11.1 recorded this portion of the meeting on my mobile phone, and obtained

   a transcript from Bea Brown, Coalition for Good Governance intern. The

   transcript is attached at Exhibit C. It is a accurate record of my video

   recording and the discussions that took place at the meeting.

12.Jennifer Doran, Election Supervisor, spoke on the topic of whether the

   County would comply with the subpoena issued by Coalition for Good

   Governance, or whether they would object to some or all of the requests.

   She stated, "We will object to that for the exact same reasons. And then

   the Cast Vote Records which are also requested, under the Georgia

   Constitution the ballots are secret ballots so I can't pull Mike's ballot or

   my ballot. They're asking for the first five ballots. Cast Vote Records are

  protected and we can't tum over someone's specific ballots." [Exhibit C]

13. I asked additional questions to be seek elaborations on Ms. Doran's

   comments. My understanding leaving the meeting is that Morgan County

   can connect the voter with his or her ballot votes, as they the County

  Attorney had previously indicated in denying the Open Record Act

  Request access to ballot image reports.




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14.The fact that Morgan County election officials maintain such private

  electronic information is disturbing to me, and I believe that it would be

  disturbing to most voters. I am angry and concerned that my electronic

  ballots cast in the past and in the future can be accessed by election

  officials and even hackers who can obtain, sell, and abuse such personal

  information. Even if current Morgan County officials would not abuse

  voters' trust by accessing ballot image records to determine how voters

  voted, electronic information is vulnerable to unauthorized access and

  abuse as is demonstrated repeatedly by malicious intrusions of databases

  of commercial and governmental records.

15.In my opinion, other Morgan County voters and I should not need to

  evaluate whether the County can actually identify our electronic ballot

  choices, and whether such private information is recorded and kept

  reliably secure from all potential abuses by insiders or hackers. Their

   statements suggesting that they possess such records itself has a

  discouraging impact on voters who value their privacy.

16. The statements made by the Morgan County attorney, Ms. Doran and the

   Secretary of State have a chilling effect on my ability to vote freely

  without any concern that my ballot choices will be known in my small

  community. I never want to be called on by anyone to explain my vote.



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17.I value the absolute privacy of my ballot and should have the freedom to

  vote with the understanding that the machines do not record electronic

  data that can connect the ballot to me personally.

18.Morgan County and especially the city of Madison, where my office is

   located, is a small close-knit community. I am in the residential real

   estate business, and have clients of widely varying political views. I

  personally know almost all the local civic leaders and candidates for

   office, and do business with some of them. While my general political

  views are no secret, I need to be able to keep my final political choices

  absolutely secret for races and ballot questions.

19.I am hesitant to vote on DRE machines in the future given that I cannot

  be assured of the secrecy of my vote, and that I cannot freely vote my

  preferred choices without concern for unauthorized recording and

  disclosure of my votes, whether that knowledge is gained by election

   officials or by hackers.

 Executed on this date, June fl, 2019.

                                              z____)              .   j

                                              Jeanne Dufort




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Precinct 980: 08H (Machine Id: 1)
Ballot Id: 3   Ballot SN: 916113    Voter SN: --

40 - ATLANTA MAYOR
Vote For 1
   [X] MARY NORWOOD
50 - ATLANTA CITY COUNCIL PRESIDENT
Vote For 1
   [X] ALEX WAN
210 - ATLANTA BOE D7 AT LARGE
Vote For 1
   [X] KANDIS W. JACKSON
980 - STATE SENATE 39 SPECIAL
Vote For 1
   UNDERVOTE

990 - FULTON CO COMM CHAIRPERSON AT LARGE SPEC
Vote For 1
   [X] ROBB PITTS (D)
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Precinct 980: 08H (Machine Id: 1)
Ballot Id: 3   Ballot SN: 161301    Voter SN: --

40 - ATLANTA MAYOR
Vote For 1
   [X] MARY NORWOOD
50 - ATLANTA CITY COUNCIL PRESIDENT
Vote For 1
   [X] ALEX WAN
210 - ATLANTA BOE D7 AT LARGE
Vote For 1
   [X] KANDIS W. JACKSON
980 - STATE SENATE 39 SPECIAL
Vote For 1
   [X] LINDA PRITCHETT (D)

990 - FULTON CO COMM CHAIRPERSON AT LARGE SPEC
Vote For 1
   [X] ROBB PITTS (D)
              Case 1:17-cv-02989-AT Document 413 Filed 06/19/19 Page 206 of 311
Precinct 980: 08H (Machine Id: 1)
Ballot Id: 3   Ballot SN: 238306    Voter SN: --

40 - ATLANTA MAYOR
Vote For 1
   [X] MARY NORWOOD
50 - ATLANTA CITY COUNCIL PRESIDENT
Vote For 1
   [X] ALEX WAN
210 - ATLANTA BOE D7 AT LARGE
Vote For 1
   [X] KANDIS W. JACKSON
980 - STATE SENATE 39 SPECIAL
Vote For 1
   [X] LINDA PRITCHETT (D)

990 - FULTON CO COMM CHAIRPERSON AT LARGE SPEC
Vote For 1
   [X] KEISHA S. WAITES (D)
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                                                              Christian Henry              440 College Avenue North, Suite 120
                                                                (706) 316-0231             Athens, GA 30601-2773
                                                     chenry@hallboothsmith.com             www.hallboothsmith.com



                                                                             May 13, 2019


               Via e-mail (jeanne@horseandhome.com) only

               Jeanne Dufort
               1360 Apalachee Road
               Madison, GA 30650


                          Re:        Open Records Request – May 9, 2019
                                     Morgan County Board of Elections and Registration


               Dear Ms. Dufort:

                        Please allow this letter to respond to your open records request e-mailed to Jennifer Doran,
               Elections Supervisor with the Morgan County Board of Elections and Registration on Thursday,
               May 9, 2019. In your request, you seek your “ballot image report (also called cast vote record) for
               [your] personal votes in the following elections: 2019 T-Splost. . . [and] 2016 November
               Presidential.” As Ms. Doran explained to you, the records you seek are not in existence, and the
               Board is not required under the Open Records Act to create documents. O.C.G.A. § 50-18-71(j).
               Moreover, even if the documents you request were in existence, or could be created using data in
               existence, those documents would be exempt from disclosure pursuant to Ga. Const. Art. II, Sec.
               I, Par. I, which provides that all elections “shall be by secret ballot.”

                                                                                  Very Truly Yours,




                                                                                  Christian G. Henry
               CGH/cjb

               cc:        Jennifer Doran
                          Leslie Brandt




ATHENS | ALBANY |ASHEVILLE |ATLANTA |BIRMINGHAM |BRUNSWICK |CHARLESTON |CHARLOTTE |COLUMBUS |JACKSONVILLE |MEMPHIS|NASHVILLE |PALM BEACH |TALLAHASSEE |TIFTON
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Morgan county Board of Elections meeting 5/30/19


    JEANNE DUFORT: So we're back in open session now.


    JENNIFER DORAN: One of the things that Jeanne Dufort actually
brought up in the meeting was hiring our own investigators. I
contacted the state regarding that. Their position is, it is not
ours to hire someone to investigate or do an analysis.


    JEANNE DUFORT: The state is who?


    JENNIFER DORAN: The Secretary of State.


    JEANNE DUFORT: By way of Chris Harvey or actual Secretary
State Raffensperger?


    JENNIFER DORAN: Their attorneys. I'm sure you know most of
the subpoena. There are a lot of documents that are open to public
disclosure which this office is prepared to turn over some of the
GEMs database we will be be objecting to because that is protected
under law, under court order. Georgia Court of Appeals.


    HELEN BUTLER: Smith versus Dekalb.


    JENNIFER DORAN: Smith versus Dekalb. And that's what we are
citing. And with the same objection to the DRE memory cards. We
will object to that for the exact same reasons. And then the Cast
Vote Records which are also requested, under the Georgia
Constitution the ballots are secret ballots so I can't pull Mike’s
ballot or my ballot. They're asking for the first five ballots.
Cast Vote Records are protected and we can’t turn over someone’s
specific ballots.
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    JEANNE DUFORT: So if I understand correctly that pulling
those five and turning it over would reveal or have the potential
to reveal somebody associated with that.


    JENNIFER DORAN: Correct. And as much as we want to make sure
everybody is able to vote. We also want to maintain the secrecy.


    JEANNE DUFORT: Absolutely.


    JENNIFER DORAN: Nobody's going to vote if they know their
vote is not protected.


    JEANNE DUFORT: So you could look at that and tell that if you
were to look?


    JENNIFER DORAN: I have been told that they are not in time-
order. I have never pulled those because that is not a report that
we pull. I've been told by the Secretary of State that it's sort
of randomized. I know there is a serial number attached to each
one but that serial number is not attached to a specific voter.


    JEANNE DUFORT: So that confuses me. If revealing it could
reveal personal voter information—that's one thing right. But if
personal vote, if a voter isn't connected to it then that's a
different thing. So, I'm just trying to understand which it is.


    HELEN BUTLER: We are just, from a board perspective, we are
bound by the judicial decision of Smith versus Dekalb with regards
to the server and any of the things that's associated with the
server.


    JEANNE DUFORT: So the cast vote record would be associated
with the server.


    HELEN BUTLER: Correct
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    JENNIFER DORAN: I know that one of the things that has been
suggested, and even in the Supreme Court case that's pending right
now, is that they do hire experts with an NDA, but that is not
under our purview to do. That would have to be through court order
or through the state. But I think the board feels also that that
is not something that we are able to do.


    MICHAEL: Does anybody from the board have any questions? All
right. If there's no further discussion, we'll get a motion to
adjourn the meeting. The meeting is adjourned, thank you very much
for coming. If you have any further questions


    JEANNE DUFORT: Aren't you supposed to state for the public
record what your affidavit for why the executive session.


    JENNIFER DORAN: Yes


    JEANNE DUFORT: So could you read that for us please?


    JENNIFER DORAN: Consult and meet with—and we spoke to him
over the phone, so he was present—pertaining to pending or
potential litigation settlement claims, administrative
proceedings, or other judicial actions.


    JEANNE DUFORT: And what was the basis for the potential, the
fear of litigation, what was the basis for that?


    JENNIFER DORAN: Because depending on how the board responds
to the subpoena there could be potential litigation regarding
this.


    UNKNOWN: I am kind of new to this I don't understand all the
procedures. You said there were two reasons that you were doing
this and that you were not going to respond the subpoena or not
going to provide what was asked. One was that it was in litigation
right now. Is that right?
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     JENNIFER DORAN: Right. I know that one of the comments made
during the hearing for the Supreme Court was hiring a computer
expert, signing a nondisclosure agreement. But that is not
something that we can locally decide on. If a court order is
issued saying that we need to do that, obviously we would comply
with that.


     MICHAEL: If you guys have any further questions for Jennifer
feel free to email her or call her.


     UNKNOWN: The court case you're quoting is Smith versus
Dekalkb was it?


     JENNIFER DORAN: Smith versus Dekalb with the Georgia Court of
Appeals.


Transcription review by Bea Brown, with identification of
individuals by Jeanne Dufort
Transcribed from Facebook video
https://www.facebook.com/MOCOGADEMS/videos/86828522353736
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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                          )   2989-AT
                                             )
BRIAN P. KEMP, et al.                        )
                                             )
Defendant.                                   )
                                             )
                                             )

               DECLARATION OF RHONDA J. MARTIN

      RHONDA J. MARTIN declares, under penalty of perjury, pursuant to

28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration, and if

   called to testify, I could and would testify competently thereto.

2. I am Executive Secretary of the Qatar Computing Research Institute

   Scientific Advisory Commitee and a member of the Coalition for Good

   Governance.

3. I reviewed the minutes and summaries of board meetings occurring after

   September 17, 2018 available on the websites of the Georgia State Board

   of Elections and the Fulton County Board of Elections and Registration.

   The two websites in which I located the minutes were
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   http://www.fultoncountyga.gov/rae-board-of-registration-and-elections/rae-approved-

   meeting-minutes and http://sos.ga.gov/index.php/elections/state_election_board .

4. I read the minutes and summaries of the board meetings to locate meeting

   discussions of any of the following topics:

             a. election security of the DRE voting system;

             b. this Court’s September 17, 2018 order;

             c. the feasibility of converting to a hand marked paper ballot

                 system;

             d. methods of post-election auditing or plans to discuss post-

                 election auditing;

             e. security and reliability issues concerning the DRE voting

                 system.

      5. The review of the documents revealed no discussions of these

          topics by the State Election Board. All discussions by the Fulton

          County Board of Registration and Elections regarding voting

          systems were focused on tracking HB 316 and planning for the

          change over to the whatever system the State ultimately decides to

          provide to the counties. More specifically, there was no discussion

          of security, reliability, or post-election audits. Further, there was no

          recorded discussion of a possible transition to an interim secure
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       hand marked paper ballot system prior to the adoption of a new

       HB316-mandated system.



Executed on this date, May 20, 2019.




                                         Rhonda J. Martin
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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                              )
 DONNA CURLING, et al.                        )
                                              )
 Plaintiff,                                   )
                                              ) CIVIL ACTION FILE NO.:
 vs.                                          ) 1:17-cv-2989-AT
                                              )
 BRAD RAFFENSPERGER, et al.                   )
                                              )
 Defendant.                                   )
                                              )
                                              )

       SUPPLEMENTAL DECLARATION OF AMBER F. McREYNOLDS


        AMBER F. McREYNOLDS declares, under penalty of perjury, pursuant to
28 U.S.C. § 1746, that the following is true and correct:

   1. This declaration supplements my previous declaration of August 20, 2018

        [Doc. 277 p. 93-124].

   2. The opinions expressed at the time of the previous declaration continue to

        represent my opinions on the urgent necessity and feasibility of conducting

        Georgia elections on an auditable and verifiable paper ballot voting system,

        and other improvements, such as electronic pollbook corrections that must

        be made to conduct fair elections in Georgia.

   3. It is my understanding that Georgia has conducted regional, district or local

        special elections on DREs in every month since the November 2018 mid-
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   terms, and plans to use DREs to conduct hundreds more municipal and

   special elections during 2019. [Doc. 362 p.9]

4. It is my understanding that the State currently plans to undertake a statewide

   conversion of the DRE voting system prior March 31, 2020 to an electronic

   touchscreen Ballot Marking Device system. It is my understanding that the

   system conversion will include the installation of a new election

   management system in each county, installation of 7,750 new electronic

   pollbooks and related software in every polling place, along with 30,000+

   touchscreen ballot marking devices, 3,500 polling place scanners, central

   count scanners in each county for mail ballot processing, and an election

   night reporting system. [Doc. 357-5 p.7]

5. To the best of my knowledge, such a voting system conversion would be the

   largest and most complex voting system conversion ever attempted in the

   nation in such a short time frame. Based on my experience in managing

   voting system implementations, a conversion in 159 counties involving over

   40,000 new computers with numerous components that must be integrated is

   a massive challenge for the Secretary of State, the vendors, and the county

   personnel. A system conversion is a difficult undertaking even when done in

   stages with a well-staffed IT department like Denver has.
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6. Colorado’s 64 counties each choose their own system from a short list of

   certified voting systems and choose the appropriate timing for any system

   upgrades or conversions. Colorado counties’ voting systems primarily

   support hand marked paper ballots because of the state’s mail ballot model.

   Colorado’s most recent state-initiated conversion took place during the 2015

   and 2016 election cycles in a somewhat coordinated manner, although not

   centrally managed or simultaneously undertaken. The extensive system

   requirements and public and election officials’ technical systems review and

   input phase began in 2013. The transparent and deliberative public process

   of choosing new certified voting systems through to system selection,

   multiple layers of testing, certification, and implementation was over a two

   year process with a few smaller counties converting in year 3. Colorado had

   the advantage of local election officials already using paper ballots and

   scanners, utilizing a central count environment, and having local

   responsibility for programming their counties’ ballots with a user-friendly

   system, having abandoned paperless DREs many years ago. Additionally,

   Colorado election officials have been conducting post-election audits for

   over 12 years, so audit processes did not require significant new training as

   Georgia officials will encounter.
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7. A statewide system implementation in Georgia managed centrally by the

   Secretary of State’s office will be an ambitious undertaking with escalated

   risks that require considerable contingency planning, and the recognition

   that many elements of the complex plan can fail. That is why most

   jurisdictions adopting new voting systems avoid the demanding stress of a

   presidential election year for a cut-over from existing systems. A best

   practice in the election administration world is to implement new systems in

   odd-year election cycles to ensure a smooth transition and adjust timing for

   specific tasks throughout the process. Attempting a statewide transition

   (rather than county initiated transition) is an especially unusual and daunting

   project.

8. I am aware that numerous questions about the planned procurement have

   already been raised that may themselves cause delays if controversies are

   created about system compliance with the provisions of HB316 and security

   of the proposed voting systems.

9. The continued use of the current unauditable DRE system should not

   inadvertently become the “back up plan” for failure or delays that may occur

   while attempting to purchase and implement a new voting system . The

   dangers of the continued use of the DRE system escalate with the age and

   continued exposure to additional undetectable cybersecurity attacks.
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10. Georgia can immediately convert to an auditable accountable voting system

   using primarily hand marked paper ballots consistent with the

   recommendations in my August 20, 2018 declaration.

11. It is my understanding that the numerous currently planned and anticipated

   2019 elections are expected to be local or district election with relatively low

   volume, and simple ballots with a limited number of candidates and ballot

   questions. Such factors make for ideal conditions for an immediate

   conversion to primarily hand marked paper ballots tabulated by optical

   scanners and tabulation servers of the same type (Diebold/GEMS) used by

   each county now, without confusion for the voters or officials.

12. An immediate conversion to primarily hand marked paper ballots permits

   the state officials to train pollworkers, perfect paper ballot chain of custody

   and security measures and to experiment with various types of effective

   post-election auditing. Making such conversions in a presidential election

   year will add unnecessary complexity and increase the already elevated risk

   of failure.

13. Hand marked paper ballots counted by precinct scanners (either in the

   polling location or in a central count environment) are used across the

   nation in approximately 112,000 precincts covering 133 million registered
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        voters.1 This hand marked paper ballot and optical scanning method of

        balloting is the most widely accepting voting method in the nation. This

        means that if Georgia officials believe that they can benefit from external

        implementation assistance, there are scores of experienced officials and

        former officials available to provide the assistance required and best

        practices documentation.



Issues Raised in Previous Declaration

    14. With respect to my previous statements concerning absentee ballot

        processing, most of those comments are no longer applicable. It is my

        understanding that 2019- HB316 and litigation have addressed a number of

        the issues that were raised in my previous declaration ¶¶ 37-42 relating to

        the need for improved processing of mail ballots to avoid voter

        disenfranchisements, after the November 2018 election suffered from such

        of these problems. Therefore, such changes should be already incorporated

        in current processes and will not require another simultaneous change in

        procedures as hand marked paper ballots are adopted at the polling places.




1
 Estimates derived from data available from Verified Voting Verifier inventory of voting equipment.
https://www.verifiedvoting.org/verifier/
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15. I have reviewed a number of voter and pollwatcher affidavits articulating

   their complaints related to the November 2018 election and were provided to

   me by Coalition for Good Governance. The affidavits I reviewed can be

   accessed at https://coaltionforgoodgovernance.sharefile.com/d-

   s6d6045c865e4fadb . The types of irregularities and errors reported in the

   affidavits are broad-ranging and consistent with those anticipated in my

   August 20, 2018 declaration.

16. Given the ongoing reports of voter disenfranchisement and November 6

   Election Day confusion caused by the errors in the voter registration

   database and electronic pollbooks, my concerns continue to be as stated in

   the August declaration, as do my recommendations in the previous

   declaration regarding the necessity of DRE system electronic pollbook

   remediation, voter registration database auditing, and the need for paper

   backups of the pollbooks to be used in the polling places.

17. An immediate switch to auditable paper ballots would avoid the continued

   irregularities of concern to voters caused by machine malfunctions such as

   misconfigured ballot screen displays and vote flipping, widely reported by

   voters in November 2018.

18. Georgia’s problems with long wait times for machine use at the polling

   places were widely reported in the national news, and are needless
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   discouragement for voters. Numerous November wait time complaints are

   also documented in the affidavits referenced in ¶15 above.

19. Voting capacity can be quickly and inexpensively expanded by use of

   primarily hand marked paper ballots as explained in ¶ 60 of the prior

   declaration.

20. Expanding voting capacity alone will not resolve discouraging polling place

   wait times if the voter registration flaws and pollbook software causing

   electronic pollbook problems are not solved with a thorough audit of the

   voter registration database followed by having the DRE system electronic

   pollbooks updated accordingly. The issue and solution are described in the

   previous declaration at ¶¶ 13-20.

21. Georgia’s problems with polling place wait times in 2018 appear to have

   been easily avoidable. In addition to Georgia rejecting a potentially more

   efficient voting method by primarily using paper ballots for the high turnout

   midterms, it is my understanding that thousands of voting machines used in

   early voting were idled by officials and withhold from Election Day voting

   in November. Good security practices do not require that officials idle such

   machines, because the early voting DRE memory cards could have been

   removed, secured, and the machines reloaded and retested and placed in

   service for Election Day. In fact, in 2008, 2010, and 2012, Denver re-
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   purposed early voting DRE’s for election day use over the weekend prior to

   Election Day. Decisions such as those to hold back thousands of machines

   from polling places on Election Day have a materially depressing impact on

   voter turnout, and priorities driving such decisions must change in order to

   solve Georgia’s voter disenfranchisement problems.

   Secure Paper Ballots Can Prevent Tabulation Irregularities

22. Media reports I have reviewed since election day have caused me to

   conclude that voter confidence in the Georgia’s November 2018 announced

   outcomes suffers to a significant degree because of the widespread voting

   problems and the inability to audit the results.

23. Further, I have reviewed the large unprecedented undervote rate, alleged at

   127,000 votes in the Lieutenant Governor’s race, and understand that the

   election contest litigation is ongoing to seek a new election. To my

   knowledge, this is the largest vote count irregularity and controversy

   involving electronic voting machines ever detected in this country, and

   cannot be resolved without litigation forensic discovery because there is no

   auditable record of votes.

24. Such a controversy would not go unsettled in a hand marked paper ballot

   election. A simple audit or recount of the scanner tabulations would quickly

   reveal whether the votes were missed, miscounted or whether there was a
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       ballot design problem. A change to a primarily hand marked paper ballots

       with an accessible marking option is required to avoid repetition of

       significant problematic outcomes that cannot be audited and erode voter

       confidence.

    25. I have reviewed the experts’ reports2 and press reports3 about increased

       undervote rates in African American neighborhood precincts in DRE

       machine undervote tallies in the 2018 Lieutenant Governor’s election. My

       understanding is that the public still does not know why this occurred,

       although misprogramming is possible. If Georgia had used paper ballots in

       the 2018 election, this problem might not have occurred and, if it did, there

       would have been a reliable audit trail to examine and correct errors in the

       tabulations.

    26. The most practical, feasible and low-risk solution to securing Georgia’s

       elections in the near term is the expanded use of the paper ballot optical

       scanning components in the Diebold Accu-vote system that Georgia

       currently owns. This solution is the recommended solution covered in my

       declaration of August 20, 2018. This solution can be configured for counting




2
 https://coaltionforgoodgovernance.sharefile.com/d-se7213426c9646bfb
3https://www.theroot.com/exclusive-thousands-of-black-votes-in-georgia-disappea-1832472558 and
https://www.politico.com/story/2019/02/12/georgia-voting-states-elections-1162134
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   to occur in a central count environment or in each polling location,

   depending on logistical considerations for each county.

27. This Accu-vote optical scanning solution continues to use the GEMS

   election management system, the ExpressPoll electronic pollbooks, and the

   Accu-vote OS scanners in a central count environment or in use at polling

   locations depending on what may be appropriate for each county. DRE units

   can continue to be configured for assistive technology for voters, if that is

   determined to be the best and most appropriate solution for accessibility

   needs. This low risk, low cost modest transition plan to a more modern

   voting system provides for a change to secure elections for several more

   years of useful life of the Diebold scanners while avoiding the need to rush a

   major system overhaul at an inappropriate time.

28. The Diebold system is not recommended as a long-term solution given the

   well-documented performance and security issues with the GEMS election

   management system, but is recommended as a short term transition system

   to produce auditable elections immediately. However, in a paper ballot

   election counted using Diebold optical scanners, tabulation errors that result

   in erroneous outcomes will be detected and corrected by rigorous post-

   election audits. Thorough post-election auditing is essential and must be

   taken seriously in all elections, but this is especially true when using an
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          outdated and vulnerable Diebold system. Georgia’s specific risks of relying

          on the GEMS election management system is further escalated by the well-

          publicized compromise of the Secretary’s election server while located at

          KSU. It is my understanding that statewide remediation efforts for voting

          system components have not been undertaken after that period in which the

          State’s election server was unsecured. Post-election audits must be diligently

          planned with expert consultants to assure that material errors are detected

          and corrected, especially while this particular election management system

          and voting system components are in use.

      29. According to Verified Voting’s Verifier data4, Diebold Accu-vote optical

          scanners are in service in approximately 11,300 precincts serving 13.5

          million voters5 for counting hand marked paper ballots. GEMS tabulation

          servers consolidate the vote tallies and report results. This is the same model

          of equipment used by Georgia now.

      30. Only modest changes in pollworker operations are required as pollworkers

          will merely issue paper ballots to the voters in lieu of plastic voter access

          cards for DRE operation. Workers will have far less computerized

          equipment to set up, secure, monitor, and maintain in operable condition.




4
    https://www.verifiedvoting.org/verifier/
5
    https://coaltionforgoodgovernance.sharefile.com/d-s32cae5d2b884a42b seu
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   Training time for this change should be modest. Central office election

   workers are already trained on Accu-vote optical scanners as they used now

   for mail and provisional ballots.

31. The local elections anticipated for 2019, with anticipated lower turnout,

   make a logical lowest risk transition period to a secure voting system.

32. Defendants’ claims in the September 2018 Preliminary Injunction hearing

   regarding the difficulties of a switch to primarily hand marked paper ballots

   failed to take the problems of continued use of the DRE system into account.

33. For example, Fulton County Election Director Richard Barron testified that

   400-450 ballot styles would be required for management in the November

   2018 early voting locations. [Transcript. P 262, line 25], claiming that

   management of so many ballot styles would overwhelm and confuse the

   workers. However, in testimony in the Fulton County election contest case

   (Coalition for Good Governance v. Raffensperger 2018-CV-313418), Mr.

   Barron testified that the county only had 115 ballot styles during the

   November 2018 election. [Trial Transcript, January18, 2019, p 39 line 14].

   Either scenario could have been managed as recommended in my August

   2018 declaration, but 115 different ballot styles for early voting centers

   would have been manageable. In fact, in 2008, Denver had more than 425
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        ballot styles at each early voting center across the city during the

        Presidential Election and more than 850 during the 2008 primary.

    34. Based on the testimony during the September 12, 2018 preliminary

        injunction hearing, Defendants predicted chaos, long lines, and resulting

        voter disenfranchisement if paper ballots were required, yet the continued

        use of the DRE system seemed to result in a significant level of reported

        polling place problems and long lines, because of insufficient machines,

        malfunctioning machines, and problems with the electronic pollbooks. I

        believe that the use of hand marked paper ballots in the polling place along

        with paper backups of the pollbooks to resolve electronic pollbook problems

        would have permitted far smoother operations and permitted more eligible

        voters to vote in the November 2018 election. Furthermore, the election

        outcomes could have been confirmed and anomalies and discrepancies

        resolved without the need for election contest litigation and loss of voter

        confidence.

    35. The widely publicized problems with Georgia’s November 2018 election

        administration and voter disenfranchisement have drawn review by the U.S.

        House of Representatives House Oversight Committee6. Many of the




6
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019-03-
06.EEC%20Raskin%20to%20Raffensperger-GA%20SOS.pdf
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   election administration problems Congress is now investigating could have

   been avoided if the State had voluntarily taken the long-standing

   recommendations of election integrity experts and Coalition for Good

   Governance in preparation of the mid-terms. There is no need to repeat

   these mistakes.

36. Additionally, Georgia is currently a no-excuse absentee ballot state. Georgia

   could also streamline this process to make it more convenient for voters and

   more efficient for administrators by making a small change to allow voters

   to sign up for ‘permanent no excuse absentee’ ballots. This is simply

   tweaking the current statute so that administrators do not have to process the

   same forms each election cycle and year and allow voters to simply request

   the ballot permanently. Many states have moved to this model because it is

   more efficient and allows administrators to more efficiently plan for

   expected voter turnout. Additionally, to reduce the number of provisional

   ballots in Georgia, it would also be good for Georgia to allow voters to drop-

   off their absentee ballots at any polling location given that it is already

   staffed with election judges. This simple change would reduce provisional

   ballots and thus the transactional time that causes lines.

37. The same principles noted above hold true for every election expected in the

   remaining months of 2019 and planned for 2020 as well. A swift and low
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   cost transition can be made to secure Georgia’s elections by merely using

   the current Diebold system relying on the Accu-vote optical scanners with

   rigorous post-election audits rather than the Accu-vote DRE components.

38. Implementing this temporary transition plan immediately can position the

   state well for 2020, permitting training and transition “bugs” to be worked

   out in low volume simple elections of 2019. Without such a plan, the 2020

   elections will be at significant risk. Given the high implementation risks of

   HB316 and the controversies surrounding the expected equipment purchase,

   and the extremely compressed installation schedule, Georgia could easily

   find itself facing the unacceptable use of DREs in the 2020 election with

   little time to plan for a switch to a secure paper ballot system.

39. In a conversion to a paper ballot system tabulated by scanners (either in the

   polling location or in a central location) and election management software,

   it is imperative that statistically valid post-election audits be conducted prior

   to certification of the elections. No computerized voting system is safe from

   misprogramming, malfunction or hacking. The impact of any such material

   irregularity can be detected and corrected by a robust post-election manual

   audit of hand marked paper ballots counted by scanners. Counting paper

   ballots on optical scanners without such an audit does not mitigate the risk of

   machine-caused errors in the election results.
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40. Post-election audits vary greatly in time, cost, effectiveness and complexity.

   The state and county election boards may want to start auditing with simpler

   audits which are sometimes more time-consuming as they work toward more

   sophisticated and efficient Risk Limiting Audits. Work to plan effective

   post-election audits of paper ballot election results should begin

   immediately.

41. It is my opinion that immediate transition to primarily hand marked paper

   balloting is both immediately feasible and essential to secure Georgia’s

   elections.

                6/17/2019
   Dated: June __, 2019

         Denver, Colorado                 ________________________

                                          Amber McReynolds
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, ET AL.,
 Plaintiffs,

v.
                                              Civil Action No. 1:17-CV-2989-AT
BRAD RAFFENSPERGER, ET AL.,
 Defendants .


           . DECLARATION OF CANDICE HOKE IN SUPPORT OF
                MOTION FOR PRELIMINARY INJUNCTION


      1.     I, Candice Hoke, submit this Declaration under penalty of perjury

pursuant to 28 U.S.C. §1746. This Declaration supplements my previous

Declaration of September 13, 2018 [Doc. 304-1], which I understand was

submitted by Amicus Curiae Common Cause and the Election Defense Coalition,

in support of Motions for a Preliminary Injunction.

      2.     My previous Declaration continues to represent my professional views

on the feasibility and security benefits of conducting Georgia elections on an

auditable and verifiable paper ballot voting system, especially a system already

known to Georgia election officials and to the many citizens who have voted using

absentee, mailed-in paper ballots. Given the threat environment for U.S. elections,




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deployment of an auditable voter-marked paper ballot system is an utter

imperative.

      3.      I hereby depose and say as follows:

                           Background & Qualifications

      4.      My name is Candice Hoke. I held the rank of Professor of Law at

Cleveland State University, Cleveland, Ohio, where I co-founded the Center for

Cybersecurity & Privacy Protection. I currently hold the title Founding Co-

Director of the Center as well as Professor of Law, Emerita, at Cleveland State

University.

      5.      In early 2005, I founded the Center for Election Integrity at Cleveland

State University, which was dedicated to improving the managerial, technological,

and security capabilities of election administration in Ohio and throughout the

Nation, as an essential means to ensure fair elections.

      6.      I hold a J.D. from Yale Law School and a Master's of Science in

Information Security Policy and Management from Carnegie Mellon University. I

clerked for the Honorable Hugh Bownes of the U.S. Court of Appeals for the First

Circuit. I also worked as a Cybersecurity Engineer for the Computer Emergency

Readiness Team (CERT) division of the Software Engineering Institute, in the

Cyber Risk and Resilience unit. My resume is attached to this Declaration as

Exhibit 1.


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           7.      I was·the only law professor (and one of the two lawyers) to

participate as a security researcher in the pathbreaking California Secretary of

State's scientific study of voting system security (Top to Bottom Review, 2007) 1

("TTBR") conducted by the University of California. My TTBR team was

comprised of Diebold voting system experts; we focused on analyzing and

evaluating the security aspects of Diebold voting systems similar to those used in

Georgia. The Ohio Secretary of State's office also sought my guidance in

structuring its own scientific study of voting system security (EVEREST, 2007 2).

           8.      I have authored numerous published works on the security and

regulation of voting systems and other election technologies, including some

monographs solicited and published by the American Bar Association. I have been

especially recruited to explain election security issues in a technically accurate but

accessible manner for lawyers, executive managers, and election officials, as

evidenced by Judicial Protection of Popular Sovereignty: Redressing Voting

Technology, 62 Case Western Reserve Law Review 997 (2012). In other work, I

have sought to illuminate for security experts the unusual, if not unique, security

context of public governmental elections, and the complexities of election

administration that can impede security readiness/resilience.


1
    https://www.sos.ca.gov/elections/voting-systems/oversight/top-bottom-review/
2
    https://security.cs.qeorgetown.edu/-msherr/papers/everest-ohio.pdf


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      9.     I served as the first voting technology expert appointed to the

American Bar Association's Advisory Commission to the Election Law

Committee, serving three terms (2007-10). I initiated and co-authored a primer on

election technology forensics for election officials and their attorneys, which the

ABA published electronically and distributed to the entire membership of the

Section on State and Local Government Law (October 2008).

      10.    I taught Election Law for over a decade, with coursework that

included lectures and advanced readings on election technologies and their

scientifically documented security vulnerabilities. I also taught Information

Security in courses for law students and (via continuing education offerings) for

practicing attorneys from 2015 until late 2017, when I resigned my law faculty

position to refocus my work on information security and election cyber risk

management.

      11.    While serving as Director of the Center for Election Integrity,

Cuyahoga County experienced an internationally notorious election disaster when

it sought to implement its new Diebold electronic voting system primarily

comprised of DRE touchscreen units (Direct Recording Electronic) at the polling

locations, AccuVote scanners for absentee paper ballots, and the GEMS server

(Federal Primary election, May 2006). Every technical and managerial system

failed. Public authorities appointed me to the (3-member) Cuyahoga Election


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Review Panel to investigate and evaluate the causes and potential remedies for this

debacle. Thereafter, the Center was appointed to serve as Public Monitor of

Cuyahoga Election Reform, work that continued through 2008.

      12.    As Project Director of the Public Monitor, in an effort to restore

public trust in the electoral process and voting equipment, I successfully initiated

Ohio's first post-election audit of cast votes in Cuyahoga County, where we

audited the absentee ballots tabulated by the Diebold AccuVote optical scanners as

well as the paper tapes of the Diebold TSx DRE touchscreens-- machines that are

very similar to those that Georgia has been using, but with a voter-verifiable paper

record of the voter's choices that Georgia lacks. I hired and fielded the first

technically qualified, operational security team to observe and report on

managerial activities related to the voter registration databases and voting

technologies. I authored numerous operational security reports plus other reports

on election administrative activities. The foci included procurement processes for

new e-voting systems, managerial/systems transition to implementing these voting

systems, implementation of post-election auditing, and administrative compliance

with governing election law.

       13.   I have been invited to speak on electronic voting, election

administration, and election cybersecurity issues at conferences and on panels

dating from 2004 to the present, by varied organizations that include the


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Chautauqua Institute, American Bar Association, Carnegie Mellon University's

School of Computer Science, Ohio Secretary of State, Pew Charitable Trust,

chapters of the League of Women Voters and NAACP, Penn State University,

University of California at Irvine, the U.S. Election Assistance Commission,

Oberlin College, Election Verification Network, DEFCON, Overseas Vote

Foundation, and the Council on Government Ethics Laws.

       14.   By request, I testified before the elections oversight committee of the

U.S. House of Representatives on the importance of conducting independent post-

election audits.

       15.   At the Federal level, from 2009-17, I have advised high Pentagon

officials as well as officials in the Executive Office of the President (EOP), the

Departments of Homeland Security and Justice, the Election Assistance

Commission, and others on election security vulnerabilities pervading our nation. I

may have been the first to recommend that the U.S. election administrative system

be designated as part of critical infrastructure.

       16.   My engagement for producing this Declaration is pro bono publico,

without any financial remuneration to me.

       17.   I make this Declaration ofmy own personal and professional

knowledge, and I am competent to testify to the matters set forth herein.




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                                  Relevant Experience

       18.    Cuyahoga County (home to Cleveland, Ohio) is one of the nation's

most populous electoral jurisdictions-- approximately the 11th largest--with more

registered voters than some States' entire voting population. The County conducts

elections for 59 entities (such as school boards and library taxing districts) in

addition to holding major Federal, State and local contests. As a panel member for

the Cuyahoga Election Review Panel, I selected, trained, and supervised the work

of an 18-person staff in investigating the causes and potential best remedies for the

failed 2006 Federal primary election. This effort included assessment of the

County's procurement and contracting activities for its Diebold direct recording

electronic (DRE) plus Accu Vote scanner voting system, as well as its planning and

implementation of the overall transition from punchcards to the new e-voting

system. The Final Report for which I was primary author included over 300 action

recommendations for improving the election management process, including

management of the electronic voting systems. 3 (It also led to litigation against the

vendor-manufacturer and a major settlement in favor of the governmental

plaintiffs.) By talking with election officials and election technology vendors from


3
  Candice Hoke, Ronald B. Adrine, and Tom J. Hayes, "Final Report of the Cuyahoga County
Election Review Panel" (2006), available at
https://moritzlaw.osu.edu/electionlaw/litigation/documents/CuyahogaElectionReviewPanelRepor
t.pdf


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other jurisdictions, and reviewing documentary evidence they provided, I gained a

vast knowledge of markedly different activities undertaken by other jurisdictions

which had experienced decisive success in their e-voting transitions.

      19.    As Director of the Public Monitor of Cuyahoga Election Reform, I

assisted the County in determining first, whether to move away from DRE voting

machines to hand-marked paper ballots read by optical scanners, and then, to

transition smoothly to the new hand-marked paper ballot system that deployed

precinct optical scanners for processing in-person voting and central-count

scanners for absentee ballot tabulation at the elections office.

      20.    In Ohio, I also served within the election administrative system in

several capacities, including as a supervising poll worker, a "roving" election

technology trouble-shooter, a voter registration problem-solver, and a consultant to

the Ohio Secretary of State's office on election management and improvement.

Other credentials pertaining to election management and technologies can be found

in my attached resume (Exhibit 1).

      21.    After the Cuyahoga County Board of Elections and the County

Commission formally appointed the Center for Election Integrity to serve as Public

Monitor of Cuyahoga Election Reform, I directed the Public Monitor's effort to

improve administrative competence and restore public trust in Cuyahoga elections.

Some efforts were designed to identify, and bring transparency to, continuing


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election problems {such as inconsistency between the number of voters signing in

to cast ballots and the number of ballots counted) as well as to highlight effective

actions Cuyahoga election officials were taking to correct existing errors and

prevent future ones. At times similar to a special master role, we worked closely

with election managers to suggest methods for improving or assuring their overall

administrative and technological-security success.

      22.    On December 21, 2007, while I was serving as Public Monitor of

Cuyahoga County Election Reform, Ohio's Secretary of State Jennifer Brunner

broke a 2-2 tie of the Cuyahoga County Board of Elections and directed Cuyahoga

County to change rapidly from the vulnerable and unreliable DRE touchscreen

voting machines to the use of an optical scanning voting system with hand-marked

paper ballots. The Secretary of State required the new system to be launched in the

March 4, 2008 presidential primary election.

      23.    Although I had advocated change to auditable hand-marked paper

ballot voting systems, I initially opposed the Secretary of State's late December

mandate for Cuyahoga County to rapidly transition from touchscreen DRE voting

machines to optical scanning machines using paper ballots for the Federal primary.

Such a decision could have been issued months earlier rather than 60 days before a

major election, and I feared that there was insufficient time (given the holidays,

almost exactly two months) to make that transition successfully. In hindsight, I


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was wrong - thankfully, the highly motivated executive officials and capable staff

were able to transition the voting public to hand-marked paper ballots for the

March 4, 2008 primary.

      24.    The County was able to lease state-certified voting system optical

scanning equipment from a vendor and produce all the necessary paper ballots

before the March 2008 election. Voters in Cuyahoga County, Ohio's most

populous county, successfully voted in that primary using hand-marked paper

ballots and precinct-based optical scanners, generating an auditable election record.

       Feasibility of Georgia Using Hand-Marked Paper Ballots in 2019

      25.    Transitioning from DRE voting machines. to hand-marked paper

ballots tabulated by optical scanners in Georgia should be less complex than the

mostly successful transition that I monitored in Cuyahoga County. It is my

professional opinion that conducting 2019 elections on auditable hand-marked

paper ballots is feasible, economical, and efficient for Georgia. Its administrative

success, however, will be best assured by officials having maximum lead time for

proper planning, including contingency planning, with the ability to gain practical

experience managing the changes via the off-year, mostly local elections.

      26.    Georgia already has a fully integrated, State-certified paper ballot

system (the Diebold AccuVote system), that can immediately produce auditable

elections. The unauditable, grossly insecure DRE touchscreen units should be


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sidelined for the elections through 2020, and likely permanently mothballed or

sold.

        27.   I understand that, unfortunately, the State has chosen again to deploy

the flawed Diebold DRE touchscreen units as the primary vote recording device

for the 2019 elections, despite the well-documented security problems that include

lack of any meaningful post-election audit capacity (a major security concern).

The State has another low-cost, low-disruption option available: expand the use of

hand-marked paper ballots from absentee and provisional voters to virtually all

voters, and then use the Diebold AccuVote scanners to tabulate. These steps must

be paired with robust, statistically valid post-election auditing as a check for the

myriad security vulnerabilities that cannot otherwise be mitigated.

        28.   In the intermediate term, to successfully accomplish such a switch to

hand-marked paper ballots, the State need not overhaul the entire election

management system and all its components, nor change vendors, nor adopt and

train staff on new hardware or software. The State needs merely expand the use of

the Diebold AccuVote optical scanners and discontinue the use of the Diebold

DRE touchscreens as the standard voting device. But robust post-election audits

conducted according to well-documented best practices 4 must be added to the



4E.g., Principles and Best Practices for Post-Election Tabulation Audits, (Rev.
Ed. 2018) https://electionaudits.org/principles/
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transition activities, or the security and integrity of the election cannot be achieved

with this antiquated equipment. In fact, rigorous audits are normally required for

all computer-driven information systems where information integrity is paramount.

Voting systems should not be excluded from this basic quality assurance

technique.

          29.     Fortunately, these auditing practices are feasible and efficient, and can

render otherwise insecure and obsolete technologies like the Diebold GEMS

software and its AccuVote scanners relatively secure and assure accuracy of the

vote tabulation, given the reliable paper audit trail created by the hand marked

paper ballots.

          30.      AccuVote scanners are older technology and, from word-of-mouth

reports, available for de minimis prices from other jurisdictions that have retired

them. For example, Adams County, Colorado, donated 154 AccuVote scanners to

Georgia in 2016. 5 All Georgia counties already use the Diebold optical scanners

for mail-in absentee ballots, with the Diebold GEMS servers functioning as the

central software ("election management system"). Georgia election officials and

their staff are familiar with the Diebold software and equipment, having operated it

for well over a decade. No further technology or software change need be involved




5
    https://www.ledger-enguirer.com/news/politics-government/election/article96275322.html


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if the 2019 elections are to be conducted on hand-marked paper ballots tabulated

by AccuVote scanners. It is a relatively minor change to use more Accu-Vote

optical scanners and far fewer (or no) DRE touchscreens.

      31.    While the Diebold voting system is far from state-of-the-art, given

that it runs grossly outdated software pervaded with well-documented flaws, the

good news is that if tabulation errors or deliberate hacks were to occur, election

officials who conduct pre-certification post-election audits should be able to detect

the discrepancies and promptly correct the tabulation. But the audit protocols must

be sufficiently robust using a random sampling of ballots. Several sound auditing

models have been published and can be used to restore the integrity of Georgia's

elections and its citizens' voting rights without the State having to quickly modify

or update the entire voting system.

      32.    This proposed interim solution to Georgia's profound, long-term

election security mismanagement would leverage the Diebold knowledge base

within the Secretary of State's office and local election administration but would

supplement it with robust post-election audits as a major security mitigation and

public transparency device. It would not offer a complete cure to Georgia's

ongoing election cybersecurity issues pertaining to, e.g., the voter registration

systems and e-pollbooks. All mission-critical technical components will require




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their own cyber risk assessments and effective security mitigations, now and for all

elections into the foreseeable future.

      33.    While permanent elections staff generally can be presumed to have

working knowledge of Diebold AccuVote scanners that can be leveraged in this

interim solution, the pollworkers and other temporary staff would need to be

retrained for handling hand-marked paper ballots at the polling locations. (In

Cuyahoga County, we found poll workers expressed great relief that they no longer

bore responsibility for the cumbersome multi-step set up and booting of numerous

DRE touchscreens when we changed to paper ballots.) Other modifications would

be needed but are relatively modest and manageable compared with changing to an

entirely new voting system. For instance, more Accu Vote scanners would likely

need to be identified for borrowing or short-term leasing arrangements; cardboard

privacy tents, and stands or tables for marking ballots would need to be procured;

ballot printing would need to be contracted at higher volumes to produce the

requisite numbers of ballots for absentee as well as most other voters; appropriate

pens would be needed for marking ballots; and warehousing facilities would need

to be identified for storing paper ballots (for the federally-required 22 months for

any Federal elections). The current procedures for assuring a secure chain of

custody for all ballots also must be reassessed, with public and expert input, to

enable a statistically valid post-election audit in each electoral jurisdiction.


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      34.       All ofthe required and recommended logistical steps for transitioning

from all-electronic DRE elections to hand-marked paper ballots tabulated by

optical scanners have been well-documented, as have the steps for producing a

secure chain of ballot custody for auditing. Georgian officials can draw on ample

experience from predecessor jurisdictions and from election management

consultants .

      35.       Undoubtedly, like other States, Georgia will need to replace the

Diebold system relatively soon with an improved and much more secure voting

system-- which, I would submit, should be to a hand-marked paper ballot voting

system. Some such systems are being developed now and others have been on the

market for at least ten years. But given the systemic security and judgment

problems palpable in Georgia election administration (from the Secretary of State's

level through to some local county offices), and the myriad difficulties of

transitioning during high volume, managerially complex Federal election years, I

would counsel against Georgia's announced timetable. While some States and

jurisdictions could manage this timetable, it does not seem prudent for Georgia's

state officials (and its local election administration) to add to their already

substantial burdens, especially where overall election security and integrity will not

be significantly improved by the selected new voting system.




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      36.    Unlike Cuyahoga County's experience prior to its State-mandated

rapid transition to paper ballots, Georgia has not had the benefit of an independent

expert investigatory body's documentation of the myriad managerial dysfunctions

and security breaches that had occurred in its elections over a number of years.

That July 2006 investigatory report also provided concrete steps-- a roadmap-- for

rectifying the managerial problems, and Cuyahoga County elections staff then had

time (18 months) to correct these before being saddled with the rapid transition to a

new voting system. Neither of these components has been present for Georgia.

Nor has Georgia's voting public received the type of systemic assessments and

transparency about voting location/precinct problems undermining voter access

that contradict administrative denials and inertia. By contrast, in Cuyahoga

County, these problems were carefully documented and publicly exposed, and in

conjunction with the appointed Public Monitor of Cuyahoga Election Reform,

forced significant managerial changes throughout the elections agency, including

in staffing and supporting voting locations.

      37.    All of these steps, and the 1.5 years of time following publication of

the investigatory Report, enabled the Cuyahoga County elections office to conduct

increasingly successful elections that in turn helped to rebuild public trust in the

elections system and its managers. In my professional opinion (and though from

out of state), Georgia's voters likely remain distrustful of their election


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administrative system, owing to the systematic mismanagement of its elections and

its failure to practice the most basic cybersecurity hygiene. If administrators take

small but meaningful steps during 2019 that enable election officials to produce a

record of administrative success and provably accurate tabulations, that will greatly .

benefit the State, its voters, and voting rights immediately and as they move into

2020's heightened demands.

      38.    Having studied and been a part of successful voting system

transitions, I would recommend that the best interim step for greatly improving

Georgia election security and public trust in its elections is the use of hand-marked

paper ballots in 2019 and 2020, for all voters who can complete such ballots

without assistance. (I explain the rationale for 2020 in paragraph 39 below.) These

ballots can be created within GEMS, and tabulated on AccuVote scanners in

conjunction with the existing GEMS election management system. No substantial

change in equipment or vendors would be required. Voters can be educated in a

public education campaign as to how to mark such ballots, how to use the scanners

in the precincts, and how the post-election audits will assure that their votes are

accurately counted and reported. Many nongovernmental organizations would be

delighted to draw on their honed experience in designing and rolling out, in

support of the election process, such a voter education campaign. I would pledge




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my assistance, and would identify helpful steps that we used in Cuyahoga County

to help assure the transition.

       39.   Coalition Plaintiffs have also asked me to comment on the Secretary

of State's currently planned date -- the 2020 Presidential Primary-- for statewide

launch of a completely new voting system. Generally, the rule in election

administration is to roll out mission-critical new technology in off-year, non-

federal election years, as the volume of voters and candidates/issues is normally

smaller and thereby reduces the complexities that must be managed.

       40.    As further detailed below, the reconfiguration of the current Diebold

system to be an auditable paper ballot system can be accomplished swiftly and

relatively smoothly in 2019, and its good faith implementation in 2019 would not

impose significant risks to voters' rights or to the election administrative system.

       41.    First, the upcoming 2019 elections in Georgia are local and municipal

rather than major statewide and national elections. Such "off-year elections" are

the ideal time for a mission-critical technology transition. These elections are

likely to require fewer ballot styles, and contain fewer questions or races, than

would be required in a primary or general election. The simplicity of the ballots

will facilitate a successful transition.

       42.    Second, the local and municipal elections taking place this year will

allow Georgia to implement the hand-marked paper ballot system in smaller-scale

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elections. As a result, poll workers and administrators, as well as voters, can gain

additional familiarity with marking and scanning paper ballots, with (likely to be)

lower voter tum-out. Although fewer voters may participate, they can be expected

to report on their voting experience and help to facilitate the overall voter and

public knowledge about broadly using hand-marked paper ballots.

         43.     Third, many sources of practical administrative knowledge are

available to assist Georgia in charting an effective transition to hand-marked paper

ballots. Given that such ballots are used extensively across the United States-

partially or statewide in at least 45 States and the District of Columbia 6-there   is a

large network of experienced practitioners nationwide, and many sources for

advice and professional recommendations on how to achieve a smooth, efficient

transition.

         44. Fourth, by ordering this interim modification of Georgia's election

operations, election officials will have an opportunity to conduct paper-ballot

elections, critically evaluate their process in a post-mortem, and revise their

procedures before the high volume and complexity of administering the 2020

Federal elections. This approach thereby increases the likelihood of

administrative and security success -- which can help augment public and staff



6
    https://www.verifiedvoting.org/verifier/


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morale and confidence -- before a wholesale election technology change is

implemented.

      45. Fifth, compared with the monetary cost of maintaining, storing,

transporting, securing, and testing DRE electronic voting machines, and training

plus re-training poll workers on the cumbersome procedures for initiating and then

properly closing down the DRE units and aggregating their votes, the cost of

implementing a hand-marked paper ballots system plus robust auditing is

comparatively low. To achieve the expanded use of AccuVote scanners as

recommended here, the cost of additional scanners should be quite modest, given

the number of used AccuVote scanners available for donation or purchase. In

advising officials and citizens from jurisdictions that were/are considering

changing their voting system, I draw on the "lessons learned" in Ohio to

underscore that upfront purchase and maintenance costs of an election system must

be supplemented by attention to the "hidden" ancillary costs that are rarely

divulged by vendors. The vendors' sales teams tend to promote their newest and

most expensive electronic voting machines, and continue to vastly overstate the

security and accessibility attributes of their newest systems. But over time it has

become clear that DRE systems (and now their successors, most BMDs- ballot

marking devices) are among the most expensive and difficult systems to operate

and maintain over their expected lifespan.


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      46. Finally, as we saw in Cuyahoga County, it is probable that Georgia's

citizens will be willing to volunteer their time to assist in improving the integrity

and transparency of Georgia's elections. In my experience in Ohio, many citizens

were eager to help restore the legitimacy of their electoral system, and thereby,

also help improve their State's reputation, especially after years of negative

information and justified critiques. For example, in Cuyahoga County, there was a

surge in volunteers for poll-worker positions after the independent review panel

was appointed and undertook its activities transparently -- including by holding six

public hearings around the county to collect information and concerns about the

experiences in the 2006 failed primary election. In the remedial phase after our

investigative report was published and the county election officials sought wider

assistance, many nonprofits helped to develop voter education campaigns and

troubleshooting teams for rapid identification and resolution of polling place

problems. They also augmented their efforts to support the rapid transition to paper

ballots. Nonprofit leaders volunteered time and earmarked organizational efforts

to facilitate voter knowledge, comfort, and confidence in using the new hand-

marked paper ballots system. Little explanation was needed, as the public was

accustomed to marking paper for choices from SAT exams to lottery cards. But

we did need voters to understand how to mark the ballot to assure that their marks

would "count" as valid votes (e.g., color-in the oval, don't circle it!; use black ink


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and the pen provided, not another color, so that the ink won't sink through and

cause undesired marks on other races on the flip side).

      47. In conclusion, it is my opinion that Georgia's voters and their vital

interests in accurate, secure elections would be best served by ( 1) an immediate

transition to hand-marked paper ballots that can be tabulated using the Accu Vote

optical scanners, combined with (2) use of robust post-election auditing protocols

that comply with documented best practices.



      I declare under penalty of perjury that the foregoing is true and correct.


Dated: June 18, 2019
Orlando, FL

                                       Candice Hoke




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                                                                                                    Exhibit 1

CANDICE HOKE
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shp899 at icloud dot com


EDUCATION
Master of Science in Information Security Policy & Management, Carnegie Mellon University, 2014.
Juris Doctor, Yale Law School, Yale University, 1983. Yale Law Journal.
Bachelor of Arts, cum laude,Hollins University, 1977.

EMPLOYMENT
Consultant, Operational Security and Cyber Risk Assessments, 2018 - present (private practice).
Professor of Law, Cleveland-Marshall College of Law, Cleveland State University, Cleveland, OH. 1994 -
   2017 (tenured in 1995); Professor of Law emerita2017 -present.
         Founding Co-Director, Center for Cybersecurity & Privacy Protection, 2015 - present.
     • Director, Center for Election Integrity, 2005-08; Project Director, Public Monitor of Cuyahoga
         Election Reform.
Cyber Security Engineer, Cyber Risk & Resilience Team, CERT Division of the Software Engineering
   Institute, Carnegie Mellon University (predominantly part-time), May 2014 - Feb 2015.
Founder & Executive Director, Center for Election Excellence, Cleveland Hts, OH (part-time), 2008-11.
Visiting Research Engineer & Research Team Leader, Department of Electrical Engineering and
   Computer Sciences, University of California-Berkeley, May-Aug. 2007 (for voting systems security
   studies).
The Judge Ben C. Green Visiting Professor of Law, Case Western Reserve University Law School,
   Cleveland, OH, 1993-94.
Assistant Professor of Law, University of Pittsburgh School of Law, Pittsburgh, PA, 1987- 93.
Adjunct Assistant Professor, Northeastern University, Master of Public Administration, Boston, MA,
   summer term 1986.
Associate Attorney, Hill and Barlow, Boston, MA, 1985--87.
Law clerk to The Honorable Hugh H. Bownes, of the U.S. Court of Appeals for the First Circuit, Boston,
   MA, 1983-85.
Summer Associate Attorney, Equal Rights Advocates, Inc., San Francisco, CA, summers 1980, 1982.
Summer Associate Attorney, Thelen Marrin Johnson and Bridges, San Francisco, CA, summer 1981.


PUBLICATIONS

BOOK CHAPTERS              & MONOGRAPHS

Voting Technologies and the Quest for Trustworthy Elections, Chapter 17 in America Votes, Benjamin
   Griffith, ed., American Bar Association Press, 2nd ed. 2012.
Voting and Registration Technology Issues: Lessons from 2008 (with David Jefferson), Chapter 3 of
   America Votes! Supplement, Benjamin Griffith, ed. American Bar Association Press 2009.
Resolving the Unexpected In Elections: Election Officials' Options [election forensics], with computer
   scientists Matt Bishop, David Jefferson, Mark Graff, and Sean Peisert, October 2008), first published by
   the American Bar Association and distributed to the Section on State and Local Government, October
   2008; currently available at http:/ /nob.cs.ucdavis.edu/bishop/notes/2008-forensic/index.html.
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The Guarantee Clause, Encyclopedia of American Federalism, 2 vols. Greenwood Press; E. Katz, et al., eds.
   2006.


LAW REVIEW        & JOURNAL ARTICLES: PEER-REVIEWED
Are they worth reading? An in-depth analysis of online advertising companies' privacy policies, (with
   Lorrie Faith Cranor, Pedro Leon, et al.), I/S: A Journal of Law and Policy for the Information Society,
   vol. 11, issue 2, Aug 2015.
Judicial Protection of Popular Sovereignty: Redressing Voting Technology, Symposium:Bakerv. CarrAfter
   50 Years:Appraising the ReapportionmentRevolution, 62 Case Western Reserve Law Review 997, 2012.
State Discretion Under New Federal Welfare Legislation: Illusion, Reality, and a Federalism-Based
   Constitutional Challenge, 9 Stanford L. & Policy Rev. 115, 1997, solicited for the Symposium: Welfare
   Reformand Beyond.
Review of Federalism and Rights by Ellis Katz & G. Alan Tarr and To Make a Nation: The Rediscovery of
   American Federalism by Samuel H. Beer, 47 Journal of Legal Education 149, 1997.
Arendt, Tushnet, and Lopez: The Philosophical Challenge Behind Ackerman's Theory of Constitutional
   Moments, 47 Case W. Res. L. Rev. 903, 1997; solicited to respond to Mark Tushnet in Symposium: The
   New FederalismAfter United States v. Lopez.
Constitutional Impediments to National Health Reform: Tenth Amendment and Spending Power Hurdles,
   21 Hastings Const. L. Q. 489, 1994; lead article in Symposium:HealthCareand the Constitution.


OTHER LAW REVIEW ARTICLES

 Transcending Conventional Supremacy: A Reconstruction of the Supremacy Clause, 24 Connecticut Law
    Rev. 829, 1994.
 Preemption Pathologies and Civic Republican Values, 71 Boston Univ. Law Review 685, 1991, lead
    article).

PEER-REVIEWED CONFERENCE                  & WORKSHOP PAPERS

Are They Worth Reading? An In-Depth Analysis of Online Advertising Companies' Privacy Policies (with
   Lorrie Faith Cranor, Pedro Leon, et al.) presented by co-author at 2014 TPRC: 42nd Research Conference
   on Communication, Information and Internet Policy, George Mason Univ., Arlington, VA. Sept. 12-14,
   2014.
Self-Regulation of the Online Behavioral Advertising Industry: Empirical Analysis and Regulatory
   Competence (with Lorrie Faith Cranor, Pedro Leon, et al.), Privacy Law Scholars Conference, George
   Washington University, June 6-7, 2014.
Internet Voting: Formulating Structural Governance Principles for Elections Cybersecurity,
    proceedings of ISGIG 2009: Second International Symposium on Global Information Governance,
    September 15-17, 2009, Prague, Czech Republic; published in ACM Library.
    http:/ / dl.acm.org/citation.cfm?id-1920329
E-Voting and Forensics: Prying Open the Black Box (with Matt Bishop, Sean Peisert, Mark Graff and
    David Jefferson), EVT /WOTE (Electronic Voting Technology /Workshop on Trustworthy
    Elections), USENIX Security Conference, Montreal, CA, August 2009.
    http://www.usenix.org/ events/ evtwote09/ tech/
GEMS Tabulation Database Design Issues In Relation to Voting Systems Certification Standards (with
    Thomas P. Ryan), EVT: Electronic Voting Technology Workshop, USENIX Security Conference, Boston,
    MA, August 6, 2007. http://www.usenix.org/events/evt07 /tech/




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OTHER SCHOLARLY CONFERENCE                             & WORKSHOP               PAPERS

Essential Research Needed to Support UOCAVA-MOVE Act Implementation at the State and Local
   Levels (co-authored with Matt Bishop), one version published in the NIST-FVAP-EAC Workshop on
   UOCAVA Remote Voting Systems, held in Washington, D.C., August 2010.
        http:/ /www.nist.gov/it! / csd /ct/ uocava workshop aug2010.cfm:
        updated in SSRN: http:/ /papers.ssm.com/sol3 /papers.cfm?abstract id-1697848
Election Cyber Security and the Federal Quest for Online Voting (presentation in the Schloss-Dagstuhl,
   Germany,      Symposium:     Verifiable     Elections      and   the   Public), July  10-15, 2011
   http:/ /www.dagstuhl.de/program     / calendar /partlist /?semnr-11281&SUOG
Licensing and Other Credentialing for Software Engineering, Software Assurance Working Group
   Sessions, U.S. Department of Homeland Security, National Cyber Security Division, MITRE-I, McLean,
   VA, June 29, 2011.
A Common Law Remedy for Genetic Discrimination, in Symposium: Is There a Pink Slip in Your Genes?
   Genetic Discrimination Law Conference, Cleveland-Marshall College of Law, Cleveland, OH,
  December 6, 2001.
State Discretion Under New Federal Welfare Legislation: Illusion, Reality, and a Federalism-Based
   Constitutional Challenge, ABA Annual Meeting, Section on State and Local Government Law, Chicago,
   IL, August 6, 1997.
Arendt, Ackerman, and Lopez: Testing the Theory of Constitutional Moments (responding to a paper by
   Mark Tushnet), Symposium on the New Federalism After United States v. Lopez, Case Western Reserve
   University Law School, Nov. 10-11, 1996.
Federalism Issues in National Health Reform, 15th Annual Health Law Teachers Conference, sponsored by
   the American Society of Law, Medicine, and Ethics, et al., Indianapolis, IN, June 2-4, 1994.
Constitutional Impediments to National Health Reform: Tenth Amendment Hurdles, at the Conference on
  National Health Care Reform: The Legal Issues, sponsored by the Law-Medicine Center of Case
  Western Reserve University, Feb. 25-26, 1994.


TECHNICAL REPORTS

Documentation Assessment of the Diebold Voting Systems, commissioned by the California Secretary of
  State and part of larger study conducted by the University of California (with David Kettyle), July 20,
   2007. http:/ / www.sos.ca.gov/ elections/ elections vsr.htm
Collaborative Public Audit, Final Report of Cuyahoga County's November 2006 General Election (with co-
  author workgroup), April 2007,
   http:/ / engagedscholarship.csuohio.edu / cgi / viewcontent.cgi?article 1001&amp;context=lawfac reports
College Poll Worker Guidebook for the U.S. Election Assistance Commission, a Center for Election Integrity
     project with    Abigail Horn, Principal          Investigator, Dec. 2006, final edition             at
    http:/ / WWw.eac.gov /assets/ 1 /Page/ A Guidebook for Recruiting College Poll Workers.pdf

Final Report of the Cuyahoga Election Review Panel, primary author, with Ronald Adrine & Thomas J.
     Hayes, July 20, 2006.
     http:/ / engagedscholarship.csuohio.edu / cgi / viewcontent.cgi?article=1Q03&context-lawfac reports
Operational Security and Management Assessment Reports for the Public Monitor of Cuyahoga County
    Election Reform, 2006-08.




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PUBLIC & EXTERNAL ACTIVITIES

FEDERAL AGENCY TESTIMONY                    & COUNSEL
U.S. Dept. of Homeland Security, U.S. CERT and other staff, requesting insight and recommendations on
   analyzing and achieving election cybersecurity objectives, July 2016- Jan. 2017.
Risks and Legality of Internet Voting Initiatives, presentations and discussions with the Office of General
   Counsel, U.S. Department of Defense, June 2011- Jan. 2012.
Licensing the Software Engineering Workforce, OHS Working Groups on Software Assurance, MITRE:
   McLean, VA, June 29, 2011.
Department of Homeland Security, Director Cyber + Strategy, discussions of steps within OHS scope that
   would assist in protecting US election cybersecurity, Oct. 2010.
U.S. Justice Department, Antitrust Division: regarding the merger of the two largest voting system
   companies and subsequent divestiture of assets; led a national collaboration of nonprofit research and
   advocacy entities dedicated to fair elections in negotiations with the Department, Dec. 2009-May 2010.
Executive Office of the President, Office of Legal Counsel: discussions of election cybersecurity and
   omission .of election systems from designation as critical infrastructure assets warranting federal
   protection and planning; federal legislative needs for fair, secure, accurate, and accountable elections,
   May-June 2009, March 2010.
Tracking Voting Technology Field Performance: The Federal Role. Public Hearing of U.S. Election
   Assistance Commission; solicited written and oral testimony to include technical monitoring program
   established in Cuyahoga County, Ohio; Washington, D.C., Dec. 8, 2008.
   ht1;p:/ /www.eac.gov/ assets/ 1/AssetManager/ testirnony%20candice%20hoke%20cenler%20for%20election%20i
   ntegrity%2Qpublic%20meeting%20decernber%208%202008.pdf
Comparing Provisional Ballots in Ohio and Indiana, testimony before the U.S. Election Assistance
     Commission concerning the November 2004 General Election, Feb. 2005.
U.S. Justice Department, Office of Legal Counsel, per request, consulted on the constitutionality under
   Tenth Amendment and Spending Power of the President's proposed health reform bill, April - May,
   July 1994.

FEDERAL LEGISLATIVE TESTIMONY                     & COUNSEL
Legislative drafting and critiques of bills concerning election technologies and election cybersecurity for
   Members of the U.S. House and Senate including Senators Schumer, Cornyn, and Feinstein;
   Representatives Maloney and Holt, and for committee staff of both parties, 2007-16.
Risks and Legality of Internet Voting Initiatives, presentations and discussions with the Chief of Staff of
   the Chair of U.S. Senate Armed Services Committee; Legal Staff of other Senate Armed Services
   Committee members (both parties); Legal Staff, U.S. House of Representatives, Committee on
   Administration; Legal Staff, U.S. Senate Rules Committee, June 2011- Jan. 2012.
Testimony before the U.S. House of Representatives, Elections Subcommittee of the House Administration
   Committee, on independent post-election auditing and impediments to election auditing and
   transparency.       Washington,      D.C.,       March     20,     2007    (invited    oral    &     written).
   ht\p: / / engagedscholarship.csuohio.edu/ cgi/ viewcontent.cgi?article-1037&context-facpresentations
U.S. Senate, Committee on the Judiciary, Subcommittee on the Constitution. As requested, reviewed,
   edited and commented on draft health reform legislation; drafted additional legislative proposals; wrote
   legal memoranda in support of proposed legislation, and provided written testimony for the record,
   summer and fall 1995.




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STATE TESTIMONY           & COUNSEL
Effective Management of Voting Systems Procurement and Launch Issues, invited witness, Allegheny
     County Public Hearing on Voting Systems Procurement, Pittsburgh, PA., June 7, 2019.
Regarding the Ohio Secretary of State's Voting System Security study (EVEREST),before the Ohio General
     Assembly, fall 2007.
A Deliberative Process for Reform of Ohio Election Statutes, written and oral testimony on S.B. 380, House
    Committee on State Government and Elections, Columbus, OH, Dec. 11, 2008.
Consultant and legislation drafting, proposals for post-election auditing and other election
    administrative issues in Ohio, New Jersey, Pennsylvania, and other States, Dec. 2007 - June 2011.
Consultant on Ohio constitutional ballot initiative to establish a State minimum wage with COLA provision
    for automatic increases annually, summer 2005.


ELECTION TECHNOLOGY STANDARDS-SETTING                           WORKGROUPS

NIST Workgroups focused on developing the new Federal Voluntary Voting System Guidelines,
   specifically the VVSG-cybersecurity and VVSG-testing workgroups, 2016-present.
NIST Cybersecurity Framework Workshop preceding initial drafting of the Cybersecurity Framework,
   Pittsburgh, PA, May 29-31, 2013.
Federal Voting Assistance Program (FVAP) of U.S. Department of Defense, Security Workgroups,
   Chicago and Washington, D.C. 2010.
Voting Rights Institute of the Ohio Secretary of State, workgroups on Voting Technology, Auditing, and
  Election Official Education, 2007- 10.




APPOINTED PUBLIC POSITIONS
Member, Ohio Attorney General's Cybersecurity Advisory Board, Subcommittee on Data Protection
  Legislation, Sept. 2016- Jan. 2018.  ht!Jl://www.ohioattorneygeneral.gov/Media /News-
  Releases I September-2016 /Attorney-General-DeWine-Launches-CyberOhio-Initiat
Member, Advisory Council, Voting Rights Institute, Ohio Secretary of State. Workgroups on Voting
     Technology and Auditing; Election Official Education, 2007- 10.
Public Monitor of Cuyahoga Election Reform. Pioneered field assessments of operationat technical and
   physical security. Assessed and offered recommendations for improving managerial, technical, and
   other operational functionality plus achieving compliance with governing law. Initiated first post-
   election audit in Ohio. Provided crisis management recommendations and PR support. Joint
   Appointment by the Board of Elections of Cuyahoga County, and County Commissioners of Cuyahoga
   County. August 2006 - Dec. 2008.
Member, Cuyahoga Election Review Panel. As the onsite member of 3-person panel, structured and
  supervised the investigative and reporting teams and provided executive management of investigative
  and reporting commission charged to determine the causes and cures for a high-profile Federal election
  failure. Conducted all recruitment, hiring, onboarding and training; drafted final report. Completed
  intensive investigation and public report within the 60-day assigned time frame Interfaced with
  broadcast and print media locally and internationally as part of crisis management. Joint Appointment
  by the Board of Elections of Cuyahoga County and County Commissioners of Cuyahoga County. May
  - August 2006.




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INVITED TALKS        & PANEL PRESENTATIONS
Election Security Improvements Realized, Annual Conference of the Center for Cybersecurity & Privacy
   Protection, Cleveland State University, Cleveland, OH, May 31, 2019.
Federal Litigation to Redress Election Cybersecurity Deficiencies, Election Verification Conference,
   Washington, D.C., March 2019.
Election Security: A 2018 Midterms Retrospective, Penn State Symposium on Election Security, Penn
   State University, State College, PA, December 3, 2018.
Election Cybersecurity: Are We Ready for 2018? League of Women Voters, Oberlin, OH. June 2, 2018.
Conference: Can Adversaries Hack Our Elections? Can We Stop Them? University of California at Irvine,
   Irvine, CA, March 13, 2018.                                                                           ·
Voting System Vulnerabilities and their Potential Consequences, State of the Net Conference, Washington,
   DC, January 29, 2018.
Outdated Legal Frameworks for Redressing Exploited Voting Technology Vulnerabilities, First DEFCON
    Voting Village, Las Vegas, NV, July 28, 2017.
The Federal Interest in Expanding Cyber Risk Insurance, 2d Annual Conference on Cybersecurity &
    Privacy Protection, Cleveland, OH, April 28, 2017.
Constitutional Rights to Election Tabulation Accuracy, in Recounts and Beyond, Election Verification
    Conference, George Washington University, Washington, D.C., March 15-17, 2017.
Avoiding Email Insecurity in Achieving Secure Confidential Communications With Clients, Cleveland,
    OH, Dec. 2, 2016.
Pervasive Cybersecurity to Reduce Risk, Chemical Industry General Counsel Symposium, Thompson
    Hine, Cleveland, OH, Oct. 25-26, 2016.
Developing a Resilience-Oriented Security Culture, CRAIN 360: Cyber Security Conference, Crain' s
    Cleveland Business, Oct. 5, 2016.
Privacy Interests and Election Technologies, Cleveland IAPP KnowledgeNet, Cleveland, OH, April 26,
    2016.
Election Cyber Security and the Federal Quest for Online Voting presented at Schloss-Dagstuhl, Germany,
    Symposium: Verifiable Elections and the Public), July 10-15, 2011.
Moderator and Panel Member, Election Technologies: What's On the Table & Off, and Why, Overseas Vote
    Foundation Annual Summit, Pew Charitable Trusts, Washington, D.C., February 10, 2011.
Keynote Address: Credentialing the Workforce: Licensing Software Developers to Achieve Enhanced
    Software Security, NSF-funded Summit on Education for Secure Software, Washington, D.C., October
    18 - 19, 2010.
Election Recounts: Law and Practice, Panel presentation at Election Verification Network, Washington,
    D.C., March 2010.
Internet Voting: Formulating Structural Governance Principles for Elections Cybersecurity,
    presentation to the international conference ISGIG 2009: Second International Symposium on
    Global Information Governance, Prague, Czech Republic, Sept. 15-17, 2009.
Litigating Voting Technology Deficiencies, American Bar Association, Section on State & Local
    Government, Chicago, IL, March 21, 2009.
Keynote Address: Ignorance of Computer Security Science and Usability Engineering: The Public
    Costs, NSF-funded Living in the Know!Edge Society Workshop, Villanova University, Villanova
    PA, March 19 - 21, 2009.
Lawyers' Roles in Election Administration Fairness, Proficiency and Accountability, COGEL: Council on
    Government Ethics Laws, Annual Conference, Chicago, IL, Dec. 9, 2008.
Statewide Voter Registration Database and Other Election Security Issues, Ohio Election Summit
      sponsored by the Ohio Secretary of State, Columbus, OH, Dec. 2, 2008.
Voting Technology: History and Litigation, American Bar Association, Section on State and Local
    Government Fall Meeting, Chicago, IL, Sept. 2008.
Litigation on Voting Technology Issues, Annual Meeting, American Bar Association, New York, New
    York, NY (program co-sponsored by 4 Sections and Councils), Aug. 8, 2008.




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Technical Monitoring and other Post-TTBR Interim Strategies for Election Integrity, Electronic Voting
   Technology Workshop, USENIX Conference, San Jose, CA (panel with chief election administration
   officers of California, New York, and the federal Election Assistance Commission), July 27-30, 2008.
Trustworthy Elections? The Way Forward, Chautauqua Institution, Chautauqua, NY, in the week
   dedicated to Restoring Legitimacy to Our Elections, July 3, 2008.
Understanding Voting Technology Security Issues, Pew Charitable Trusts and Electionline.org conference
   for selected media representatives, Chicago, IL, Dec. 6, 2007.
The California TTBR Study of £-Voting Security Issues, ABA Standing Committee on Election Law,
   Washington, DC, Oct. 2007.
Working With Election Officials for Increased Transparency, National Post-Election Audit Summit,
   Minneapolis, MN, Oct. 2007.
Polling Locations Competence and Voting Technology Issues, NAACP Public Hearing on Voter
   Suppression and November General Election, Cleveland, OH, Nov. 14, 2006.
Ohio: A Crucible for Improving the Nation's Elections, Conference on Election 2006 and the Future of
   American Politics, Oberlin College, Oberlin, OH, November 10-12, 2006.
Federalism Issues in National Health Reform, 15th Annual Health Law Teachers Conference, sponsored by
   the American Society of Law, Medicine, and Ethics, et al., Indianapolis, IN, June 2-4, 1994.
Constitutional Impediments to National Health Reform: Tenth Amendment Hurdles, at the Conference on
   National Health Care Reform: The Legal Issues, sponsored by the Law-Medicine Center of Case
   Western Reserve University, Feb. 25-26, 1994.
Anti-Discrimination Protection and Disability Accommodation for the HIV-Infected Individual, at HN:
   The Human Perspective Conference, Pennsylvania/New York AIDS Regional Education and Training
   Center, et al., Pittsburgh, PA, Nov. 12, 1989.


CONFERENCE & WORKSHOP LEADERSHIP

Panel Chair, Recounts, Election Accountability and Beyond, Election Verification Conference, George
     Washington University, Washington, DC, March 16, 2017.
Conference Committee, Annual Awards Chair, Election Verification Conference, George Washington
     University, Washington, DC, March 2016.
Panel Chair and presenter, Cross-Cutting Program: The Challenges of Internet Voting and New Election
   Technologies: Are Votes Counted as Cast?" at the 2012 Annual Meeting of the Association of American
   Law Schools, Washington, D.C., Jan. 5, 2012.
General Chair (of Program Committee and Organizing Committee), 2011 GTIP: Governance of Technology,
   Information and Policies Workshop (GTIP), co-located with ACSAC: Annual Computer Security
   Applications Conference, Orlando, FL, Dec. 6, 2011.
Program Committee member, 2012 and 2011 EVT/WOTE (Electronic Voting Technology /Workshop on
   Trustworthy Elections), co-located with USENIX Security Conference, Bellevue, Washington, August
   2012; San Francisco, CA, August 2011.
Program Committee member, 2010 GTIP Governance of Technology, Information and Policies Workshop
   (GTIP), co-located with ACSAC: Annual Computer Security Applications Conference, Austin, TX, Dec.
   7, 2010.



SELECTED GUEST EDITORIALS (OP-EDS)                               & BLOG POSTS
Pennsylvania's Voting Systems, Pittsburgh Post-Gazette, Dec. 12, 2018.
Election Integrity: Missing Components to Remedy, The Hill, Nov. 8, 2016. http)/thehill.com/blogs/cong,ess-
   blog/technology/304835-election-integrity-missing-components-to-remedy
The Quest for Cyber Resilience- Not Mere Security, http://achlevingcvbersecurity.org/category/resilience
Constitutional Obstacles to National Health Reform, In Brief, Jan. 1, 1994.




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BAR ADMISSIONS           & PROFESSIONAL CERTIFICATIONS
Admitted to practice
   U.S. Court of Appeals for the First Circuit, 1985.
   U.S. District Court for Massachusetts, 1985.
   Massachusetts, 1984.
Certifications
   CIPP /US, by the International Association of Privacy Professionals, 2014 - present.



EDITORIAL BOARDS AND REFEREEFOR BOOKS

Co-Founder & Co-Editor, SSRN LSN Cybersecurity, Data Privacy, & e-Discovery Law & Policy e-Journal,
         2015-present.
Editorial Board Member, JETS:Journal of Election Technologies, 2 volumes, 2013, 2014.
Evaluated election-related articles for Publius, intermittently 2005-08.
Evaluated articles for the Election Law Journal, intermittently 2006-10.
Evaluated proposed text in Employment Law for LexisNexis, 2001.
Evaluated proposed treatise published as Erwin Chemerinsky, Constitutional Law, Aspen, 1997, 2002.
Evaluated proposed text on Feminist Jurisprudence for Aspen, 1992.
Evaluated proposed casebook, Sullivan, Calloway, and Zimmer, Employment Law, 1992.


PROFESSIONAL ASSOCIATIONS
American Bar Association, Sections on Science & Technology and Administrative & Regulatory Law
ACM - Association of Computer Machinery
International Association of Privacy Professionals



NGO      ADVISORY COMMITTEES AND BOARDS

Member, Board of Directors, Verified Voting Foundation 2007-10; Chair, Capacity Building and
    Development Committee, 2009-10; Advisory Board, 2010-present.
Northeast Ohio Cybersecurity Consortium (comprised of major corporations, universities, hospital
  systems, regional Federal Reserve Bank, and other entities). Chair, Committee on Workforce and
  Economic Development, 2015-16.
Member, Standing Committee on Election Law, Advisory Commission, American Bar Association, three
    terms, 2007- 10.
Member, Advisory Board, Florida Voters Coalition, 2007-12.
Member, Advisory Board, Richard Austin Election Center, Michigan 2007-10.


MEDIA
Commentator on election cybersecurity, election law and administration, Internet of Things cybersecurity
  and privacy/ data protection, for broadcast and print media including National Public Radio (All Things
  Considered,Morning Edition), CNN, NBC, FOX National, CBS-TV, New York Times, Boston Globe, Los
  Angeles Times, Washington Post, Wall Street Journal, San JoseMercury News, The Guardian,New York Daily
  News, San FranciscoChronicle,Columbus Dispatch,ClevelandPlain Dealer,La Presse (France), AP National
  and Ohio, ToledoBlade,Cincinnati Inquirer, Clevelandmagazine, McClatchy, The Hill, POTUS XM Radio,
  NPR affiliates for Los Angeles, San Francisco, Akron-Canton, Cleveland, Columbus-OSU, Memphis,
  Louisville, Baltimore; and local TV affiliates for NBC, FOX, and ABC; and Marketplace.

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CONTRACT & GRANT SUPPORT

EXTERNAL

FOUNDATION

National foundation consortium, to provide strategic leadership of national, state and local nonprofits
   working in Ohio 2008 election cycle to achieve successful, fair election administration (recruited by
   the foundations); included Carnegie Corporation, Open Society Institute, Rockefeller Brothers,
   Quixote, Tides, and Democracy Alliance. Grantee: Center for Election Excellence, 2008.

FEDERAL

U.S. Election Assistance Commission (EAC) to the CSU Center for Election Integrity (Abigail Horn, P.I.,
   Candice Hoke, Center Director) to evaluate and develop best practices for recruiting and training
   college poll workers, published as http://www.eac.gov/assets/1 /Page/A Guidebook for Recruiting College Poll
   Workers.pd£.



INTERNAL UNIVERSITY

Faculty Research & Development Grant for scientific investigation: The Significance of Human Factors in
   Cyber Risk Assessment Tools, 2016-17.
Numerous legal research grants.


GRADUATE          & PROFESSIONAL           COURSES TAUGHT

Cybersecurity & Privacy Protection I                                 Regulatory Law
Data Protection and Privacy Law                                      Election Law
Employment Law                                                       Unincorporated Business Associations
Constitutional Federalism/Structural Constitution                    Administrative Law
Federal Jurisdiction                                                 Civil Procedure

SUPERVISOR OF GRADUATE RESEARCH PROJECTS (SELECTED)
         Regulation of Security and Privacy Vulnerabilities in Autonomous Vehicles
         Effective Regulation of Supply Chain Risks for U.S. Cybersecurity Policy Objectives
         Educational Methods for Reducing Police Violence Toward Racial Minorities
         Building Security In vs. Building in Backdoors: Assessing Regulatory Alternatives
         Regulatory Approaches for Reducing Seismic Activity Correlated with Fracking

UNIVERSITY SERVICE

SELECTED ACADEMIC SERVICE

Executive Committee, Yale Law School, four-year term, 2007-10.

CURRICULAR AND EDUCATIONAL PROGRAM DEVELOPMENT

M.S. in Cybersecurity: led inter-college workgroup to develop interdisciplinary M.S. degree with 5
   concentrations, Cleveland State University, 2015-16.
First-year law school curriculum, to introduce Legislative & Regulatory law into core coursework, 2009.




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UNIVERSITY COMMITTEES          & TASK FORCE WORK
   Cleveland State University includes:
       Faculty Senate Academic Computing Committee (formerly chair)
         Member, CSU Administration's Information Technology Advisory Committee, which included
         business interruption and contingency planning


PERSONAL
Orlando, FL resident; one son; spouse (University of Pittsburgh law professor emeritus).




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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiff,                                   )
                                             )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                          )   2989-AT
                                             )
BRIAN P. KEMP, et al.                        )
                                             )
Defendant.                                   )
                                             )
                                             )

      SUPPLEMENTAL DECLARATION OF VIRGINIA MARTIN

       VIRGINIA MARTIN hereby declares as follows:


       1.      My name is Virginia Martin. I am over the age of twenty-one
(21) years of age and am fully competent to execute this Declaration. I have
personal knowledge of the facts recited here, which are true and correct.

       2.      This supplements my declaration of August 20, 2018 [Doc. 277
at 81) in this case. There is nothing in my August 20, 2018 declaration that I
wish to change. The purpose of this declaration is to address how the use of
hand-marked paper ballots and paper pollbooks (or at least paper backups of
pollbooks) can mitigate some of the problems that Georgia experienced in
the November 2018 elections, specifically long lines and potential voter
disenfranchisement. In addition, my declaration addresses my experience in
conducting Columbia County’s municipal elections as it applies to Georgia’s
upcoming November 2019 municipal elections.




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      3.       I am the Democratic Election Commissioner in Columbia
County, New York. I have been employed as election commissioner since
2008. The role of Commissioner in Columbia County is a full-time salaried
role overseeing three full-time Democratic staff, one half-time Democratic
staff, and 150 or more Democratic seasonal and election-day workers. There
is a similarly staffed Republican counterpart.

      4.       Columbia County has 44,628 registered voters, and includes
one city, 18 towns and four villages.

      5.       The Columbia County Board of Elections conducts all federal,
state, county and municipal elections with the exception of three villages’
elections. All such elections are conducted on hand-marked paper ballots,
scanned and tabulated in the polling place by optical scanners and then
tabulated in the central office on the central tabulator for the election
management system.

      6.       As required by HAVA, for all elections run by our board, each
polling place is outfitted with at least one Dominion ImageCast accessible
voting unit.

      7.       After the close of every election, my department, assisted by
perhaps as many as 20 bipartisan election workers, conducts a hand count of
a number of races to verify the accuracy of the optical scanning tabulations.
Our method provides unofficial scanner tabulations quickly on election night
which are then verified or modified by hand counts in the following days
before final certification.




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           8.      Our audit begins with the New York State mandated audit of
3% of the voting machines deployed in the county, which in our case is one
machine, and per statute we fully hand count every race on all the ballots
cast on that machine. Then, for all ballots cast in the county, we fully hand
count all municipal races in which there are more candidates than there are
offices to be filled. We count federal, statewide, countywide or regional
races at the request of any candidate, party, or either commissioner until the
requestor is satisfied that the scanner’s outcome was accurate. Unless a race
falls under the 3% audit referenced above, we do not hand count races in
which there are no more candidates than there are offices to be filled.

           9.      Over the course of the 10 years we have been verifying our
results via hand count, we have hand counted hundreds of thousands of
ballots. As discussed below, our verification procedures are particularly
important in the municipal elections we conduct which determine the local
governance of our local communities. Significant public policy is decided in
municipal elections, many times by just a handful of votes and sometimes by
just one. Municipal elections, given their stakes but frequently small size,
generally demand the most precision in election security and accuracy.


Georgia’s reported 2018 election failures and discrepancies

           10.     I understand from reviewing news reports and from reviewing
affidavits from voters and pollwatchers that I received from Coalition for
Good Governance that voters experienced: long waits at polling places; 1
problems attempting to check in at their precinct because of problems with
the electronic pollbook information; faulty operation of the DRE machines

1
    https://www.ledger-enquirer.com/latest-news/article221190550.html


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in the polling places, including “vote flipping” or incorrectly displayed or
missing races on the electronic ballot; and DRE voting sessions being
cancelled while the voter was voting.

      11.     Based on my knowledge and experience, the problems that
Georgia voters encountered in the November 2018 elections related to
problems with both the electronic pollbooks and the DRE machines
themselves.


      Need for E-Pollbook Update and Paper Backup

      12.     In my previous declaration, I recommended that paper
pollbooks or paper backups be extensively used to avoid electronic pollbook
software errors and resulting voter disenfranchisement. [Doc. 277, p 81, 16-
17] It appears that electronic pollbook errors indeed caused widespread
problems in voting, including creating long lines at the polling places in the
November 2018 election.

      13.     In order to avoid voter confusion and voter disenfranchisement,
it is essential that the electronic pollbook data be fully audited, updated and
tested well before use on Election Day, and that the data agree with the most
accurate information available in the official voter registration database.

      14.     It is also equally important that complete and updated paper
backups to the pollbook be available in each polling location, and used
immediately for adjudication of voters’ eligibility or correct precinct, rather
than attempting to force resolution through a flawed electronic pollbook.
Voters should not be kept waiting in long lines so that pollworkers can avoid
using paper backup pollbooks.


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      Hand-Marked Paper Ballots Reduce Long Lines

      15.    The use of hand-marked paper ballots and paper backup
pollbooks can dramatically shorten polling place lines and time for voting to
avoid discouraging long lines caused by the complexity of operating
integrated aging and unreliable electronic voting equipment.

      16.    In Columbia County during the November 2018 general
election, we experienced polling place average wait times of 5-15 minutes,
and our wait times in the 2016 presidential election were 5-25 minutes. My
understanding, based on voter affidavits I reviewed and news reports, is that
wait times in Georgia were much longer, as long as 4 to 5 hours in some
precincts.

      17.    When hand-marked paper ballots are used, it is simple and
inexpensive to expand capacity at the polling place when high turnout
occurs. More ink pens and cardboard privacy shields are required, and
possibly a modest addition of pollworkers, but no additional voting system
equipment is necessary. In addition, if paper copies of electronic pollbooks
are available, problems with electronic pollbooks need not cause any voting
delays.

      18.    Based on the transition to hand-marked paper ballots counted
by optical scanner in Columbia County, New York and other jurisdictions
with which I am familiar, it is my opinion that in Georgia an immediate
switch to hand-marked paper ballots using the optical scanning capabilities
of its current voting system is feasible, economical and essential for fair
elections.



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        19.   In my experience, voters have no trouble understanding how to
hand-mark a paper ballot or insert it into an optical scanner or locked ballot
box in the polling place. Training time for pollworkers should be quite
manageable, and education time for the voters will be minimal. Instructing
voters and pollworkers on DRE operation is far more complex than working
with hand-marked paper ballots.

        20.   Immediately adopting hand-marked paper ballots and
continuing to use Georgia’s current Diebold Accu-vote optical scanning
system and the current GEMS election management software and hardware
should require minimal training time as the system components have been in
use by Georgia elections staff since 2002. Hand-marked paper ballots have
been used by hundreds of thousands of Georgia voters to vote absentee by
mail.

        21.   No new system selection, certification, testing and
implementation is required for the deployment of hand-marked paper ballots
counted by Diebold optical scanners and the GEMS election management
system. The results of such tabulations should of course be verified by hand-
count audit techniques, either through sampling techniques or full hand
counts where preferred.

        22.   It is my understanding that Georgia statutes permit optical
scanning of paper ballots to take place either (a) at the polling place or (b) in
a central count operation where all precincts’ ballots are brought to the
county election office after the close of the polls for centralized counting. It
is my opinion that, during this potential transition period, the options may




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create flexibility and convenience that should make the transition to hand-
marked paper ballots even smoother.

      23.    Election administration professionals have differing preferences
for polling place scanning versus central count. I am unaware of any
universally accepted “best practice” on this issue. While I prefer precinct
scanning, it may be more convenient for some counties in Georgia to
minimize the change for their pollworkers by having all the scanning done
centrally at the election office. So long as well-documented chain-of-custody
and ballot-security processes are maintained at the polling place and through
and including the delivery to the central count location, the central count
method is an acceptable method of transition until a new voting system is
purchased with polling place scanners.

      24.    If each county’s election superintendent is given the option to
choose precinct scanning or central count, depending on the county’s
particular needs, including pollworker training considerations, equipment
considerations, and local logistics, the transition to paper ballots will be
made all the smoother given that such local considerations have been taken
into account.

      25.    For example, in small municipal elections in November 2019 or
before, many with only one polling place, a traditional metal or wooden
locked, secured ballot box could be used to collect voted ballots, without any
need to deploy an optical scanner to the polling place. The ballots would be
transported to the election office using traditional and ideally bipartisan
security protocols and would be counted by the county election officials in
central count under public observation.


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      26.    For larger jurisdictions, the challenge of needing numerous
ballot styles in early-voting vote centers in a few high-population counties is
manageable using hand-marked paper ballots. The problem is not unique to
the high-population counties in Georgia and has been solved in other
jurisdictions across the country without the reliance on touchscreen voting
machines. Such solutions include, sometimes in combination:

             a. Paper-ballot-inventory management plans based on past
                voting trends for each early-voting center.

             b. Careful ballot-inventory daily monitoring supplemented by
                Ballot-on-Demand printers.

             c. Ballot-inventory management aided by a few roving teams
                of technicians to assist with printing issues, inventory
                shortages, etc.

             d. Clear protocols for unexpected ballot shortages.

             e. Requiring that two pollworkers, ideally from opposing
                political parties, check the accuracy of the ballot style before
                issuing the blank ballot to the voter.

             f. Requiring that high-traffic early-vote centers be managed by
                experienced staff.


Municipal election processes and considerations

      27.    Columbia County has historically conducted between one and
six elections in a given year. Those elections include village elections,
single-race special elections, federal primary elections, state and local

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primary elections, presidential primary elections, and November general
elections. Each election can comprise from one to 23 different ballot styles
and as few as one race or as many as about a dozen races per ballot. Some
municipal elections have very small turnout, as small as 72 in a 2018 village
election.

      28.    On June 25, 2019, our Board of Elections will be conducting
small primary elections in several different parties in four towns. Party
enrollment in these towns, which confers eligibility to vote in these
elections, is 13 and 113 voters in the Town of New Lebanon, 28 and 53
voters in the Town of Gallatin, 74 voters in the Town of Chatham, and 16,
157, and 462 voters in the Town of Kinderhook. These elections will be
conducted on hand-counted paper ballots scanned into optical scanners at
each town’s poll site. Ballots will be subjected to a 100% hand-count audit.
While the numbers of voters turning out in these municipal elections will
necessarily be small, our board does not find the quantity of voters an excuse
to begrudge any voter or any candidate the benefit of a professionally
conducted fair and accurate election that meets the same standard of
excellence conferred on any other election in our county.

      29.    In Columbia County, the process of conducting elections,
which is largely the same across New York State, is as follows:

             a. Candidates qualify for ballot positions by filing with our
                Board of Elections, or, for cross-county elections, with the
                New York State Board of Elections.

             b. For cross-county elections, the New York State Board of
                Elections certifies its ballot to our county.

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         c. Municipalities inform us of their ballot questions.

         d. Our board builds the ballots.

         e. Once approved, ballots are printed for use as non-scannable
            absentee and affidavit/provisional ballots and for optical-
            scan ballots for issuance at the polls. Optical-scan ballots
            undergo logic and accuracy (preLAT) testing.

         f. On Election Day, the pollworkers issue paper ballots to the
            voters who, after marking them by hand, cast them by
            placing them in the optical scanner, which tabulates their
            votes. At the close of polls, polling place results are publicly
            announced and posted.

         g. Immediately after the close of polls on election night, the
            secured memory cards from the precinct scanners; all the
            ballots, voted and unvoted; the pollbooks; and other election
            materials are brought, securely via a bipartisan team, to the
            county Board of Elections where our bipartisan staff
            aggregates the tabulations from the memory cards. Results
            reports are issued, posted on the board’s website, and
            securely uploaded to the State Board of Elections. All
            election materials are secured behind bipartisan locks and
            keys, one held by the Republican commissioner and one
            held by myself, so that no materials can be accessed without
            the presence and assent of the other party.




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             h. Following the election, and prior to the certification of the
                results, pollworkers hand count/audit some number of
                ballots to verify the machine totals. We believe that this
                verification is particularly important in small municipal
                races where a few votes can change the outcome of an
                election.

      30.    Based on my experience, I do not perceive a meaningful risk to
Georgia’s municipal elections in November 2019 if hand-marked paper
ballots and optical scanners are employed. In fact I see a clear benefit to the
municipalities in doing so as I explain below.

      31.    Municipal elections across the country are frequently close
elections with only a few votes constituting the margin of victory. For
example: in Saratoga County, New York, which is two counties north of
Columbia County, in the City of Saratoga Springs, there was a 2017
referendum to change the form of city government. Nearly 9,000 votes were
cast and the election was decided by only 10 votes. Notably, the loser in this
election asked the Saratoga County board for permission to see the ballots or
for a recount but was denied on the grounds that election law prohibited such
access. Following the board’s rebuff, relief was sought from the courts, but
the petitioner was again denied access. To my knowledge that access was
never granted. Had that election been held in Columbia County, a public
hand count of all 9,000 ballots would have been undertaken as a matter of
course, without need for legal petition. Given the importance of getting the
accurate outcome that reflects the will of the voters, I believe strongly that
leaving the results to an unauditable, flawed DRE system from which the



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results cannot be recounted is taking an unacceptable risk with the
governance of municipalities.

      32.    In Columbia County, between 2001 and 2017, in municipal
elections there were 10 tie elections, 18 elections won/lost by one vote, 16
elections won/lost by two votes, and 10 elections won/lost by three votes.
Many more elections were won, or lost, by fewer than 10 votes.

      33.    In our county’s elections, hand-marked paper ballots are
counted by optical scanner, and 100% of the municipal races in which there
are more candidates than there are offices to be filled, and 100% of all ballot
questions, are recounted by hand to be certain that the results reflect the will
of the voters, with significant emphasis on ballot security and chain of
custody documentation.

      34.    My understanding is that, in Georgia, paper ballots are currently
printed for every municipal election whether the county or the municipality
is conducting the election, because absentee mail ballots are permitted in all
elections. With the transition to hand-marked paper ballots, ballot print
orders can simply be increased. Pollworkers can easily issue printed paper
ballots to voters in the polling place rather than DRE voter-access cards.

      35.    Based on my experience in Columbia County’s conversion to a
hand-marked paper ballot system, and my conferrals with other election
officials who have managed such conversions, I strongly believe that
pollworkers in municipal elections will encounter minimal difficulty in a
transition to paper ballots, particularly given the small number of ballot
styles to handle.



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       36.     It is my understanding based on information from the Secretary
of State’s office that roughly one half of Georgia’s 535 municipalities
currently conduct their own elections. 2 It is my understanding that such
elections are primarily conducted by hand-counted paper ballots. A county
switch to hand-marked scanned paper ballots should have no impact upon
those municipalities.

       37.     In a worst-case scenario, if a county refused to conduct hand-
marked paper ballot elections for its local municipalities, it is entirely
feasible that the municipalities themselves could undertake the hand
counting of such ballots. In smaller elections, hand-counting paper ballots is
not prohibitively time- or labor-intensive, and provides a reasonable
alternative for tabulating election results. Consider my county’s hand-tally
ballot-counting time for the 2016 presidential election, in which 27,725
ballots were cast at our poll sites on election day. Reconciliation of all
election-day materials including ballots took eight workers 1.5 eight-hour
days, or 96 hours. Approximately half of that time, or 48 hours total, can be
attributed to preparing the ballots for the hand count. Our Livingston-1
voting machine, on which 479 ballots had been cast, was randomly drawn
for the 100% New York State mandated audit. The hand-counting of all six
races on those ballots, one of which was a vote-for-two race, took four
workers four hours, or 16 hours total. Hand-counting the races for President
and Congress on 75% of all ballots cast in the county on election day, or
approximately 20,800 ballots, for approximately 41,600 votes cast, plus a



2 SAFE Commission June 13, 2018 transcript p, 77-78
https://sos.ga.gov/admin/uploads/SAFE%20Commission%20Transcript%20June_13_2018.pdf



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total of 23,630 votes cast in seven other races, took 16 workers five eight-
hour days, or 640 hours total.

       38.    In summary, if, as I believe, Georgia would be well served to
switch to hand-marked paper ballots generally on a state-wide basis, there is
nothing about Georgia’s municipal elections that should prevent a smooth
transition.

Fail-safe system is essential for 2020

       39.    Georgia has an unusual and high-risk model of conducting
elections on a statewide uniform system because it centralizes in the
Secretary of State’s office all programming of all machines and tabulations
of all elections across the State. In contrast, New York requires bipartisan
local county responsibility for machine configuration, programming and
post-election review.

       40.    Georgia’s voting system policy requires that all systems in all
159 counties uniformly conduct state, county and federal elections, meaning
that any new system conversion must be simultaneous. Based on my
experience in New York, it appears that Georgia has adopted an unusual and
very ambitious plan for voting system conversion.

       41.    New York State’s massive conversion from lever machines to
hand-marked paper ballots actually began in 2002 with passage of the
federal Help America Vote Act and culminated in 2010, the very tail end of
which conversion I participated in as a county election official. The State
Board of Elections conducted a lengthy and diligent public process in which
scientists, voters, activists and other election administrators participated. The


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multi-year testing and certification process was completed in 2009. Many
counties implemented their new systems in 2009, and Columbia County
implemented its Dominion ImageCast system in September 2010.

      42.    Each New York county was responsible for choosing one of
two certified machines and implementing its own system.

      43.    It is my understanding that Georgia plans to convert 159
counties to a new technology where all components and the election
management system must be replaced in a presidential election year, with a
goal of implementation by the spring presidential primary. This strikes me as
a remarkably ill-advised time to be making such an extensive and complex
voting-system conversion. In my state, a myriad of sweeping election
reforms were passed early this year to take effect over the course of this
year, all on fairly short notice. The reason for implementation in 2019 rather
than in 2020, which in fact amounts to a quite aggressive schedule, was that
legislators and the governor agreed that these conversions must not be made
in a presidential year. Hence, they accelerated the implementation schedule
so as to avoid precisely the serious risks that Georgia seems poised to take.

      44.    Based on Columbia County’s system conversion and
implementation experience and the research I conducted, I believe that
Georgia’s unusual and ambitious voting system conversion in a presidential
election year is unwise and poses many risks of failure and delay.

      45.    Based on our Columbia County voting system conversion
experience with trained staff and considerable planning time, and a medium-
sized county, problems and setbacks must be expected. It is difficult for me
to imagine how Georgia, with its history of election administration failures

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and challenges, can successfully cut over to new technology with over
40,000 new pieces of equipment 3 by the first quarter of 2020.

         46.    Part of my job is to stay abreast of voting system technology
and election security trends and emerging issues. The new technology of
Ballot Marking Devices adopted by Georgia is complex and expensive
technology that our county will not consider using because the results cannot
be audited.

         47.    As Georgia officials become more familiar with the new
technology’s limitations and with voting system experts’ criticisms, and the
complexities of installing new voting systems, Georgia’s plan for rapid
adoption may hit obstacles and delays. A contingency plan is crucial,
particularly in a presidential election year.

         48.    The only practical near-term voting system solution appears to
me to be the system that Coalition Plaintiffs have recommended—the
existing GEMS/Diebold/Accu-vote optical scanning system without using
the DREs as standard voting equipment, with results subjected to rigorous
post-election auditing.

         49.    Adopting the paper ballot optical scanning option in the
currently owned GEMS Diebold Accu-vote system (as is used for
provisional and mail ballots) offers a simple, low cost, low risk solution.

         50.    Under the proposed approach, ballots are still programmed,
tested, printed, and tabulated on the same system as they are today for mail



3   Based on Attachment O to Georgia’s 2019 voting system RFP.


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absentee ballots. No new skills, software or hardware operation need be
learned in the central elections office.

      51.    Pollworkers would merely issue paper ballots instead of voter-
access cards for DREs. I am confident that pollworkers would find the
issuance and control of paper ballots to be far easier than operating DRE
machines in the polling place, with all their operational and maintenance
issues. The physical security required for the paper ballots would be much
like the security protocols the pollworkers employ today for the paper
provisional ballots.

      52.    I have been asked to consider whether, if DRE voting machines
are going to be replaced with hand-marked paper ballots, it is necessary or
advisable to replace the other Diebold components of Georgia’s existing
system, that is, to replace the GEMS servers, and Diebold Accu-vote optical
scan system, and the ExpressPoll units (“the Diebold optical scan system”).
Based on my knowledge and expertise, in the short term, the Diebold optical
scan system should not be replaced now because of the challenge in
implementing an entirely new voting system in the near future. An entirely
new hand-marked paper ballot system certainly is best for Georgia in the
long run, but it will take at least 24 to 36 months, in my opinion, for Georgia
to investigate, fund, procure, purchase, certify, test and install a new system,
and then State pollworkers and staff would need to be trained on such a
system. Such a transition would not be possible or advisable before the 2020
Presidential election in November 2020. Using the Diebold system with
hand-marked paper ballots and its optical scanners is a far better solution in
the immediate and near term, particularly combined with the essential post-
election audit procedures sought by the Coalition Plaintiffs.

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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                             )
 DONNA CURLING, et al.                       )
                                             )
 Plaintiff,                                  )
                                             )   CIVIL ACTION FILE NO.: 1:17-cv-
 vs.                                         )   2989-AT
                                             )
 BRIAN P. KEMP, et al.                       )
                                             )
 Defendant.                                  )
                                             )
                                             )

                DECLARATION OF GARLAND FAVORITO

       GARLAND FAVORITO hereby declares under penalty of perjury,

pursuant to 28 U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration, and if

   called to testify, I could and would testify competently thereto.

2. I am a registered voter in Fulton County and the founder of VoterGA, a

   non-partisan group of Georgia voters with the mission of promoting

   election integrity and security.

Ballot secrecy and unique identifiers

3. Since about 2006 in my volunteer work for VoterGA, I frequently make

   public presentations concerning problems with Georgia’s current

   electronic voting system and the need for a new secure, verifiable,

   auditable and recount capable voting system.

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4. On or about June 19, 2017, I made such a public presentation in Gwinnett

   County at the Magnolia Bakery Cafe for the Conservative Republican

   Women’s group.

5. A Gwinnett County Board of Registrations and Elections (“Gwinnett

   Board”) member who I subsequently identified as Alice O’Lenick was in

   attendance for the presentation.

6. At the meeting, the issue of early voting and pollbook security to prevent

   fraudulent voting was raised and discussed during a question and answer

   period. Ms. O’Lenick spoke up and engaged me and other participants in

   the discussion of this topic.

7. Ms. O’Lenick insisted that the Gwinnett Board had a safeguard against

   duplicate early voting through the use of a “batch” procedure where

   officials can retrieve electronic DRE ballots cast by early voters and

   detect duplicate votes because those DRE ballots contain a unique

   identifier that can be connected back to the voter.

8. A then-Georgia State House candidate, who I believe to be Matt Reeves,

   explained his perspective to the group and to me that such a practice or

   ability to connect the voter with their vote would violate secret ballot

   protections in the law.




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9. Ms. O’Lenick continued to insist that the unique identifier on DRE

   ballots and the ability to retrieve early voting ballots is a security feature

   of Georgia’s voting system, and is utilized by Gwinnett County election

   officials.

10. I was alerted over ten years earlier that such a voter identifier as Ms.

   O’Lenick described might exist when I was contacted by a 2006 Georgia

   House candidate, Taffy Rice. She claimed that during one of her court

   cases, a representative of the Georgia elections division insisted that Mrs.

   Rice’s cast electronic ballot could be identified.

11. As a result of these corroborating assertions, I followed up on this topic

   with Gwinnett County Elections Director Lynn Ledford. She stated that

   voter records are updated at the time a voter cast an early voting ballot

   and Gwinnett County uses an “online” procedure at the polling location

   to determine if the voter has previously cast another early voting ballot.

12. I mentioned to Ms. Ledford that I believed the “online” procedure did

   not exist when the DREs were originally used in 2002 and possibly in

   2004 but she did not tell me when the “online” procedure was

   implemented or why the identifier would no longer exist.




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Electronic Pollbook Software Defect


13. I first became aware of a reported defect in the software of the

   ExpressPoll books at a meeting of the Fulton County Board of Elections

   that I attended on April 22, 2017 where they met to certify the April 18,

   2017 Special Election for the 6th Congressional District.

14. I recorded the portion of the meeting during which this problem that

   caused pollworkers to direct voters to the wrong precincts was discussed.

   I provided my recording to the Coalition for Good Governance, which

   prepared the transcript of that portion of the meeting. [Exhibit A]

15. I have reviewed the attached Exhibit A transcript and attest that it

   reflects an accurate record of the discussion I witnessed, and in which I

   asked the Fulton Board to confirm that the issue was a software defect.

16. The speakers in the meeting as reflected on the transcript were Fulton

   County Election Board members, county election staff members Richard

   Barron and Ralph Jones, and myself. I was the only member of the public

   who spoke during this particular segment of the meeting.

17. After the meeting I asked Director Barron if he was aware of any

   attempts to mitigate the electronic pollbook software defect by the State

   Elections Division or the Center for Election Systems at Kennesaw State

   University and he indicated that he was unaware of any such action.

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Executed on this date, June 18th, 2019.




                                          Garland Favorito




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Transcript of portion of Fulton County Board of Elections meeting
April 22, 2017

ExpressPoll discussion transcript


Male Speaker 1 [00:19:52] Apparently… first thing at 7 there was no sign...before 9:30 or
so. There was a sign by 9:30--I don't know exactly what time. But I know by 9:30 there was
a sign. But then the issue was it was just a sign with an arrow. Not really "this is where you
go." So you could have stopped in a couple of different places before you got to the gym.

RICHARD BARRON [00:20:19] OK.

RICHARD BARRON [00:20:20] They tried to keep people to tell... The campaigns
apparently tried to keep people how to tell them "this is where you go. Go down here to
vote."

RICHARD BARRON [00:20:31] Yeah. And I don't know if we were aware that the school
was going to move us.

Male Speaker 2 [00:20:36] Probably not, no. I imagine not. Sometimes the school will
make that decision on... [unintelligible, cross-chatter]

Male Speaker 3 [00:20:45] You know, my concern is we still should have had... we always
have the standard "vote here" sign by the entrance. So even if they [unintelligible] there
was an error. They should have seen... we need to post that by the door.

Male Speaker 1 [00:20:57] I'm trying to explain it, but the way a parking lot is configured,
you can turn into one little section. And that's what you are until you're ready to leave. To
get over to where they were voting, you have to go around... So when you see that arrow
pointing, you to go to the front door to go in. You can go to the media center-- there's a
couple of different entrances, but once you saw that arrow that just said "go that way,"
there was nothing else to say, "vote here" until you get around. But you couldn't see it from
there. [Unintelligible] But that was the only issue that I heard about of, obviously,
[unintelligible] North Fulton. In South Fulton that was the only issue that I had. And a
couple people went to the wrong precinct. They were so accustomed to going to Wolf
Creek for early voting or whatever, so they ended up going there thinking they were
supposed to vote there. But other than that... [Off mic chatter]

RICHARD BARRON [00:22:02] Yeah and what-- [unintelligible]. Can you explain...This is
another thing that is...Really deficient--Ralph can maybe explain this-- with the
ExpressPolls. If it's less than a county-wide election, listen to what happens. This
is...makes this whole... This makes the state voting system even more of a joke, I think.

RALPH JONES [00:22:30] Well. When we have a full election for...all of the precincts
participate in Fulton County, there is a portion of ExpressPoll says "precinct details." That
actually tells a voter where they're supposed to go to vote on Election Day. It works fine
when everybody's participating in Fulton County. Well, when we have an election that all
the precincts are NOT participating in Fulton County---

Female Speaker 1 [00:23:00] Which might be City of Atlanta, say.
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RALPH JONES [00:23:02] If it's just the City of Atlanta, yeah. You get the same problem.

Female Speaker 1 [00:23:09] Okay.

RALPH JONES [00:23:09] What happens is that it only reflects the last time you touched
the vote. That will be pulled up as the precinct that it would show. So, therefore, if you
came in and you voted at Johns Creek Environmental Center—your actual voting place is
Roswell library—and you had come in to vote… well, they couldn't find her on the list. But
when they go to "precinct details" it's going to come up Johns Creek Environmental
Center. And then they'll call and say "well, she's on our list for Johns Creek Environmental
Center." And then we'll say, "OK, well, go ahead. Issue a ballot." Well she's not coming
up. And when WE look it up in "election day" we say, "Oh, she's supposed to go to
Roswell." They said--poll workers said, "no! it said Johns Creek Environmental Center!" "I
understand. That's incorrect. She's supposed to go to Roswell library." So, it stores the last
person that you process. Instead of showing the correct polling place that she's supposed
to go to.

RICHARD BARRON [00:24:20] It...It stores. The last time you touched the voter, rather
than... So--

Male Speaker 1 [00:24:25] And when you "say touch the voter," you mean the last time...
If I voted early...

RALPH JONES [00:24:31] Whoever the last person was processed.

Male Speaker 1 [00:24:35] Oh, OK.

RICHARD BARRON [00:24:39] Oh, the last VOTER who processed. Oh, JESUS.

Male Speaker 1 [00:24:40] I was wondering why you went from me to her. [Cross-chatter,
chuckles] I get it now.

RALPH JONES [00:24:45] Right. So, if you went first, you're supposed to go in that
precinct. So when she comes in, even though she's supposed to be at Roswell Library, it's
going to show YOU, because you were supposed to be at that precinct, so...

Male Speaker 1 [00:25:00] It'll show my information...

RALPH JONES [00:25:00] Yeah. It will show your information, even though it pulls up her
record.

Female Speaker 1 [00:25:05] So it's like she hacks your identity.

RALPH JONES [00:25:06] Correct.

RICHARD BARRON [00:25:08] And KSU knows about this. And [Dwight?] said they just
blew us off.

RALPH JONES [00:25:13] Yeah, because we were saying "what in the world?" Because
we couldn't understand what was happening. They said, "oh, this is what happened."
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RICHARD BARRON [00:25:20] And the poll workers are used to going into “precinct
detail.” And [chuckles] So I talked to Chris Harvey yesterday. He'd never heard of this. He
doesn't know anything about it. I said "this is a major issue."

Male Speaker 2 [00:25:35] It could be happening all over the state.

RICHARD BARRON [00:25:37] Right. And I said we have--because… I did get a couple e-
mails from the--I got a couple of e-mails from people saying they were--they were sending
at least 25 to 30 people to the wrong polling places. And, you know, I was like...so we
have the big staff meeting the other day. I've never heard of this before. And...you know...

Male Speaker 2 [00:26:03] This is the first election [unintelligible].

RICHARD BARRON [00:26:07] Whenever it's not a county-wide.

RALPH JONES [00:26:09] Whenever it's not a county-wide election, then we have this
problem.

Male Speaker 2 [00:26:12] But we had an election that in previous...Situation. Didn't
happen before

Female Speaker 1 [00:26:16] It's probably like those there's little mail postcards that get
sent out. There just aren't that... I mean, people are upset that there aren't that many
[unintelligible]

Male Speaker 1 [00:26:29] In other counties—in smaller counties—I can see it being a
problem here more so, because when you go to smaller counties, no matter where you live
in a whole city, you probably only have one precinct.

Female Speaker 1 [00:26:40] Right.

Male Speaker 1 [00:26:40] So even if...

Male Speaker 1 [00:26:42] Right, it never changes. [unintelligible]

Femail Speaker 2 [00:26:47] So, If she were to go back to her poll...

RALPH JONES [00:26:49] If she had gone back to Roswell, she would have been on the
Roswell list. Correct.

RICHARD BARRON [00:26:53] Yeah, that happened to one of my doctors. She called me
and said, "hey. I just went to this—and then now they're telling me I need to go all the way
to Alpharetta to vote." I said, "do you live there?" She goes, “no.” But that precinct...So
that's why that precinct detail...

Female Speaker 1 [00:27:12] So the voter ahead of her.

RICHARD BARRON [00:27:13] Yeah.

Female Speaker 1 [00:27:14] And gave that voter's identity, so to speak.
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RICHARD BARRON [00:27:19] Yeah. [Chuckles.] Yeah. That's... So this is, I mean...
What do you say about that?

Female Speaker 1 [00:27:25] Well we got... I was wondering after the presidential election
if we had anything at all to do this year. So it sounds like we do. And to call it a PR
onslaught or something, or mission, is to denigrate what needs to be done. We need to
communicate what needs to be done.

RICHARD BARRON [00:27:47] There needs to be a concerted effort by a lot of people
either to get rid of the uniform voting laws, so that counties can purchase their own
systems if they want--Because I personally don't like the uniform voting law anyway. I think
every county should be able to purchase whatever system they want, but they... We need
to get the state to upgrade the voting system. Because the ExpressPolls, to me, are just
the worst thing in the world.

Female Speaker 1 [00:28:18] What you just described is the worst?

Male Speaker 2 [00:28:19] What's the current version of the ExpressPolls? What's the
2017 equivalent? Does anybody know?

RICHARD BARRON [00:28:26] I mean, those things were designed back-- probably in
2000 or so.

UNKNOWN Speaker [00:28:30] 2005, I think, is when we got those. [Unintelligible]

Male Speaker 2 [00:28:32] So what do they have now? The little laptops and...

RICHARD BARRON [00:28:37] That's only for early voting. We use the ExpressPolls on
Election Day.

Male Speaker 2 [00:28:41] No, I mean for... Anybody in the country that bought equipment
this year.

RICHARD BARRON [00:28:47] Oh.

Male Speaker 2 [00:28:47] What's their equivalent of ExpressPoll?

RICHARD BARRON [00:28:47] Yeah. People are using tablets or...yeah. Or.... Yeah. You
can--.

Male Speaker 2 [00:28:56] Plus they have 2017 software built in with the systems.

RICHARD BARRON [00:28:58] Right. Yeah. The Election Assistance Commission also
has new voting system standards for the new vendors, and those vendors are starting to
go through that now--all that testing.

Female Speaker 1 [00:29:17] I have to ask one more question so I can explain this to
people I'm having dinner with tonight. So, Aaron walks in and he votes. And it takes his
information and it confirms that's the right [unintelligible].

Male Speaker 2 [00:29:31] Is this Election Day?
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Female Speaker 1 [00:29:32] This is Election Day. And this is...this happens on Election
Day only?

UNKNOWN Speaker [00:29:37] Correct. [Unintelligible]

Female Speaker 1 [00:29:41] Small blessings. Then Felicia comes in, who lives next door
to him... No, doesn't live next door to him.

Male Speaker 1 [00:29:47] In the next precinct.

Female Speaker 1 [00:29:48] Next precinct. And she comes... And that happens to every
single person in those circumstances?

RALPH JONES [00:29:57] Well when Felicia comes in, even though she's in the next
precinct, when they go out to find Felicia, her name's not going to appear on the roster
because she's not...She's going to the wrong precinct. So what they’re doing...they try to
help this Felicia get to the correct precinct. And they go to the precinct details. And it says
she's supposed to be here. Then we get a phone call saying, well, "why isn't Miss Felicia
able to vote in our precinct?" We pull up Felicia and say, "oh, no, she's supposed to be at
Roswell."

GARLAND FAVORITO [00:30:36] Is that a software defect? [Chuckles from board].
[Unintelligible chatter].

Male Speaker 2 [00:30:39] Is that a what?

Female Speaker 1 and GARLAND [00:30:42] A software defect.

Female Speaker 1: [00:30:44] That is a system...

RICHARD BARRON [00:30:46] Uh, that is a Kennesaw State question. [chatter].

Female Speaker 1 [00:30:50] And we can't, excuse me, we can't let you participate.

FAVORITO [00:30:52] Oh, sorry.

Female Speaker 1 [00:30:52] But. I'm sure there are people who...

Male Speaker 2 [00:30:56] Doesn't the ExpressPoll also have the state...

RALPH JONES [00:30:59] Statewide.

Male Speaker 2 [00:31:01] So, if they looked up the state, wouldn't she be in the other
precinct that she's supposed to be in? [Chatter]

RICHARD BARRON [00:31:10] Is it conceivable that somebody... You could send
somebody to a... something in another county?

RALPH JONES [00:31:17] I don't know that. [unintelligible]
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Male Speaker 2 [00:31:17] I'm just thinking, the database for the state would still have her
correct precinct. So if the worker looked to that next step in the ExpressPoll... State
database. [unintelligible]

Female Speaker 2 [00:31:28] Well they can't use that at all now, right?

Male Speaker 2 [00:31:33] They can't use that?

UNKNOWN Speaker [00:31:36] They can use it but what they are accustomed to doing...
We always tell when... They're trained that way. If someone comes in and you don't find
them, you go to "additional voter information" and that's where they would normally find the
information of the correct polling. [unintelligible] In a less than county-wide, it's going to pull
up the last instance of the record.

RALPH JONES [00:32:01] [Chatter] It doesn't have a state database like you think.

Male Speaker 2 [00:32:04] Oh it doesn't have it?

RALPH JONES [00:32:05] No.

Male Speaker 2 [00:32:06] It used to have it.

RALPH JONES [00:32:06] You can search by state records. But when you go to precinct
details, it doesn't have... You can search by a state record. You can see where she lives
and everything else. But the precinct details that's attached to her doesn't show up.

Male Speaker 2 [00:32:26] Okay.

RALPH JONES [00:32:27] It's never... She would never see...The person in the precinct, if
she goes in the wrong precinct, would never see that she was [unintelligible] of voting.

Male Speaker 2 [00:32:35] Okay.

Male Speaker 2 [00:32:35] So, like Stan said, wouldn't that be a great work around just to
get on the internet? Instead of coming down and having that [unintelligible] to the poll
manager downtown? What's the work around now that we know that it's happening? I think
that's the bottom line.

Female Speaker 1 [00:32:56] OK. We're great. We've got something to talk about.

Male Speaker 2 [00:33:00] I have one other thing.

Female Speaker 1 [00:33:02] Please do.

Male Speaker 2 [00:33:02] I mean, he said that based on that AJC article that we have a
black eye.

RICHARD BARRON [00:33:10] Well.

Male Speaker 2 [00:33:10] So, what are we gonna do about making that at least purple?
[Laughter].
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RICHARD BARRON [00:33:13] I mean well...Well I... You know, I mean, it's is weird
because I did see... The janitor came in last night. She comes into the office and she
said...I said "yeah, I'm trying to get some emails done before I get out of here for the
weekend.” She goes... She goes, "you're famous." And I said, "well, I don't think that I'm
famous in a good way this week." She goes "I was watching." She goes "the voting system
is old, and everybody knows it, but they aren't going to change it." [Chatter] So I don't
know that...it may be a purple eye.

Female Speaker 2 [00:34:01] I think also...just consider, food for thought...to kinda keep a
running tally of where it's working. And even when you address those issues publicly that
you...first speak to the good part: that it is working in most places before you address the
black eye. I would just encourage us to keep a tally of it working and to let the public know
that every time we talk. [Unintelligible] human error, because that's gonna happen.

Female Speaker 1 [00:34:33] OK. This discussion to be continued. To be… Basis for that
discussion to be provided to Board members. And are there any other questions or
comments from board members?
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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                              )
 DONNA CURLING, et al.                        )
                                              )
 Plaintiff,                                   )
                                              )   CIVIL ACTION FILE NO.: 1:17-cv-
 vs.                                          )   2989-AT
                                              )
 BRIAN P. KEMP, et al.                        )
                                              )
 Defendant.                                   )
                                              )
                                              )

                  DECLARATION OF MEGAN MISSETT

       MEGAN MISSETT declares, under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:


1. I have personal knowledge of all facts stated in this declaration, and if

   called to testify, I could and would testify competently thereto.

2. I am a Plaintiff in this case and a registered voter in Fulton County. I

   voted in the November 6, 2018 election on a DRE touchscreen machine

   on October 31, 2018 at the early voting location at Ponce de Leon

   Library.

3. I am a politically active citizen, and spend several hundred hours each

   year volunteering in candidates’ campaigns and political activities. I take

   my right and responsibility to vote seriously. Therefore, I struggled for

   weeks with whether to vote on unreliable touchscreen machines or
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   submit a mail-in ballot to the Fulton County Elections Department with a

   known track record for improper handling of mail ballots.

4. As Election Day grew closer and I became more aware of reports of mail

   ballot application, mail ballot rejections and delivery failures, I decided

   to take the risk of voting on the touchscreen machines. I feel having to

   evaluate the least risky way of voting because of Georgia’s poor election

   administration is a bad choice for voters to be required to make to

   exercise their right to vote.

5. After learning about the high undervote level in the Lieutentant

   Governor’s race that occurred only on touchscreen machines at

   anomalous rates, I now regret my choice to vote on the DRE, because of

   the risk that my vote for Lieutenant Governor may not have counted.

6. I am also very troubled to see the state confirm my fears that electronic

   ballots are traceable to the individual voter. I have read the State’s

   Motion to Quash Non-Party Subpoena statement that the disclosure of

   electronic records of cast ballots would “destroy the secrecy of the

   ballot.” [Doc. 369 p. 22-23]

7. The disclosure of individual electronic ballot records should never cause

   a problem, as I expect my voted ballot choices to be completely

   anonymous to protect my voters’ rights to a secret ballot.
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8. I have had concerns for some time that the DRE machines may use

   electronic identifiers in the records that can connect the voter with their

   ballot. I have noticed a number displayed on the DRE screen once I cast

   my ballot, and that number appears to be a unique identifier. I am now

   further concerned that my ballot is not anonymous based on the

   statements made by the Secretary of State in his motion.

9. Although I am politically active and express most of my political views

   very openly, I also depend on the anonymity of my ballot to be able to

   make my final choices privately and freely without evaluating the risk of

   disclosure of my vote. There are times that I quietly choose not to vote

   for some candidates or ballot questions that my friends and co-workers

   ask me to. Politically active voters may find the need for such privacy

   especially true in primary elections, when they are friendly with multiple

   competing candidates.

10. In addition to concern about whether my vote is accurately counting on a

   DRE machine, if I vote on a DRE, I also have to evaluate with every

   vote whether I should vote my conscience if there is risk of disclosure of

   my vote. In my view, having to make such calculations standing at the

   voting machine is not consistent with a free and fair election.
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Executed on this date, May __, 2019.




                                       Megan Missett
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